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                           EXHIBIT B
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                             Statement                              Legal reason to strike
2. Plaintiff Smartmatic International Holding B.V. owns            Immaterial or
Smartmatic USA Corp. (100% ownership). The company’s               impertinent – describes
principal place of business is located in Amsterdam,               non-parties who are
Netherlands. It is incorporated in the Netherlands. Smartmatic     defendants in another
International Holding B.V. owns multiple companies operating       lawsuit.
under the Smartmatic brand in almost two dozen countries.2
Smartmatic International Holdings B.V. did not play any role in
the 2020 U.S. election outside of the technology and software
provided by Smartmatic USA Corp. for Los Angeles County.
6. Fox Corporation is one of the most powerful and far reaching    Immaterial or
media conglomerates in the world. The company’s principal          impertinent – describes
place of business is located in New York, New York. It is          non-parties who are
incorporated in Delaware. Fox Corporation owns Foxcorp             defendants in another
Holdings LLC (100% ownership), Foxcorp Holdings LLC owns           lawsuit.
Fox Television Holdings LLC (100% ownership), Fox Holdings
LLC owns Fox Television Stations LLC (100% ownership), and
Fox Television Stations LLC owns Fox News Network LLC
(100% ownership).3
7. Fox News Network LLC is one of the most powerful and far        Immaterial or
reaching news organizations in the world. The company’s            impertinent – describes
principal place of business is located in New York, New York.      non-parties who are
It is incorporated in Delaware. Fox News Network LLC               defendants in another
operates Fox News and Fox News Digital. Fox News averages          lawsuit.
over 3 million viewers during its primetime evening news
program and nearly 2 million daytime viewers. Fox News
Digital averages over 2.5 billion multiplatform views and over
5 billion multiplatform minutes.
8. Fox Corporation and Fox News Network LLC are                    Immaterial or
collectively referred to as “Fox News” in this Complaint. Fox      impertinent – describes
News published over 100 false and misleading statements about      non-parties who are
Smartmatic during the disinformation campaign. It used the         defendants in another
disinformation campaign to its financial benefit by currying       lawsuit.
favor with the outgoing administration and President Trump’s
supporters, thereby securing it a position as the “most-watched
cable news channel in history.” Likewise, Fox News used the
disinformation campaign to further boost viewership of Fox
News Digital. Fox News Digital secured double-digit increases
in all key performance metrics due, in no small part, to the
disinformation campaign.
9. Lou Dobbs is an award-winning journalist and host of Lou        Immaterial or
Dobbs Tonight. Fox News describes Lou Dobbs Tonight as the         impertinent – describes
“#1 news program on business television, which features a          non-parties who are
breakdown of the day’s top stories and how they impact the         defendants in another
economy.” Mr. Dobbs presents himself to readers and viewers        lawsuit.
as a provider of factual information – not opinion, rhetoric, or
spin. However, contrary to his public persona, he was one of the
primary proponents and speakers for the disinformation
campaign against Smartmatic. He is a resident of Sussex, New


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Jersey and Fox News broadcasts Lou Dobbs Tonight from New
York, New York.
10. Maria Bartiromo describes herself as a “journalist” and         Immaterial or
“news anchor” as well as the recipient of “numerous prestigious     impertinent – describes
awards.” She is host of Sunday Morning Futures with Maria           non-parties who are
Bartiromo and Mornings with Maria. During her programs, Ms.         defendants in another
Bartiromo “brings big business newsmakers to the table to           lawsuit.
explore the smartest money-making opportunities for the week
ahead.” Ms. Bartiromo presents herself to readers and viewers
as a provider of factual linformation – not opinion, rhetoric, or
spin. However, contrary to her public persona, she was one of
the primary proponents and speakers for the disinformation
campaign against Smartmatic. Ms. Bartiromo is a resident of
New York, New York and Fox News broadcasts her programs
from New York, New York.
11. Jeanine Pirro describes herself as a “highly respected          Immaterial or
District Attorney, Judge, author & renowned champion of the         impertinent – describes
underdog” and Fox News highlights her as having a “notable          non-parties who are
legal career” spanning “over 30 years.” She is host of Justice      defendants in another
with Judge Jeanine. During her program, Ms. Pirro provides          lawsuit.
“legal insights on the news of the week.” Ms. Pirro presents
herself to readers and viewers as a provider of factual
information – not opinion, rhetoric, or spin. However, contrary
to her public persona, she was one of the primary proponents
and speakers for the disinformation campaign against
Smartmatic. Ms. Pirro is a resident of Rye, New York and is
licensed to practice law in New York, her place of business
(Fox News) is located in New York, New York, and Fox News
broadcasts Justice with Judge Jeanine from New York, New
York.
12. Mr. Dobbs, Ms. Bartiromo, Ms. Pirro and Fox News are            Immaterial or
collectively referred to as “Fox” in this Complaint. At all         impertinent – describes
relevant times, Mr. Dobbs, Ms. Bartiromo, and Ms. Pirro acted       non-parties who are
under the direction of Fox News, Fox News authorized and            defendants in another
condoned the actions of Mr. Dobbs, Ms. Bartiromo, and Ms.           lawsuit.
Pirro; and, Fox News ratified the actions of Mr. Dobbs, Ms.
Bartiromoand Ms. Pirro.
13. Rudolph Giuliani is a lawyer, former federal prosecutor, and    Immaterial or
former Mayor of New York. Mr. Giuliani presents himself to          impertinent – describes
readers and viewers as a provider of factual information – not      non-parties who are
opinion, rhetoric, or spin. However, contrary to his public         defendants in another
persona, he was one of the primary proponents and speakers of       lawsuit.
the disinformation campaign against Smartmatic. Mr. Giuliani
is a resident of New York, New York, and is licensed to
practice law in New York, and his place of business (Rudolph
W Giuliani, PLLC) is located in New York, New York.
14. Fox and Mr. Giuliani are collectively referred to as            Immaterial or
“Relevant Non-Parties” in this Complaint. After the November        impertinent – describes
2020 election, Ms. Powell and Mr. Giuliani conspired to spread      non-parties who are
a false narrative regarding the outcome of the election by

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disparaging and defaming Smartmatic. The conspiracy served           defendants in another
their personal and financial interest as they benefitted from        lawsuit.
creating a perception that the 2020 U.S. election had been
rigged and stolen by Smartmatic. Ms. Powell and Mr. Giuliani
enlisted and used Fox News to further this conspiracy. Fox
News also had a financial interest in creating the perception that
the 2020 U.S. election had been rigged and stolen by
Smartmatic. Ms. Powell, Mr. Giuliani, and Fox agreed to use
Fox News’ broadcasting base in New York, New York to
disseminate the disinformation campaign, which ensured the
story would reach the broadest audience possible.
21. Smartmatic is a victim of Ms. Powell’s desire for fame and       Immaterial or
fortune. Ms. Powell and the Relevant Non-Parties – journalists       impertinent -
and lawyers – are ethically bound to provide factually accurate      intertwined with
information. They each abused the trust placed in them by            relevant non-parties;
viewers and readers in the United States and around the world.       cannot be de-tangled to
Ms. Powell’s and the Relevant Non-Parties’ disinformation            determine what is
campaign was not only a betrayal of their ethical obligations        alleged against Ms.
that caused irreparable damage to Smartmatic, but it contributed     Powell.
to an erosion of trust and civility in the country.
72. Sidney Powell and Rudolph Giuliani did not want Joe Biden        Immaterial or
and Kamala Harris to win the 2020 U.S. election. Ms. Powell          impertinent -
and Mr. Giuliani wanted the Republican candidates (Donald            intertwined with
Trump and Michael Pence) to prevail in the election. But, in the     relevant non-parties;
loss, they also saw an opportunity to profit off of President        cannot be de-tangled to
Trump’s and Vice President Pence’s popularity.                       determine what is
                                                                     alleged against Ms.
                                                                     Powell.
73. President Trump and Vice President Pence had (and                Immaterial or
continue to have) a significant and loyal following. President       impertinent -
Trump and Vice President Pence received approximately 70             intertwined with
million votes during the 2020 U.S. election. President Trump         relevant non-parties;
had over 88 million Twitter followers. Their popularity,             cannot be de-tangled to
particularly President Trump’s popularity, was a tremendous          determine what is
asset. Ms. Powell and Mr. Giuliani decided to take advantage of      alleged against Ms.
that popularity for their own benefit.                               Powell.
76. Ms. Powell and Mr. Giuliani settled on two villains:             Immaterial or
Smartmatic and Dominion. They had no evidence that                   impertinent -
Smartmatic or Dominion had done anything wrong. Indeed, in           intertwined with
the case of Smartmatic, they had no evidence that Smartmatic’s       relevant non-parties;
election technology and software were even used in any of the        cannot be de-tangled to
states that had close outcomes in the 2020 U.S. election. But,       determine what is
casting Smartmatic and Dominion as the villains made for a           alleged against Ms.
good story.                                                          Powell.
77. The story could also make Ms. Powell and Mr. Giuliani            Immaterial or
money. Mr. Giuliani would cast himself as President Trump’s          impertinent -
personal lawyer. He reportedly would seek thousands of dollars       intertwined with
($20,000/day) in fees from President Trump to spread the story       relevant non-parties;
and file frivolous lawsuits. He would also use the attention         cannot be de-tangled to
brought to him as one of the primary storytellers to sell various    determine what is

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products – from coins to supplements to title fraud protection.     alleged against Ms.
Ms. Powell would set up websites soliciting money from              Powell.
President Trump’s followers to spread the story, file frivolous
lawsuits, and fight imaginary enemies of democracy.
78. Ms. Powell and Mr. Giuliani needed a platform to use to         Immaterial or
spread their story. They found a willing partner in Fox News.       impertinent -
Fox News had its own problems. Fox News had tethered its            intertwined with
financial success to President Trump and his followers. But,        relevant non-parties;
prior to the election, Fox News was losing ground as the news       cannot be de-tangled to
outlet of choice for President Trump and his followers. Indeed,     determine what is
Fox News was scorned by President Trump and his followers           alleged against Ms.
when it called the State of Arizona in favor of Joe Biden and       Powell.
Kamala Harris. Fox News needed a way to reclaim its favored
status with President Trump and his followers. Enter Ms.
Powell and Mr. Giuliani.
79. On November 12, 2020, Mr. Giuliani appeared on Lou              Immaterial or
Dobbs Tonight to spread the disinformation campaign to              impertinent - does not
millions of people. (Lou Dobbs Tonight, November 12,2020            recite statements or
(Exhibit 1)).5 At the time of his appearance, Mr. Giuliani had      actions alleged to have
presented no evidence that the 2020 U.S. election had been          been made or
rigged or stolen. He provided no such evidence to Mr. Dobbs         undertaken by Ms.
and Mr. Dobbs had seen no such evidence. But, Mr. Dobbs was         Powell
in alignment with the false story that Mr. Giuliani and Ms.
Powell wanted to spread. Mr. Dobbs: Let’s talk about, just for a
moment, an update on Dominion and how important do you
believe the concerns that are being expressed of a number of
states about the ability of these machines not to be hacked? Mr.
Giuliani: Well, first of all, the machines can be hacked. There’s
no question about that. Their machines can be hacked, but it’s
far worse than that. Dominion, Dominion is a company that’s
owned by another company Smartmatic, through its
intermediary company Indra. Smartmatic is a company that was
formed way back in 2004, 2003, 2004. You’re gonna be
astonished when I tell you how it was formed. It was formed
really by three Venezuelans, who were very close to [] dictator,
Chávez, of Venezuela. And it was formed in order to fix
elections. That’s the, that’s the company that owns Dominion.
Dominion is a Canadian company, but all of its software is
Smartmatic software. So the votes actually go to Barcelona,
Spain. So we are using a foreign company that is owned by
Venezuelans who are close to, were close to Chávez, are now
close to Maduro, have a history, they were founded as a
company to fix elections. They have a terrible record and they
are extremely hackable. (a screenshot of Giuliani on Fox news
segment is attached).
80. Mr. Dobbs then took the initiative and contributed              Immaterial or
additional falsehoods to the narrative by telling people that       impertinent - does not
Smartmatic and Dominion sent votes out of the country so the        recite statements or
voting is not auditable. He had no evidence of this assertion,      actions alleged to have
and Secretaries of State had stated the opposite, but that was      been made or

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another aspect of the false narrative that Ms. Powell, Mr.                undertaken by Ms.
Giuliani, and Fox ultimately wanted to spread. Mr. Dobbs                  Powell
stated: “And, by the way, the states, as you well know now,
they have no ability to audit meaningfully the votes that are cast
because the servers are somewhere else and are considered
proprietary and they won’t touch them. It won’t permit them
being touched.”
81. Mr. Dobbs then passed the microphone back to Mr. Giuliani             Immaterial or
to describe the widespread nature of the fraud perpetrated by             impertinent - does not
Smartmatic. Mr. Giuliani: I’m working on the part of the case             recite statements or
which is demonstrating how many illegal votes were cast. And              actions alleged to have
I’m way beyond the margin that I need in Pennsylvania or                  been made or
Michigan to overturn the vote there. We’re up to about 623                undertaken by Ms.
thousand unlawful ballots in Pennsylvania and about 320                   Powell
unlawful ballots in Michigan. . . This was, this was a stolen
election. I know, I know the phony elites don’t want to hear it,
but this was a stolen election. The same pattern exists in
Nevada, Arizona, Georgia, [and] Wisconsin…. Mr. Dobbs: This
looks to me like it’s the end of what has been a four and a half,
the end game to a four and a half effort, four and a half year
long effort to overthrow the President of the United States. It
looks like it’s exactly that, that there is a, these are all parts of a
piece here.
82. Mr. Dobbs closed Fox News’s first broadcast about                     Immaterial or
Smartmatic with an endorsement of Mr. Giuliani’s statements               impertinent - does not
about the election being stolen by Smartmatic. He said: “And              recite statements or
Rudy we’re glad you’re on the case and, and pursuing what is              actions alleged to have
the truth and straightening out what is a very complicated and            been made or
difficult story. And by the way, it’s not only difficult, it has the      undertaken by Ms.
feeling of a cover up in certain places, you know, putting the            Powell
servers in foreign countries, private companies, we don’t have
transparency with those servers. This is, this is an election             Immaterial or
nightmare, as well as a battle.”                                          impertinent -
                                                                          intertwined with
                                                                          relevant non-parties;
                                                                          cannot be de-tangled to
                                                                          determine what is
                                                                          alleged against Ms.
                                                                          Powell.
83. Over the next month, Ms. Powell, Mr. Giuliani, and Fox                Immaterial or
embarked on a disinformation campaign to convince readers                 impertinent - does not
and viewers that Smartmatic had rigged the 2020 U.S. election             recite statements or
in favor of Joe Biden and Kamala Harris. Fox spread this false            actions alleged to have
story through morning and evening news programs, material                 been made or
posted to websites, and social media. Ms. Powell and Mr.                  undertaken by Ms.
Giuliani appeared frequently on Fox News’ programs to spread              Powell
and corroborate the false story.
84. On November 14, Ms. Pirro and Ms. Powell continued the                Redundant – contents in
conspiracy with a broadcast on Justice with Judge Jeanine.                paragraph are repeated
(Justice with Judge Jeanine, November 14, 2020 (Exhibit 34)).             in paragraphs 116c,

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On information and belief, Ms. Powell was in Washington,           125a, 132d, 140d, 182b,
D.C. at the time of the broadcast and conducted the interview in   191d, e.
Washington, D.C. At the time of the broadcast. Ms. Pirro and
Fox News knew there was no evidence supporting a claim that
Smartmatic had rigged or stolen the 2020 U.S. election, much
less evidence that Smartmatic played a role in any of the States
with close outcomes. Nonetheless, Ms. Pirro allowed Ms.
Powell to use her program to spread the disinformation
campaign. Ms. Pirro: Welcome back. The election results in
several battle ground states continue to be under intense focus
as allegations of voter fraud are being investigated. Trump
campaign attorney and former federal prosecutor Sidney Powell
joins me now with more. All right good evening, Sidney, thank
you so much for joining us. I’m – I’m sure you’re very busy
now. Can you give me some idea of what you’re working now
and what exactly you are doing on the Trump [team] in his
effort to identify problems with the election? Ms. Powell: I am
working on the massive aspect of system wide election fraud,
definitely impacting the swing states and likely going far
beyond that. We’re talking about the alteration and changes in
millions of votes, some being dumped that were for President
Trump, some being flipped that were for President Trump.
Computers being overwritten to ignore signatures. All kinds of
different means of manipulating the Dominion and Smartmatic
software, that of course, we would not expect Dominion and
Smartmatic to admit. . . [W]e are collecting evidence through a
fire hose as hundreds of American patriots across the country
are stepping forward with what they know about this issue.
Including some, well, including some people that are taken [sic]
great risk to do it. (screenshot of Powell on Fox News is
attached).
85. Ms. Pirro and others at Fox News knew that Ms. Powell did      Redundant – contents in
not have any evidence to support her statement of “election        paragraph are repeated
fraud.” She presented them with none before or after the           in paragraphs 116c,
broadcast, and she had presented none publicly. There can be       125a, 132d, 140d, 182b,
no evidence of something that did not exist. But, Ms. Pirro        191d, e.
encouraged Ms. Powell to lie about Smartmatic, which she did.
Ms. Powell: It’s either Symantec or Smartmatic or the two,
there one is a subsidiary of the other. It’s all inextricably
intertwined. The money creating it came out of Venezuela or
Cuba. It was created for the express purpose of being able to
alter votes and secure the re-election of Hugo Chávez. And then
Maduro. They’ve used it in Argentina. There was an American
citizen who has exported it to other countries. And it is one
huge criminal conspiracy that should be investigated by military
intelligence for its national security implications.
87. On November 15, Ms. Bartiromo contributed to the               Immaterial or
disinformation campaign on Sunday Morning Futures with             impertinent - does not
Maria Bartiromo. (Sunday Morning Futures with Maria                recite statements or
Bartiromo, November 15, 2020 (Exhibit 5)). At the time of her      actions alleged to have

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program, Ms. Bartiromo had not seen any evidence indicating          been made or
that the 2020 U.S. election had been stolen, much less stolen by     undertaken by Ms.
Smartmatic. Nonetheless, Ms. Bartiromo joined the conspiracy         Powell
and allowed Mr. Giuliani and Ms. Powell to spread the false
story about Smartmatic. Ms. Bartiromo: Is the President right
now in this tweet conceding this election? Mr. Giuliani: No, no,
no far from it. . . As he’s gotten more evidence of the rigging
that went on, he’s really outraged. And I am, too. I mean, it’s
way beyond what people think, including a very, very
dangerous foreign company that did the votes in twenty-seven
states. A company that’s not American, a company that foreign,
a company that has close, close ties with Venezuela and
therefore China. And uses Venezuelan’s [sic] – a company’s
software that’s been used to steal elections in other countries. I
mean, I don’t think people have any idea of the dimension of
the national security problem that Dominion creates. . . And the
software that they use is done by a company called Smartmatic.
It’s a company that was founded by Chávez. And by Chávez’s
two – two allies, who still own it – own it. It’s been used to
cheat in elections in South America. It was, it was banned by
the United States several [years], about a decade ago. It’s come
back now as a subcontractor to other companies who sorta hides
in the weeds. But Dominion sends everything to Smartmatic.
Can you believe it? Our votes are sent overseas. Sent to
someplace else, some other country. . . And this company had,
and this company has tried and true methods for fixing elections
by calling a halt to the voting when you’re running too far
behind. They’ve done that in prior elections. (two screenshots
of Giuliani on Fox News are attached).
88. Ms. Bartiromo then introduced another aspect of the false        Immaterial or
story about Smartmatic. Ms. Bartiromo expanded on the false          impertinent - does not
story by stating that Smartmatic’s software has a “backdoor”         recite statements or
that is used to determine how many votes need to be switched         actions alleged to have
or altered to rig an election. It was a well-orchestrated dance      been made or
between Ms. Bartiromo and Mr. Giuliani, as she set it up and he      undertaken by Ms.
brought home a new aspect of the disinformation campaign.            Powell
Ms. Bartiromo: Look, I want to show this graphic of the swing
states [] that were using Dominion and this, this software, this
Smartmatic software. I mean, you just said it all. This is a
Smartmatic, a Delaware entity registered in Boca Raton,
Florida, activities in Caracas, Venezuela. The voting machines
were used, Dominion voting machines were used in Arizona,
Georgia, Michigan, Nevada, Pennsylvania, and Wisconsin. And
I have a graphic showing the states where they stopped
counting, which I thought was also strange to stop counting in
the middle of election night. One source says that the key point
to understand is that the Smartmatic system has a backdoor that
allows it to be [] or that allows the votes to be mirrored and
monitored, allowing an intervening party a real-time
understanding of how many votes will be needed to gain an

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electoral advantage. Are you saying the states that used that
software did that? Mr. Giuliani: Well, I know I can prove that
they did it in Michigan. I can prove it with witnesses. We’re
investigating the rest. And every one of those states, though,
we have more than enough illegal ballots already documented
to overturn the result in that state. Because not only did they use
a Venezuelan company to count our ballots, which almost
should be illegal per se. . . They did it in big cities where they
have corrupt machines that will protect them. Meaning, in
Pennsylvania, Philadelphia, in Pittsburgh, in Detroit. . . They
did it absolutely in Phoenix, Arizona. They did it absolutely in
Milwaukee, Wisconsin. Republicans were shut out from enough
of the count so they could accomplish what Smartmatic wanted
to do and what you – and that pattern that you have there, we
have evidence that that’s the same pattern Smartmatic used in
other elections in which they were disqualified. In other words,
this is their pattern of activity and yes, there is a backdoor []
and we actually have proof of some of the connections to it….
Ms. Bartiromo: So Rudy, two questions really quick before we
go: do you have the Dominion hardware in your possession? Do
you, do you need to have that hardware in your possession to
prove it? Can you prove the case without the hardware or the
software? Mr. Giuliani: We have people that I can’t really
disclose that can describe the hardware in great detail. We have
some of the people, former government employees; our
government employees and others that were there at the
creation of Smartmatic. They can describe it [], they can draw
it, they can show it. (two screenshots of Bartiromo’s statements
on Fox News are attached).
89. No one at Fox News, including Ms. Bartiromo, had seen             Immaterial or
any evidence of a “backdoor” in Smartmatic’s software that was        impertinent - does not
used to determine “how many votes will be needed to gain an           recite statements or
electoral advantage.” No one at Fox News, including Ms.               actions alleged to have
Bartiromo, had seen any evidence that Dominion voting                 been made or
machines used Smartmatic’s software. But, Ms. Bartiromo               undertaken by Ms.
helped Mr. Giuliani spread the false narratives. Ms. Bartiromo        Powell
closed her discussion with Mr.Giuliani by saying: “All right,
Rudy. We’re going to be following your investigation. Thank
you very much for breaking all of this news on this program
this morning.”
90. Ms. Bartiromo then turned her attention to Ms. Powell, who        Redundant – repeats
was also on her program that morning. On information and              alleged statement made
belief, Ms. Powell was in Washington, D.C. at the time of the         by Ms. Powell in
broadcast and conducted the interview in Washington, D.C. Ms.         paragraphs 132b, 140k,
Bartiromo and Ms. Powell had evidently agreed, before Ms.             149a, b, g, h, 191 b, j, l,
Powell went on-air, that they would introduce another aspect to       n.
the false narrative; specifically, they would spin a story about
Smartmatic having a motivation to rig the election for Joe
Biden and Kamala Harris. Ms. Bartiromo: Sidney, thanks very
much for being here. We appreciate your time this morning. I

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want to get right into it. We just heard about the software made
by Smartmatic from Rudy. And I want to get your take on what
you – what you and I spoke about just a few minutes ago and
that is a gentleman named Peter Neffenger. Tell me how he fits
into all of this. Ms. Powell: Yes. Well he is listed as it’s former
Admiral Peter Neffenger or retired Admiral Peter Neffenger. He
is President and on the board of directors of Smartmatic, and it
just so happens, he’s on Mr. Biden’s presidential transition team
that’s gonna be non-existent because we’re fixing to overturn
the results of the election in multiple states. And President
Trump won by not just hundreds of thousands of votes, but by
millions of votes that were shifted by this software that was
designed expressly for that purpose. We have sworn witness
testimony of why the software was designed. It was designed to
rig elections. . . [T]his is a massive election fraud. And I’m very
concerned it involved not only Dominion and its Smartmatic
software, but that the software essentially was used by other
election machines also. It’s the software that was the problem
(screenshot of Bartiromo and Powell on Fox News in discussion
about “New Trump Lawsuit Targets Voting Machine Firm”
attached).
92. Ms. Bartiromo knew there was no evidence of a backdoor             Immaterial or
used to alter votes. She had never seen any evidence of a              impertinent - does not
backdoor. She also knew there was no evidence of a backdoor            recite statements or
being operated from Germany or Venezuela. Yet, that was part           actions alleged to have
of the story that Ms. Bartiromo had agreed to spread. So,              been made or
instead of correcting Ms. Powell’s false statements, Ms.               undertaken by Ms.
Bartiromo ended the program with an endorsement: “Wow,                 Powell
this, this is explosive and we will certainly continue to follow it.
Sidney, thank you so much for your work.”
93. On November 16, Mr. Dobbs continued his part in                    Immaterial or
spreading the disinformation campaign on Lou Dobbs Tonight.            impertinent - does not
(Lou Dobbs Tonight, November 16, 2020 (Exhibit 15)). At the            recite statements or
time of the broadcast, Mr. Dobbs had seen no evidence that             actions alleged to have
Smartmatic’s election technology and software were used to rig         been made or
or steal the election. Smartmatic had only been used in Los            undertaken by Ms.
Angeles County, making it impossible for Smartmatic to have            Powell
influenced the outcome of the election. Nonetheless, he started
his show by stating: “Dominion has connections to U.K based
Smartmatic, a voting technology company established in 2000
that had ties to Venezuela’s Hugo Chávez.” And then he made
sure everyone understood that Smartmatic had stolen the
election. Mr. Dobbs: This is a nation that has just been wronged
mightily. Only an idiot would try to claim that there were no
irregularities, that there were no anomalies, that there were
insufficient evidence and documents suggesting fraud and
inexplicable mathematical ratios that tell us very quickly,
there’s something terrible afoot here.
94. Mr. Dobbs then introduced Ms. Powell. To lend her                  Redundant – this
credibility, and lend credibility to her story about Smartmatic,       paragraph repeats the

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Mr. Dobbs gave her the following introduction: “Joining us            same alleged Statements
now by phone, Sidney Powell, a member of President Trump’s            as 116o, 125f, 127d,
legal team. She is also General Michael Flynn’s attorney,             191o.
former federal prosecutor, best-selling author, [and] one of the
country’s most prominent appellate attorneys.” Ms. Powell then
used Mr. Dobbs’ program to introduce yet another new, fake
aspect of their story about Smartmatic – a so-called witness to it
all. Ms. Powell: I’ve just gotten some stunning evidence from a
firsthand witness, a high ranking military officer who was
present when Smartmatic was designed in a way . . that the
system could change the vote of each voter without being
detected. He [Hugo Chávez] wanted the software itself to
function in such a manner that if the voter were to place their
thumbprint or fingerprint on a scanner, then the thumbprint
would be tied to a record of the voter’s name and identity of
having voted, but that voter would not be tracked to the
changed vote. He made it clear that the system would have to be
set up but not leave any evidence of the changed vote for a
specific voter and that there would be no evidence to show and
nothing to contradict that their name or the fingerprint or
thumbprint was going with a changed vote. Smartmatic agreed
to create such a system and produce the software and hardware
that accomplished the result for President Chávez. (screenshot
of Powell “on the phone” on Fox News is attached).
95. Mr. Dobbs did not try to stop Ms. Powell from spreading           Immaterial or
disinformation about Smartmatic. He and others at Fox News            impertinent - does not
had agreed to join Ms. Powell and Mr. Giuliani to spread the          recite statements or
disinformation. So, Mr. Dobbs closed his shows as he started it:      actions alleged to have
endorsing Ms. Powell’s claim that Smartmatic is to blame for          been made or
“massive corruption across the country.” Ms. Powell: Well, my         undertaken by Ms.
other thought is that as soon as the Smartmatic system changed        Powell
the votes that they wanted for their desired candidate, by the
time they finished, they achieved a convincing but narrow             Redundant – this
victory of the certain number of votes they want for their            paragraph repeats the
candidate. This person saw [] by what is his known experience         same alleged Statements
exactly what was happening there [Venezuela], was happening           as 116o, 125f, 127d,
here. Mr. Dobbs: It’s a, it is a deeply, deeply troubling election.   191o
As I said earlier, the worst in this country’s history bar none.
And we have seen official, official investigative and Justice
Department officials slow to move, and it is infuriating to
everyone. . . Ms. Powell: Now we’ve seen willful blindness.
They have adopted a position [] of willful blindness to this
massive corruption across the country. And the Smartmatic
software is in the DNA of every vote tabulating company’s
software and systems. Mr. Dobbs: Yeah, Sid, it is – it is more
than just willful blindness. This is people trying to blind us to
what’s going on. We don’t even know who the hell really owns
these companies, at least most of them. That’s got to change
and we’ve got to find out exactly what’s going on. And thank
God we’ve got a President who will stay in the fight all the way

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through until we get those answers. Sidney Powell, thanks so
much. We appreciate it always. (screenshot of Lou Dobbs
Tonight host engaged in a conversation with Powell; Powell is
not shown but text on screen stating that she is “on the phone.”)
96. On November 17, Ms. Bartiromo and Mr. Giuliani were up           Immaterial or
again on Mornings with Maria. (Mornings with Maria,                  impertinent - does not
November 17, 2020 (Exhibit 20)). This time Ms. Bartiromo and         recite statements or
Mr. Giuliani told people that Smartmatic machines deprived           actions alleged to have
voters of their rights and threaten to keep Republicans from         been made or
ever winning the White House again.                                  undertaken by Ms.
                                                                     Powell
97. Mr. Giuliani began the program by discussing the court           Immaterial or
hearing he was going to attend in Pennsylvania that day and the      impertinent - does not
evidence he had gathered demonstrating that “somewhere               recite statements or
around 700,000 ballots were counted surreptitiously.” Ms.            actions alleged to have
Bartiromo and Mr. Giuliani then had the following exchange:          been made or
Ms. Bartiromo: And what are you finding so far? What do you          undertaken by Ms.
think went on here? Because when we spoke on Sunday, we              Powell
talked about the software made by Smartmatic that was
changing [] votes from Trump to Biden. *** Mr. Giuliani:
People probably don’t understand these ballot countings [sic]
well enough to realize what a tremendous deprivation of rights
this is. We have no idea if these 670,000 ballots were put in by
Mickey Mouse, or Biden’s cousin, or by a Democratic office
holder, or by some criminal who got paid money [] to produce
10,000. There are machines that can get you signatures on a
100,000 ballots in a half-hour. And that’s possibly what
happened in Michigan when they brought the 100,000 ballots in
the middle of the night. This is a horrendous fraud. It spans the
country. It is isolated to Democrat cities. They were smart to do
it in cities - it’s like the old west - cities they control, where
they control the workers. Ms. Bartiromo: Well, I mean, who’s
to stop this from - from happening again? I mean, if you’ve got
Democrats in charge from here on out, they’re in charge of the
machines, you’ll never see a Republican in the WhitHouse
again. (screenshot of Giuliani on Fox News is attached).
98. On November 18, Mr. Dobbs and Mr. Giuliani were up               Immaterial or
again on Lou Dobbs Tonight. (Lou Dobbs Tonight, November             impertinent - does not
18, 2020 (Exhibit 23)). Mr. Dobbs began by repeating the false       recite statements or
claim that Ms. Powell had told two days before about a witness       actions alleged to have
establishing that Smartmatic rigged the 2020 U.S. election the       been made or
same way it had rigged an election in Venezuela. Mr. Dobbs did       undertaken by Ms.
so even though he had obvious reason to doubt the veracity of        Powell
the “unidentified whistleblower” – namely, the lack of any
evidence or facts substantiating what the witness had to say.
Mr. Dobbs: The American people are getting a little tired of
being treated like slow witted children. It’s nonsensical, it’s an
insult and indeed this whole fraud is an insult against this
country. I want to share with the audience one of the affidavits
that has been given to us by an unidentified whistleblower. And

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it pertains to Dominion. A whistleblower who also [] saw what
happened in Venezuela. And the very similar events that took
place in the United States on November 3rd. If we could put
this up please to share with the audience because it is indeed
alarming. . . I am alarmed because of what is occurring in plain
sight during this 2020 election for President of the United
States. The circumstances and events are eerily reminiscent of
what happened with Smartmatic software – electronically
changing votes in the 2013 presidential election in Venezuela.
(screenshot of Lou Dobbs on Lou Dobbs show on Fox News
attached).
99. Mr. Dobbs and Mr. Giuliani then returned to another one of       Immaterial or
their primary themes: that Smartmatic’s software sends votes         impertinent - does not
out of the country for manipulation to rig elections. This, of       recite statements or
course, is not how election technology and software works; and,      actions alleged to have
certainly, is not how Smartmatic’s election technology and           been made or
software works, but Ms. Powell, Mr. Giuliani, and Fox used it        undertaken by Ms.
as part of their false narrative. Mr. Giuliani: Well, Lou, I don’t   Powell
know if people can appreciate this, but I think when they do,
they’re gonna be outraged. Our votes in 27, 28 states that had
[been] counted by Dominion and calculated and analyzed.
They’re sent outside the United States. And they’re not sent to
Canada, they’re sent to Germany and Spain. And the company
counting it is not Dominion. It’s Smartmatic, which is a
company that was founded in 2005 in Venezuela for the
specific purpose of fixing elections. That’s their expertise. How
to fix elections. They did it a number of times in Venezuela.
They did it in Argentina. . . Well that’s the company that was
counting and calculating on election night and they did all their
old tricks. . . They also switched votes around subtly, maybe ten
per district, so you don’t notice it. . . But I mean the mere fact
that we have a foreign country, we have this [done] in a foreign
country done by friends of an enemy of the United States,
Maduro, is outrageous and has to stop immediately.
100. At this point, Mr. Dobbs had seen no evidence of                Immaterial or
Smartmatic software being used by Dominion. He knew both             impertinent - does not
companies had disclaimed any relationship. He had seen no            recite statements or
evidence of votes being sent outside the United States by            actions alleged to have
Smartmatic. And he had seen no evidence that Smartmatic              been made or
rigged the 2020 U.S. election. But, instead of correcting Mr.        undertaken by Ms.
Giuliani, Mr. Dobbs stated: “It’s outrageous, and it’s all the       Powell
more outrageous because Dominion and Smartmatic were
denied use in the State of Texas, which called them out for what
they are. They have a clear record.”
101. On November 19, Mr. Dobbs continued his role in the             Immaterial or
disinformation campaign on Lou Dobbs Tonight. (Lou Dobbs             impertinent - does not
Tonight, November 19, 2020 (Exhibit 25)). He started his             recite statements or
program by playing portions of a press conference held by Ms.        actions alleged to have
Powell and Mr. Giuliani in Washington, D.C. earlier that day,        been made or
introducing the clips with his own statements. Mr. Dobbs: The

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President’s attorney, Rudy Giuliani, leading the charge today.         undertaken by Ms.
Giuliani says the radical Dems’ control and power was                  Powell
consolidated in a coordinated effort to steal the election from
President Trump. *** Mr. Giuliani: And what emerged very
quickly is – this is not a singular voter fraud in one state. This
pattern repeats itself in a number of states. Almost exactly the
same pattern. Which to any experienced investigator, prosecutor
would suggest that there was a plan from a centralized place to
execute these various acts of voter fraud, specifically focused
on big cities. And specifically focused on, as you would
imagine, big cities controlled by Democrats, and particularly
focused on big cities that have a long history of corruption. ***
Mr. Dobbs: Another issue at the center of today’s new
conference, the use of Dominion voting machines and
Smartmatic software. Defense attorney Sidney Powell cited a
whistleblower’s stunning affidavit. It says Smartmatic’s
technology was used to rig elections in Venezuela. It is now in
the quote, “DNA of every vote tabulating company software
and system.” Smartmatic and Dominion deny those charges.
But Sidney Powell argues that algorithms in the Smartmatic
software were used to change results in the presidential
election. Ms. Powell: The software itself was created with so
many variables and so many backdoors that can be hooked up
to the Internet or a thumb drive stuck in it or whatever. But one
of its most characteristic features is its ability to flip votes. It
can set and run an algorithm that probably ran all over the
country to take a certain percentage of votes from President
Trump and flip them to President Biden, which we might never
have uncovered, had the votes for President Trump not been so
overwhelming in so many of these states that it broke the
algorithm that had been plugged into the system. And that’s
what caused them to have to shut down in states they shut down
in. That when they came in the backdoor with all the mail-in
ballots, many of which they had actually fabricated. (two
screenshots of Dobbs and Powell on Fox News attached).
103. Mr. Dobbs again ended his discussion with Ms. Powell              Immaterial or
with an endorsement of her statements and affirmation that             impertinent - does not
Smartmatic had stolen the election. Ms. Powell: But like I said,       recite statements or
it’s just a massive amount of information now. We’ve got the –         actions alleged to have
well, let me put it this way, there’s thousands of people in           been made or
federal prison on far less evidence of criminal conduct than we        undertaken by Ms.
have already against the Smartmatic and Dominion Systems               Powell
companies. And most of the companies in the country run the
same sort of software or have that code in their software. So it’s
farther, it’s more widespread. Mr. Dobbs: And incredibly, one
of the benefits of this may be that we will learn who actually
owns these companies. We have just watched, to everyone in
this audience tonight, our election is run by companies, the
ownership of which we don’t know. Sidney Powell is among
those trying to change all of that. Sidney Powell, thank you so

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much for being with us. We appreciate it. (screenshot of Lou
Dobbs Tonight host engaged in a conversation with Powell;
Powell is not shown but text on screen stating that she is “on the
phone.”)
104. On November 21, Ms. Pirro returned as a voice for the           Immaterial or
disinformation campaign on Justice with Judge Jeanine.               impertinent - does not
(Justice with Judge Jeanine, November 21, 2020 (Exhibit 28)).        recite statements or
Her apparent objective was to lend credibility to the statements     actions alleged to have
that had previously been made by Mr. Giuliani and Ms. Powell,        been made or
specifically about the “affidavits” that they had been using to      undertaken by Ms.
prop up the fake narrative about Smartmatic. Ms. Pirro said:         Powell
Ms. Pirro: The President’s lawyers [are] alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software,
[has] a backdoor [that] is capable of flipping votes. And the
President’s lawyers [are] alleging that American votes in a
presidential election are actually counted in a foreign country.
These are serious allegations, but the media has no interest in
any of this, but you and I do, as we should, because 73 million
Americans voted for Donald Trump. *** Ms. Pirro: Now the
President’s lawyers offered evidence by way of affidavits,
which I told you last Saturday as a judge, from a legal
perspective, are sworn statements of individuals signed under
penalty of perjury. Meaning they know they face the penalty of
prosecution and five years [in prison] if they lie. These sworn
statements are factual allegations, are part of virtually every
lawsuit. It’s how you start a case. The President’s lawyers have
indicated that they have 250 such affidavits under oath. People
ready to testify, people ready to face the hate that the left has
inflicted upon all of us from day one. And you know what I’m
talking about. *** Ms. Pirro: Forgive me, but I believe the only
important thing is making sure that the American people and
Lady Justice get their way, consequences be damned. On
Thursday, Rudy Giuliani made clear the Democrat cities were
targeted by crooked Democrats who stole votes. These were
cities where they were comfortable with corruption, where
political corruption ran through the blood lines of cities like
Pittsburgh and Philadelphia and Detroit. He described election
night numbers going in the favor of Donald Trump, but by the
next morning, absurd increases in Biden votes. *** Ms. Pirro:
How do we know this? He knew it through affidavits, those
sworn statements where you can actually go to jail if you don’t
tell the truth. (screenshot if Giuliani on Fox News is attached).
105. On November 21, Mr. Dobbs also appeared on Watters’             Immaterial or
World, another program broadcast by Fox News, to spread the          impertinent - does not
disinformation campaign’s theme that the 2020 U.S. election          recite statements or
had been stolen by a cyber-attack. (Watters’ World, November         actions alleged to have
21, 2020 (Exhibit 30)). Mr. Dobbs stated: The President says         been made or
this time they got caught in this election and indeed they have.     undertaken by Ms.
All across the country, various jurisdictions, stealing, trying to   Powell

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steal an election. And this President is demonstrating, once
again, he is the wrong guy to cross. The wrong guy to think you
can overthrow, upend and somehow stop with a vicious
campaign, whether it’s verbal, whether it is physical, whether it
is what we have seen here, a cyber-attack on our election, those
voting machines and software. This President means to see this
to the end. And that means to see it to the end of justice for
these people, who have decided that they would overthrow our
government and overthrow our way of life in this country. And
it just damn well isn’t going to succeed.
106. On November 22, Ms. Bartiromo hosted Alan Dershowitz            Immaterial or
on Sunday Mornings with Maria Bartiromo. (Sunday Morning             impertinent - does not
Futures with Maria Bartiromo, November 22, 2020 (Exhibit             recite statements or
33)). Ms. Bartiromo started the show by reminding viewers            actions alleged to have
“President Trump’s legal team has just three weeks left to           been made or
gather enough evidence of fraud to contest the 2020 election         undertaken by Ms.
results in court” and Ms. Powell “says she can do [it].” Ms.         Powell
Bartiromo then repeated baseless claims about Smartmatic
knowing she had seen no evidence in support. Mr. Dershowitz:
The other legal theory they [the Trump campaign] have, which
is a potentially strong one, is that the computers, either
fraudulently or by glitches, changed hundreds of thousands of
votes. There, there are enough votes to make a difference, but I
haven’t seen the evidence to support that … Ms. Bartiromo:
You just mentioned the computers. This is, has to do with
Smartmatic election software …. Also in terms of the
computers and the software, Smartmatic election software was
developed, Sidney Powell says, in Venezuela, with porous
security and built-in functionality allowing the administrators to
override security features. We haven’t seen this, so we don’t
know, but this is the kind of evidence that they say they have,
your reaction.
107. Ms. Bartiromo laid out a series of claims being made about      Immaterial or
Smartmatic – multiple times by Ms. Powell, Mr. Giuliani, and         impertinent - does not
Fox on Fox News over the last several days – and then casually       recite statements or
acknowledged that no one at Fox has seen any evidence (“[w]e         actions alleged to have
haven’t seen this, so we don’t know”). Mr. Dershowitz                been made or
acknowledged in response: “[T]hey’re going to need                   undertaken by Ms.
overwhelming evidence and I haven’t seen it.” Ms. Powell, Mr.        Powell
Giuliani, and Fox had not seen any evidence either. That did not
stop them from making the claims time and time against on Fox
News.
108. On November 26, Mr. Dobbs continued the disinformation          Immaterial or
campaign against Smartmatic on Lou Dobbs Tonight. (Lou               impertinent - does not
Dobbs Tonight, November 26, 2020 (Exhibit 36)). Mr. Dobbs            recite statements or
used his program to undermine the joint statement issued by the      actions alleged to have
Elections Infrastructure Government Coordinating Council and         been made or
the Election Infrastructure Sector Coordinating Executive            undertaken by Ms.
Committees, which had reported that the 2020 U.S. election           Powell
was the most secure in the country’s history. After mentioning

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the joint statement, Mr. Dobbs told his audience that the joint
statement should not be trusted. Mr. Dobbs: Big news now: the
country’s largest voting machine groups have close ties to a
government agency that disputes any regularities [sic] in this
year’s election. *** Mr. Dobbs: Among the many things that
the agency failed to disclose is that Dominion Voting Systems
and another well, several voting companies are members of
their election infrastructure sector coordinating council. And
that’s a mouthful. It’s an advisory council to CISA and the
DHS. One of two entities that authored, that wrote the CISA
November 12 statement. Also sitting on that council, in addition
to Dominion, is Smartmatic, another company that we have
reported on and detailed on this broadcast with documented
issues with their voting machine software … I challenge the
Department of Homeland Security to produce evidence that this
was the most secure, the most secure election in history, when it
was in point of fact, the opposite.
109. On December 10, Mr. Dobbs and Ms. Powell returned for             Redundant – repeats
another round of disinformation on Lou Dobbs Tonight. (Lou             part or all of the same
Dobbs Tonight, December 10, 2020 (Exhibit 38;39)). Ms.                 statement allegedly
Powell joined the program from a hotel room she rented in the          made by Ms. Powell in
Trump International Hotel in Washington, D.C. Mr. Dobbs’               125q, o, n, 149v, and
introduced Ms. Powell as a “distinguished attorney, former             191v
federal prosecutor …. and as we all know, a great American.”
Mr. Dobbs then displayed the names of the “four individuals
[who Ms. Powell says] led the effort to rig this election.”
Antonio Mugica, CEO of SGO Corporation Limited, was one of
the four individuals displayed by Mr. Dobbs. He then asked Ms.
Powell how Mr. Mugica and the other three had rigged the
election. Ms. Powell: Well, Lou, they designed and develop[ed]
the Smartmatic and Dominion programs and machines that
include a controller module that allows people to log in and
manipulate the votes even as it’s happening. We’re finding
more and more evidence of this. We now have reams and reams
of actual documents from Smartmatic and Dominion, including
evidence that they planned and executed all of this. We know
that $400 million of money came into Smartmatic from China
only a few weeks before the election, that there are George
Soros connections to this entire endeavor. Lord Malloch Brown
[Chairman of SGO Corporation Limited] was part of it, along
with the other people from Dominion. . . We know that one of
the Smartmatic people has, went to Tarrant County, Texas and
turned that county blue after having been an executive with
Smartmatic and all of a sudden this one election Tarrant County
is purportedly blue. We have evidence of how they flip the
votes, how it was designed to flip the votes, and that all of it has
been happening just as we have been saying it has been. ***
Ms. Powell: [W]e are still reviewing the massive amount of
documents that we have, but we have communications between
them and all different kinds of messages that indicate their

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involvement in it. It’s a massive amount of additional
information to go through that’s only been in our hands a short
time, but we will be producing more and more of it. It will be
coming out more by the day. And then also the connections to
the Chinese and other countries that were attacking us in this
massive cyber Pearl Harbor, as we called it. *** Ms. Powell:
[W]e’ve known from early on in our independent investigation
that the entire system was created for the benefit of Venezuela
and Hugo Chávez to rig elections to make sure he continued
winning. And then it was passed onto Mr. Maduro to do the
same.
110. Mr. Dobbs transitioned to a break by stating: “We’re going      Immaterial or
to examine in some detail the reasons for what is apparently a       impertinent - does not
broadly coordinated effort to actually bring down this President     recite statements or
by ending his second term before it could begin.” On his return,     actions alleged to have
Mr. Dobbs again drew focus to the screen with the names of           been made or
four individuals, including Mr. Mugica. He then stated:              undertaken by Ms.
“Because it’s important as we look at these four names, we’re        Powell
talking about [a] very large, a very large foreign intrusion and
interference in the, in the election of 2020.”
111. Mr. Dobbs then turned his attention, and Ms. Powell             Immaterial or
turned her attention, to discrediting the public statements made     impertinent - does not
by agencies and officials that debunked their disinformation         recite statements or
campaign. Mr. Dobbs: [I]t’s outrageous that we have an               actions alleged to have
Attorney General, Sidney, who said that he sees no sign of, if       been made or
any, significant fraud that would overturn the election. We had      undertaken by Ms.
a head of the Cyber Intelligence Unit for the Department of          Powell
Homeland Security who is suing some people apparently for
saying that his report basically was, it was nonsense when he
declared it was the most secure election in the country’s history.
What are we dealing with here and how can we get to this if we
have an Attorney General who has apparently lost both his
nerve and his commitment to his oath of office and to the
country. We have an FBI director who seems to be [as]
politically corrupt as anyone who preceded him, and a
Homeland Security Department that doesn’t know what the hell
it’s talking about and is spending more time playing politics, at
least as it applies to Mr. Krebs, than securing the nation. Your
thoughts? Ms. Powell: [] There’s no explanation for the way the
FBI has treated witnesses. I mean, good American citizens
who’ve been brave enough to come forward with direct
evidence of things like thousands of ballots moving from one
state to another in the middle of the night to do what is called
back-filling into the machines so that they can perpetrate their
fraud because President Trump won so many votes, he blew up
their algorithm. The American people blew up the algorithm
they created before the election to shave votes from Biden and
give them to Trump. And we’re now seeing direct evidence of
that happening in multiple counties, in multiple states and we
know it happened across the country.

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114. Eventually, Mr. Dobbs did return to the airways with         Immaterial or
another story about Smartmatic. So did Ms. Bartiromo and Ms.      impertinent - does not
Pirro. On December 18, after receiving a retraction demand        recite statements or
letter from Smartmatic, Mr. Dobbs played a prerecorded            actions alleged to have
interview with Eddie Perez, the Global Director at the Open       been made or
Source Election Technology Institute. (Lou Dobbs Tonight,         undertaken by Ms.
December 18, 2020 (Exhibit 45)). Ms. Bartiromo and Ms. Pirro      Powell
played the prerecorded interviews on December 20. (Sunday
Morning Futures with Maria Bartiromo, December 20, 2020
(Exhibit 46); Justice with Judge Jeanine, December 20, 2020
(Exhibit 47)). During the interview, Mr. Perez explained that
there was no evidence in support of the claims that Ms. Powell,
Mr. Giuliani, and Fox had been making about Smartmatic for
over a month.
115. Ms. Powell’s, Mr. Giuliani’s, and Fox’s disinformation       Immaterial or
campaign against Smartmatic focused on eight themes designed      impertinent -
to reinforce each other and persuade people that Smartmatic       intertwined with
(along with Dominion) was responsible for stealing the 2020       relevant non-parties;
U.S. election from President Trump. During the Fox News           cannot be de-tangled to
programs, Ms. Powell, Mr. Giuliani, and Fox stated and            determine what is
implied: • Smartmatic’s election technology and software were     alleged against Ms.
widely used in the 2020 U.S. election, including in six states    Powell.
with close outcomes; • Smartmatic’s election technology and
software were used by Dominion during the 2020 U.S. election;
• Smartmatic’s election technology and software were used to
steal the 2020 U.S. election by rigging and fixing the vote; •
Smartmatic’s election technology and software sent votes to
foreign countries for tabulation and manipulation during the
2020 U.S. election; • Smartmatic’s election technology and
software were compromised and hacked during the 2020 U.S.
election; • Smartmatic was previously banned from being used
in U.S. elections; • Smartmatic is a Venezuelan company that
was founded and funded by corrupt dictators from socialist and
communist countries; and, • Smartmatic’s election technology
and software were designed to rig and fix elections.
116. Ms. Powell, Mr. Giuliani, and Fox used Fox News’             116a-b, d-n, p-x, z, aa-
broadcasting power from New York to disseminate the               kk, mm-qq : Immaterial
disinformation campaign to the largest audience possible. But,    or impertinent - does
Fox News did not limit itself to the evening and morning news     not recite statements or
programs. Fox News used all of its various New York-based         actions alleged to have
platforms to disseminate the disinformation campaign.             been made or
                                                                  undertaken by Ms.
a. November 12: Mr. Dobbs and Mr. Giuliani appear on Lou          Powell
Dobbs Tonight discussing Smartmatic’s role in election fraud.
(Lou Dobbs Tonight, November 12, 2020 (Exhibit 1)).               116c: Redundant -
                                                                  repeats paragraphs 84-
b. November 14: Mr. Dobbs tweets: “Read all about Dominion        85.
and Smartmatic voting companies and you’ll soon understand
how pervasive this Democrat electoral fraud is, and why there’s   116o: Redundant –
no way in the world the 2020 Presidential election was either     repeats paragraph 94

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free or fair. #MAGA @realDonaldTrump #AmericaFirst
#Dobbs” (Twitter, @LouDobbs, November 14, 2020 (Exhibit           116y: Redundant –
2)).                                                              repeats paragraphs 101-
                                                                  02
c. November 14: Ms. Pirro and Ms. Powell appear on Justice
with Judge Jeanine discussing Smartmatic’s role in a huge      Immaterial or
criminal conspiracy. (Justice with Judge Jeanine, November 14, impertinent -
2020 (Exhibit 3)).                                             intertwined with
                                                               relevant non-parties;
d. November 14: Fox News posts video and transcript of Justice cannot be de-tangled to
with Judge Jeanine on its website discussing Smartmatic’s role determine what is
in a huge criminal conspiracy. (Fox News Website, November     alleged against Ms.
14, 2020 (Exhibit 4)).                                         Powell.

e. November 15: Ms. Bartiromo, Mr. Giuliani and Ms. Powell
appear on Sunday Morning Futures with Maria Bartiromo
discussing Smartmatic’s role in election fraud. (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

f. November 15: Ms. Bartiromo and Representative Jim Jordan
appear on Sunday Morning Futures with Maria Bartiromo
discussing Smartmatic’s role in manipulating votes. (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Second Video) (Exhibit 6)).

g. November 15, Fox News posts video of Sunday Morning
Futures with Maria Bartiromo to its website with caption:
“Giuliani: Trump is contesting the election ‘vigorously’ in the
courts.” (Fox News Website, November 15, 2020, Exhibit 7)).

h. November 15: Ms. Bartiromo posts video of Sunday Morning
Futures with Maria Bartiromo using Twitter with caption:
“Giuliani: Trump is contesting the election ‘vigorously’ in the
courts.” (Twitter, @MariaBartiromo, November 15, 2020 (First
Tweet) (Exhibit 8)).

i. November 15: Ms. Bartiromo posts video of Sunday Morning
Futures with Maria Bartiromo using Twitter with caption:
“Why doesn’t Biden camp want to know truth about voting
irregularities?” (Twitter, @MariaBartiromo, November 15,
2020 (Second Tweet) (Exhibit 9)).

j. November 15: Ms. Bartiromo posts video of Sunday Morning
Futures with Maria Bartiromo using Twitter with caption:
“Attorney Powell on election legal challenge that remain active
in several states.” (Twitter, @MariaBartiromo, November 15,
2020 (Third Tweet) (Exhibit 10)).



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k. November 15: Ms. Bartiromo tweets: “#BreakingNews the
show will repeat @FoxBusiness 6pm et today” and includes
tweet from BlueSkyReport that states: “Outrageous: Peter
Neffenger is on the Board of Smartmatic and is on Biden’s
transition team. @MariaBartiromo w/@SidneyPowell1
exposing massive Foreign Election Fraud.” (Twitter,
@MariaBartiromo, November 15, 2020 (Fourth Tweet) (Exhibit
11)).

l. November 15: Fox News posts video and transcript of Sunday
Morning Futures with Maria Bartiromo to its website with
caption: “Why doesn’t Biden camp want to know the truth
about voting irregularities?” (Fox News Website, November 15,
2020 (Exhibit 12)).

m. November 16: Ms. Bartiromo posts video of Sunday
Morning Futures with Maria Bartiromo using Twitter with
caption: Attorney for President Trump explains strategy for
election lawsuits.” (Twitter, @MariaBartiromo, November 16,
2020 (Exhibit 13)).

n. November 16: Mr. Dobbs and Republican National
Committee Chair Ronna McDaniel appear on Lou Dobbs
Tonight discussing Smartmatic’s role in manipulating results of
election. (Lou Dobbs Tonight, November 16, 2020 (First Video)
(Exhibit 14)).

o. November 16: Mr. Dobbs and Ms. Powell appear on Lou
Dobbs Tonight discussing Smartmatic’s role in massive
corruption of election. (Lou Dobbs Tonight, November 16, 2020
(Second Video) (Exhibit 15)).

p. November 16: Mr. Dobbs tweets: “There’s never been a
national election with this many widespread irregularities,
anomalies, screw ups, disruption and plain cheating in
American history! We must investigate and fix it all if we’re to
remain a constitutional Republic.” and includes a tweet from
Donald J. Trump. (Twitter, @LouDobbs, November 16, 2020
(Exhibit 16))

q. November 16: Fox News anchor Laura Ingram posts video of
Sunday Morning Futures with Maria Bartiromo using Twitter
with caption: “Sidney Powell says that ‘the evidence on use of
‘Dominion System’ is coming in so fast she ‘can’t even process
it all.’” (Twitter, @IngramAngle, November 16, 2020 (Exhibit
17)).

r. November 16: Mr. Dobbs posts video of Lou Dobbs Tonight
using Twitter with caption: “Electoral Fraud: @SidneyPowell1
says she has firsthand evidence that Smartmatic voting software

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was designed in a way to change the vote of a voter without
being detected.” (Twitter, @LouDobbs, November 16, 2020
(Exhibit 18)).

s. November 16: Ms. Bartiromo post video of Sunday Morning
Futures with Maria Bartiromo using Facebook with caption:
“Attorney for President Trump explains the strategy for election
lawsuits.” (Facebook, Maria Bartiromo, November 16, 2020
(Exhibit 19)).

t. November 17: Ms. Bartiromo and Mr. Giuliani appear on
Mornings with Maria discussing Smartmatic’s role in
horrendous fraud. (Mornings with Maria, November 17, 2020
(Exhibit 20)).

u. November 17: Fox News anchor Laura Ingram retweets post
by Sara A. Carter captioned: “Trump’s attorneys battle for
‘legitimate votes’ as concern mounts over Dominion Voting
Systems & Smartmatic.” (Twitter, @IngramAngle, November
17, 2020 (Exhibit 21)).

v. November 17: Fox News posts video of Mornings with
Maria to its website discussing Smartmatic’s role in horrendous
fraud. (Fox News Website, November 17, 2020 (Exhibit 22))

w. November 18: Mr. Dobbs and Mr. Giuliani appear on Lou
Dobbs Tonight discussing Smartmatic’s role in fixing elections.
(Lou Dobbs Tonight, November 18, 2020 (Exhibit 23)).

x. November 18: Mr. Dobbs posts video of Lou Dobbs Tonight
using Twitter with caption: “Foreign Election Involvement:
@RudyGiuliani says votes in 28 states were sent to Germany
and Spain to be counted by Smartmatic.” (Twitter,
@LouDobbs, November 18, 2020 (Exhibit 24)).

y. November 19: Mr. Dobbs and Ms. Powell appear on Lou
Dobbs Tonight discussing Smartmatic’s software being used to
change election results. (Lou Dobbs Tonight, November 19,
2020 (Exhibit 25)).

z. November 19: Fox News posts video and transcript of
Hannity discussing broken election system. (Fox News
Website, November 19, 2020 (Exhibit 26)).

aa. November 19: Mr. Dobbs posts video of Lou Dobbs Tonight
using Twitter with caption: “Inextricably Intertwined:
@SidneyPowell1 has no doubt that Dominion Voting machines
run Smartmatic software which allows them to manipulate the
votes” #MAGA #AmericaFirst #Dobbs (Twitter, @LouDobbs,
November 19, 2020) (Exhibit 27)).

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bb. November 21: Ms. Pirro appears on Justice with Judge
Jeanine discussing corruption in “Democrat strongholds”
during election. (Justice with Judge Jeanine, November 21,
2020 (Exhibit 28)).

cc. November 21: Fox News posts video and transcript of
Justice with Judge Jeanine to its website with caption:
“Questions linger over the Left’s plot against Donald Trump.”
(Fox News Website, November 21, 2020 (Exhibit 29)).

dd. November 21: Mr. Dobbs appears on Watters’ World
discussing a cyberattack by voting machines and software that
were used to “steal” an election. (Watters’ World, November
21, 2020 (Exhibit 30)).

ee. November 22: Ms. Pirro posts video of Justice with Judge
Jeanine using Twitter with caption: “PART ONE: For four
years we listen to unsupported allegations of a conspiracy by a
foreign government to interfere with our presidential election”
#OpeningStatement” (Twitter, @JudgeJeanine, November 22,
2020 (Exhibit 31)).

ff. November 22: Fox News posts video of Justice with Judge
Jeanine to its website with caption: “Judge Jeanine: Preserving
U.S. election integrity.” (Fox News Website, November 22,
2020 (Exhibit 32)).

gg. November 22: Ms. Bartiromo and Alan Dershowitz appear
on Sunday Morning Futures with Maria Bartiromo discussing
porous security of Smartmatic’s software. (Sunday Morning
Futures with Maria Bartiromo, November 22, 2020 (Exhibit
33))

hh. November 22: Fox News posts video and transcript of
Sunday Morning Futures with Maria Bartiromo to its website
with caption: “Dershowitz: ‘Legal theory’ supports election
lawsuits but evidence is crucial.” (Fox News Website,
November 22, 2020 (Exhibit 34)).

ii. November 24: Ms. Pirro posts video of Justice with Judge
Jeanine discussing corruption in “Democrat strongholds”
during election using Facebook. (Facebook, Jeanine Pirro,
November 24, 2020 (Exhibit 35))

jj. November 26: Mr. Dobbs appears on Lou Dobbs Tonight
discussing issues with Smartmatic’s software. (Lou Dobbs
Tonight, November 26, 2020 (Exhibit 36)).



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kk. November 26: Fox News posts video and article titled:
“Attorney Sidney Powell files lawsuit seeking Georgia election
results be decertified, awarded to Trump.” (Fox News Website,
November 26, 2020 (Exhibit 37))

ll. December 10: Mr. Dobbs and Ms. Powell appear on Lou
Dobbs Tonight discussing Smartmatic’s role in rigging the
election. (Lou Dobbs Tonight, December 10, 2020 (First Video)
(Exhibit 38) & (Second Video) (Exhibit 39)).

mm. December 10: Mr. Dobbs tweets: “The 2020 Election is a
cyber Pearl Harbor: The leftwing establishment have aligned
their forces to overthrow the United States government”
#MAGA #AmericaFirst #Dobbs He includes a statement that
reads, in part: “These four people [including Smartmatic’s
CEO] and their collaborators executed an electoral 9-11 against
the United States with the cooperation and collusion of the
media and Democrat Party and China.” (Twitter, @LouDobbs,
December 10, 2020 (First Tweet) (Exhibit 40)).

nn. December 10: Mr. Dobbs posts video of Lou Dobbs Tonight
using Twitter with caption: “Cyber Pearl Harbor:
@SidneyPowell1 reveals groundbreaking new evidence
indicating our Presidential election came under massive cyber-
attack orchestrated with the help of Dominion, Smartmatic and
foreign adversaries.” #MAGA #AmericaFirst #Dobbs (Twitter,
@LouDobbs, December 10, 2020 (Second Tweet) (Exhibit
41)).

oo. December 10: Mr. Dobbs posts video of Lou Dobbs Tonight
using Twitter with caption: “Evidence of Fraud:
@SidneyPowell1 says the FBI and law enforcement aren’t
interested in electoral fraud witnesses and offers to make public
evidence of a cyber-attack on the US election system.” #MAGA
#AmericaFirst #Dobbs (Twitter, @LouDobbs, December 10,
2020 (Third Tweet) (Exhibit 42)).

pp. December 10: Mr. Dobbs posts video of Lou Dobbs Tonight
using Facebook with caption: “Cyber Pearl Harbor: Sidney
Powell reveals groundbreaking new evidence indicating our
Presidential election came under massive cyber-attack
orchestrated with the help of Dominion, Smartmatic, and
foreign adversaries.” #MAGA #AmericaFirst #Dobbs
(Facebook, Lou Dobbs, December 10, 2020 (First Post)
(Exhibit 43)).

qq. December 10: Mr. Dobbs posts video of Lou Dobbs Tonight
using Facebook with caption: “Evidence of Fraud: Sidney
Powell says the FBI and law enforcement aren’t interested in
electoral fraud witnesses and offers to make public evidence of

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a cyber-attack on the US election system.” #MAGA
#AmericaFirst #Dobbs (Facebook, Lou Dobbs, December 10,
2020 (Second Post) (Exhibit 44)).
117. Fox used these platforms not only to directly disseminate     Immaterial or
the publications to the largest audience possible but also to      impertinent - does not
ensure republication. Lou Dobbs Tonight, Sunday Morning            recite statements or
Futures with Maria Bartiromo, Mornings with Maria, and             actions alleged to have
Justice with Judge Jeanine are national broadcasts for Fox         been made or
News with multi-million average viewers. On information and        undertaken by Ms.
belief, Fox News also encouraged its affiliates to republish and   Powell Immaterial or
repeat the claims about Smartmatic that were made during these     impertinent -
national broadcasts.                                               intertwined with
                                                                   relevant non-parties;
                                                                   cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
118. Fox News also ensured the broad dissemination of the          Immaterial or
disinformation campaign by posting videos and transcripts of       impertinent - does not
the broadcasts on its website. Fox News has one of the largest     recite statements or
website viewership-base of any news organization. Posting the      actions alleged to have
broadcast videos and transcripts ensured Ms. Powell, Mr.           been made or
Giuliani, and Fox reached an even larger global audience with      undertaken by Ms.
the disinformation about Smartmatic. Through its various           Powell
platforms, and given its worldwide reach, Fox News ensured
that that billions of people across the world heard, read, and saw Immaterial or
the disinformation about Smartmatic.                               impertinent -
                                                                   intertwined with
                                                                   relevant non-parties;
                                                                   cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
119. Mr. Dobbs, Ms. Bartiromo, and Ms. Pirro have a                Immaterial or
significant number of followers on and through Facebook and        impertinent - does not
Twitter. They posted videos and made additional false              recite statements or
statements about Smartmatic on these social media platforms to actions alleged to have
spread the disinformation campaign to yet another audience         been made or
base. As Mr. Dobbs, Ms. Bartiromo, and Ms. Pirro expected          undertaken by Ms.
and hoped, individuals who followed them on social media           Powell
“retweeted” and further republished their defamatory and
disparaging statements about Smartmatic to others.
120. Finally, Mr. Dobbs used hashtags to ensure an even further Immaterial or
dissemination of the disinformation campaign. Mr. Dobbs used impertinent - does not
the hashtags #MAGA, #AmericaFirst, and #Dobbs for several          recite statements or
of his social media postings. Mr. Dobbs did so to make sure that actions alleged to have
individuals following those hashtags would see and read his        been made or
publication.                                                       undertaken by Ms.
                                                                   Powell


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121. Ms. Powell and Mr. Giuliani knew of Fox News’s                 Immaterial or
significant broadcasting and publication reach before they          impertinent -
appeared on Lou Dobbs Tonight, Sunday Morning Futures with          intertwined with
Maria Bartiromo, Mornings with Maria, and Justice with Judge        relevant non-parties;
Jeanine. The audience reach of these programs was one of the        cannot be de-tangled to
reasons that Ms. Powell and Mr. Giuliani appeared on these          determine what is
programs. Ms. Powell and Mr. Giuliani knew their appearances        alleged against Ms.
on the shows would ensure that millions of individuals would        Powell.
hear or read their statements through the New York-based
platforms.
122. Ms. Powell, Mr. Giuliani, and Fox did not present their        Immaterial or
statements regarding Smartmatic as being opinion, rhetorical        impertinent -
hyperbole, or speculation. They did not present their statements    intertwined with
regarding Smartmatic as being educated guesses, possibilities,      relevant non-parties;
or mere allegations. They each presented their statements           cannot be de-tangled to
regarding Smartmatic as being fact. Fact supported by               determine what is
“tremendous evidence.” Likewise, Fox told their viewers and         alleged against Ms.
readers that their coverage of Smartmatic was one of the only       Powell.
ways for them to receive reliable and accurate information. Fox
told their viewers and readers to discredit and ignore whatever
they heard from other sources.
123. First, Fox News promotes itself as a new organization that     Immaterial or
viewers and readers should trust for providing facts. For           impertinent - does not
example:                                                            recite statements or
                                                                    actions alleged to have
a. On its website, Fox News advertises for “FOX Around the          been made or
World” (its international programming option) by saying, “[w]e      undertaken by Ms.
know there’s no substitute for Fox News and you shouldn’t be        Powell
denied our Fair and Balanced coverage just because you’re
outside of the United States.”

b. Fox News’s slogan was changed in 2016-2017 to “Most
watched, Most trusted.”

c. On its website, Fox News notes that it is “a 24-hour-all-
encompassing news service delivering breaking news as well as
political and business news.”

d. The Fox News website says that it has been named “the most
trusted source for television news or commentary” and Fox
News boasts on its website that a 2019 “Brand Keys Emotion
Engagement Analysis survey found that FOX News was the
most trusted cable news brand.”

e. In October 2020, Fox News published a press release stating
that it expanded its distribution to 27 countries worldwide ahead
of the U.S. presidential election, noting that it was “enabling
audiences abroad unprecedented access to FOX News Channel
and FOX Business Network’s world class coverage ahead of the
United States election on November 3rd.”

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f. In its Twitter bio, Fox News states that it is “America’s #1
cable news network, delivering you breaking news, insightful
analysis, and must-see videos.”
124. Second, Fox promotes the anchors and their programs as          Immaterial or
being reliable sources for facts. For example:                       impertinent - does not
                                                                     recite statements or
a. Fox News and Mr. Dobbs describe Mr. Dobbs as an award-            actions alleged to have
winning journalist. Fox News describes Lou Dobbs Tonight as          been made or
the “#1 news program on business television, which features a        undertaken by Ms.
breakdown of the day’s top stories and how they impact the           Powell
economy.”

b. Fox News and Ms. Bartiromo describe Ms. Bartiromo as a
“journalist” and “news anchor” as well as the recipient of
“numerous prestigious awards.” Fox News describes Sunday
Morning Futures and Mornings with Maria as programs that
bring “big business newsmakers to the table to explore the
smartest money-making opportunities for the week ahead.”

c. Fox News and Ms. Pirro describe Ms. Pirro as a “highly
respected District Attorney, Judge, author & renowned
champion of the underdog.” Fox News highlights her as having
a “notable legal career” spanning “over 30 years.” Fox News
describes Justice with Judge Jeanine as a program that provides
“legal insights on the news of the week.”

d. Fox does not describe Mr. Dobbs, Ms. Bartiromo, or Ms.
Pirro as speculators or opinion mouthpieces. Fox does not
describe the programs they host as pure opinion programs.
125. Third, Ms. Powell, Mr. Giuliani, and Fox stated (falsely         Immaterial or
stated) that their statements about Smartmatic were based on         impertinent - does not
evidence, investigations, and facts. Ms. Powell, Mr. Giuliani,       recite statements or
and Fox intentionally created the impression that their              actions alleged to have
statements about Smartmatic were predicated on reliable,             been made or
verifiable facts as opposed to speculation or opinion. For           undertaken by Ms.
example:                                                             Powell

a. Sidney Powell: “Yes, we are collecting evidence through a       Immaterial or
fire hose as hundreds of American patriots across the country      impertinent -
are stepping forward with what they know about this issue.”        intertwined with
(Justice with Judge Jeanine, November 14, 2020 (Exhibit 3)).       relevant non-parties;
                                                                   cannot be de-tangled to
b. Jeanine Pirro: “If you could establish that there is corruption determine what is
in the use of this software, this Dominion software as you allege alleged against Ms.
and you say you have evidence, how do you put that together        Powell.
and prove that on election night or immediately after that at the
time that the votes were being either tabulated or put in, that we 125a: redundant –
can prove that they were flipped?” Sidney Powell: “There are – repeats paragraphs 84-
there is statistical evidence. There’s all kinds of mathematical   85.

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evidence, essentially forensic evidence, math that cannot be
disputed. We have eyewitnesses to different features of the           125d: redundant –
machine. We have eyewitnesses to different aspects of the            repeats paragraph 90.
machine being uploaded with data when it was not supposed to
be and never being certified.” (Justice with Judge Jeanine,          125e: redundant –
November 14, 2020 (Exhibit 3)).                                      repeats paragraph 90.

c. Rudy Giuliani: “In Detroit, we have evidence that a 100,000       125f: redundant –
ballots were brought in at 4:30 in the morning, and counted.         repeats paragraph 94,
And to the extent that our witnesses, and there were four of         191o
them saw it, and one of them is a ex- employee of Dominion.”
(Sunday Morning Futures with Maria Bartiromo, November 15,           125q, o, n – repeat part
2020 (Exhibit 5)).                                                   or all of the same
                                                                     statement allegedly
d. Sidney Powell: “[T]he evidence is coming in so fast, I can’t      made by Ms. Powell.
even process it all. Millions of Americans have written, I would
say by now, definitely hundreds of thousands have stepped
forward with their different experiences of voter fraud.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

e. Sidney Powell: “We’ve identified mathematically the exact
algorithm they used and plan to use from the beginning to
modify the votes in this case to make sure Biden won.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

f. Sidney Powell: “I’ve just gotten some stunning evidence
from a firsthand witness, a high ranking military officer who
was present when Smartmatic was designed in a way that – and
I’m going to just read you some of these statements if you don’t
mind so I get them exactly right – [] from the affidavit.
Designed in a way that the system could change the vote of
each voter without being detected.” (Lou Dobbs Tonight,
November 16, 2020 (Exhibit 15)).

g. Rudy Giuliani: “[W]e’re going to argue the case in
Pennsylvania today … . And the case shows, and we’re
prepared to call witnesses to demonstrate, that somewhere
around 700,000 ballots were counted surreptitiously.”
(Mornings with Maria, November 17, 2020 (Exhibit 20)).

h. Rudy Giuliani: “I can prove what I just told you. I can prove
that there are 700,000 ballots in the state of Pennsylvania in two
cities, Pittsburgh and Philadelphia, that were put in to vote and
no Republican got to see it. They were deliberately excluded.”
(Mornings with Maria, November 17, 2020 (Exhibit 20)).

i. Maria Bartiromo: “[D]o you feel you have enough evidence
to overturn the results of this election?” Rudy Giuliani: I

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believe we have amassed more than enough evidence in
Pennsylvania, Michigan, and Wisconsin, and Georgia. I believe
we’re very close in Nevada. Yesterday, we won a big victory in
Nevada that nobody bothers to point out. The Clark County,
which is Las Vegas board, which is all Democratic, reversed an
election of a Democrat in favor of Republican based on the
irregularities in Clark County voting. The irregularities they’re
talking about are the same, were in the same election. It’s the
same irregularities except we have more of them. So they got it
reversed on our evidence.” (Mornings with Maria, November
17, 2020 (Exhibit 20)).

j. Rudy Giuliani: “As we started investigating, both our
investigations and the very patriotic and brave American
citizens that have come forward are extraordinary,
extraordinary number of people, extraordinary number of
witnesses. And what emerged very quickly is – this is not a
singular voter fraud in one state. This pattern repeats itself in a
number of states. Almost exactly the same pattern. Which to
any experienced investigator, prosecutor would suggest that
there was a plan from a centralized place to execute these
various acts of voter fraud, specifically focused on big cities.”
(Lou Dobbs Tonight, November 19, 2020 (Exhibit 25)).

k. Lou Dobbs: “President Trump’s attorneys say they can prove
illegal ballots were used to inflate Biden’s vote tally in Georgia
and Pennsylvania, in Michigan, in Wisconsin, Nevada, and
Arizona.” (Lou Dobbs Tonight, November 19, 2020 (Exhibit
25)).

l. Sidney Powell: “Well we are still in the process of collecting
evidence. It’s coming in, in massive amounts. And even today
we’re getting more people coming forward telling us the truth
about what happened. I would think we would have fraud
complaints ready sometime by late next week at the latest. But
like I said, it’s just a massive amount of information now.
We’ve got the – well, let me put it this way, there’s thousands
of people in federal prisons on far less evidence of criminal
conduct than we have already against the Smartmatic and
Dominion systems companies.” (Lou Dobbs Tonight,
November 19, 2020 (Exhibit 25)).

m. Jeanine Pirro: “Now the President’s lawyers offered
evidence by way of affidavits, which I told you last Saturday as
a judge, from a legal perspective, are sworn statements of
individuals signed under penalty of perjury. Meaning they know
they face the penalty of prosecution and five years if they lie.
These sworn statements are factual allegations, are part of
virtually every lawsuit. It’s how you start a case. The
President’s lawyers have indicated that they have 250 such

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affidavits under oath. People ready to testify, people ready to
face the hate that the left has inflicted upon all of us from day
one.” (Justice with Judge Jeanine, November 21, 2020 (Exhibit
28)).

n. Sidney Powell: “Well, Lou, they designed and developed the
Smartmatic and Dominion programs and machines that include
a controller module that allows people to log in and manipulate
the vote even as it’s happening. We’re finding more and more
evidence of this. We now have reams and reams of actual
documents from Smartmatic and Dominion, including evidence
that they planned and executed all of this.” (Lou Dobbs Tonight,
December 10, 2020 (Exhibit 38)).

o. Sidney Powell: “We have evidence of how they flip the
votes, how it was designed to flip the votes, and that all of it has
been happening just as we have been saying it has been.” (Lou
Dobbs Tonight, December 10, 2020 (Exhibit 38)).

p. Lou Dobbs: “What is the evidence that you have compiled?
How have you constructed the architecture of this relationship
among these four individuals?” Sidney Powell: “Well, we are
still reviewing the massive amount of documents that we have,
but we have communications between them and all different
kinds of messages that indicate their involvement in it. It’s a
massive amount of additional information to go through that
it’s only been in our hands a short time, but we will be
producing more and more of it. It will be coming out more by
the day.” (Lou Dobbs Tonight, December 10, 2020 (Exhibit
38)).

q. Sidney Powell: “Well we’ve known from early on in our
independent investigation that the entire system was created for
the benefit of Venezuela and Hugo Chávez to rig elections to
make sure he continued winning.” (Lou Dobbs Tonight,
December 10, 2020 (Exhibit 38)).

r. Sidney Powell: “The evidence is overwhelming and
extremely troubling that this has been going on and it didn’t just
start this year.” (Lou Dobbs Tonight, December 10, 2020
(Exhibit 38)).

s. Sidney Powell: “I mean, good American citizens who’ve
been brave enough to come forward with direct evidence of
things like thousands of ballots moving from one state to
another in the middle of the night to do what is called back-
filling into the machines so that they can perpetrate their fraud
because President Trump won so many votes, he blew up their
algorithm. The American people blew up the algorithm they
created before the election to shave votes from Biden and give

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them to Trump. And we’re now seeing direct evidence of that
happening in multiple counties, in multiple states and we know
it happened across the country. You’d have to be damn fool and
abjectly stupid not to see what happened here for anybody who
is willing to look at the real evidence. I’ve uploaded a ton of it
on our website at defendingtherepublic.org and Twitter is even
trying to destroy our new website KRAKEN-wood.com, where
we’re also trying to get the word out to the American people on
what’s been happening here and the truth, and upload
documents.” (Lou Dobbs Tonight, December 10, 2020 (Exhibit
39)).

t. Lou Dobbs: “Let me, let me make you an offer, very
straightforwardly. We will gladly put forward your evidence
that supports your claim that this was a cyber-Pearl Harbor. We
have tremendous evidence already, of fraud in this election.
But I will be glad to put forward on this broadcast whatever
evidence you have, and we’ll be glad to do it immediately.”
Sidney Powell: “Awesome.” (Lou Dobbs Tonight, December
10, 2020 (Exhibit 39)).

u. Lou Dobbs: “How much time do you need to get that
evidence to this broadcast and we’ll put it on the air.” Sidney
Powell: “I will get you some more information that’s just
stunning tonight.” (Lou Dobbs Tonight, December 10, 2020
(Exhibit 39)).
126. Fourth, Fox introduced Ms. Powell and Mr. Giuliani as           Immaterial or
lawyers. Ms. Powell and Mr. Giuliani also discuss their              impertinent -
background and experience as lawyers. Ms. Powell, Mr.                intertwined with
Giuliani, and Fox discussed Ms. Powell’s and Mr. Giuliani’s          relevant non-parties;
background and experience as lawyers to create the impression        cannot be de-tangled to
that they were reliable sources of facts. As lawyers, Ms. Powell     determine what is
and Mr. Giuliani are barred by their ethical codes of conduct        alleged against Ms.
from lying when they are representing a client. For example:         Powell.

a. Applicable to Ms. Powell (Texas-barred): “In the course of
representing a client, a lawyer shall not knowingly (a) make a
false statement of material fact or law to a third person; or (b)
fail to disclose a material fact to a third person when disclosure
is necessary to avoid making the lawyer a party to a criminal act
or knowingly assisting a fraudulent act perpetrated by a client.”
(Texas Disciplinary Rule of Professional Conduct 4.01).

b. Applicable to Mr. Giuliani (New York-barred): “In the
course of representing a client, a lawyer shall not knowingly
make a false statement of fact or law to a third person.” (New
York Rule of Professional Conduct 4.1).
127. Fifth, Ms. Powell, Mr. Giuliani, and Fox intentionally          Immaterial or
created the impression that the information they provided            impertinent - does not
regarding Smartmatic was the only information that was               recite statements or

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accurate and truthful. Ms. Powell, Mr. Giuliani, and Fox created       actions alleged to have
this impression by telling readers and viewers to discount or          been made or
ignore the information being provided by any source –                  undertaken by Ms.
government or media – other than Ms. Powell, Mr. Giuliani,             Powell
and Fox. For example:
                                                                        Immaterial or
a. Maria Bartiromo: “All right, Rudy. We’re going to be                impertinent -
following your investigation. Thank you very much for                  intertwined with
breaking all of this news on this program this morning.” Rudy          relevant non-parties;
Giuliani: “Thank you, thank you. Please, you may -- you may            cannot be de-tangled to
be the only one following it – … . Because we’re, we’re also           determine what is
enduring a lot of censorship. A lot, almost complete like we’re        alleged against Ms.
not in America.” Maria Bartiromo: “Unbelievable. Rudy                  Powell.
Giuliani, we’ll keep on it, I promise you. Thank you so much,
Sir.” (Sunday Morning Futures with Maria Bartiromo,                     127b – redundant:
November 15, 2020 (Exhibit 5)).                                        repeats paragraph 90.

b. Sidney Powell: “I can’t tell you how livid I am with our            127c, d – redundant:
government for not paying attention to complaints even brought         repeats paragraph 94
by Democrats … . And nobody in our government has paid any
attention to it, which makes me wonder how much the CIA has
used it for its own benefit in different place and why Gina
Haspel is still there in the CIA is beyond my comprehension,
she should be fired immediately.” (Sunday Morning Futures
with Maria Bartiromo, November 15, 2020 (Exhibit 5)).

c. Sidney Powell: “And people have been reporting this to our
government for, for several years, including Democrats and
nobody has done a damn thing about it, Lou. I can’t even
express how furious I am over this.” (Lou Dobbs Tonight,
November 16, 2020 (Exhibit 15)).

d. Sidney Powell: “Now we’ve seen willful blindness. They
have adopted a position –” Lou Dobbs: “Yeah.” Sidney Powell:
“ – of willful blindness to this massive corruption across the
country. And the Smartmatic software is in the DNA of every
vote tabulating company’s software and systems.” Lou Dobbs:
“Yeah, Sid it is – it is more than just a willful blindness. This is
people trying to blind us to what is going on. We don’t even
know who the hell really owns these companies, at least most of
them … .” (Lou Dobbs Tonight, November 16, 2020 (Exhibit
15)).

e. Jeanine Pirro: “The President’s lawyers alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software, a
backdoor is capable of flipping votes. And the President’s
lawyers alleging that American votes in a presidential election
are actually counted in a foreign country. These are serious
allegations, but the media has no interest in any of this, but you

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and I do, as we should, because 73 million Americans voted for
Donald Trump.” (Justice with Judge Jeanine, November 21,
2020 (Exhibit 28)).

f. Lou Dobbs: “[I]t’s outrageous that we have an Attorney
General, Sidney, who said that he sees no sign of, if any,
significant fraud that would overturn the election. We had a
head of the Cyber Intelligence Unit for the Department of
Homeland Security who is suing some people apparently for
saying that his report basically was, it was nonsense when he
declared it was the most secure election in the country’s history.
What are we dealing with here and how can we get to this if we
have an Attorney General who has apparently lost both his
nerve and his commitment to his oath of office and to the
country.” (Lou Dobbs Tonight, December 10, 2020 (Exhibit
39)).
128. Ms. Powell’s, Mr. Giuliani’s, and Fox’s efforts to create       Immaterial or
the impression that their coverage of Smartmatic was truthful,       impertinent -
accurate, and factual is one of the reasons that Ms. Powell, Mr.     intertwined with
Giuliani, and Fox did considerable damage to Smartmatic. Ms.         relevant non-parties;
Powell’s, Mr. Giuliani’s, and Fox’s statements regarding             cannot be de-tangled to
Smartmatic were unequivocal. Ms. Powell, Mr. Giuliani, and           determine what is
Fox told readers and viewers that it was a fact that Smartmatic      alleged against Ms.
had stolen the 2020 U.S. election and they had evidence to           Powell.
support that fact.
129. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements about        Immaterial or
Smartmatic were not facts. Ms. Powell’s, Mr. Giuliani’s, and         impertinent -
Fox’s statements about Smartmatic were lies. The                     intertwined with
demonstrably, verifiable facts are: • Smartmatic’s election          relevant non-parties;
technology and software were not widely used in the 2020 U.S.        cannot be de-tangled to
election. They were only used in Los Angeles County. •               determine what is
Smartmatic’s election technology and software were not used          alleged against Ms.
by Dominion during the 2020 U.S. election. The companies are         Powell.
competitors. • Smartmatic’s election technology and software
were not used to steal the 2020 U.S. election. Nor could they
have been, given that Smartmatic’s role was limited to Los
Angeles County. • Smartmatic’s election technology and
software did not send votes to foreign countries for tabulation
and manipulation during the 2020 U.S. election. The votes were
tabulated in Los Angeles County. • Smartmatic’s election
technology and software were not compromised and hacked
during the 2020 U.S. election. No one has identified a shred of
evidence that there were cyber-security issues in Los Angeles
County. • Smartmatic has not been banned from being used in
U.S. elections. Other election technology companies may have
been banned but not Smartmatic. • Smartmatic is not a
Venezuelan company and was not founded and funded by
corrupt dictators from socialist and communist countries.
Smartmatic USA Corp. is based in Florida, and its parent
company is based in the United Kingdom. No dictators –

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corrupt or otherwise, from communist/socialist countries or
otherwise – were involved in founding or funding the company.
• Smartmatic’s election technology and software were not
designed to rig and fix elections. Smartmatic’s election
technology and software were designed for security, reliability,
and auditability. No after-the-fact audit has ever found that
Smartmatic’s technology or software were used to rig, fix, or
steal an election.
130. Ms. Powell, Mr. Giuliani, and Fox did not let these           Immaterial or
demonstrable, verifiable facts stand in their way of telling a     impertinent -
story that would make them money.                                  intertwined with
                                                                   relevant non-parties;
                                                                   cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
131. The first lynchpin of Ms. Powell’s, Mr. Giuliani’s, and       Immaterial or
Fox’s disinformation campaign was to convince readers and          impertinent -
viewers that Smartmatic’s election technology and software         intertwined with
were widely used during the 2020 U.S. election, including in       relevant non-parties;
the states with the closest outcomes: Nevada, Arizona, Georgia,    cannot be de-tangled to
Pennsylvania, Michigan, and Wisconsin. Ms. Powell, Mr.             determine what is
Giuliani, and Fox could not persuade people that Smartmatic        alleged against Ms.
had stolen the election if Smartmatic’s election technology and    Powell.
software were not widely used during the 2020 U.S. election.
132. Below are some of the statements that were made by Ms.        Immaterial or
Powell, Mr. Giuliani, and Fox to create the impression that        impertinent - does not
Smartmatic’s election technology and software were widely          recite statements or
used during the 2020 U.S. election:                                actions alleged to have
                                                                   been made or
a. Rudy Giuliani: “They have a terrible record, and they are       undertaken by Ms.
extremely hackable. So Texas made the right decision. [] What      Powell
the heck was Georgia doing hiring this company?” (Lou
Dobbs Tonight, November 12, 2020 (Exhibit 1)).                     132d: redundant –
                                                                   repeats paragraphs 84-
b. Sidney Powell: “Definitely hundreds of thousands have           85, 140d, 191d
stepped forward with their different experiences of voter fraud,
but this is a massive election fraud. And I’m very concerned it    132b: redundant –
involved, not only Dominion and its Smartmatic software, but       repeats paragraph 90,
that the software essentially was used by other election           140k, 149b, 191L
machines also.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

c. Rudy Giuliani: “They did it in big cities where they have
corrupt machines that will protect them, meaning in
Pennsylvania, Philadelphia, and Pittsburgh, [and] in Detroit.
They didn’t have to do it in Chicago, in New York or Boston.
They could have, they have corrupt machines there. They did it
absolutely in Phoenix, Arizona. They did it absolutely in


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Milwaukee, Wisconsin.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

d. Sidney Powell: “We’re talking about the alteration and
changes in millions of votes, some being dumped that were for
President Trump, some being flipped that were for President
Trump. Computers being overwritten to ignore signatures. All
kinds of different means of manipulating the Dominion and
Smartmatic software, that of course we would not expect
Dominion or Smartmatic to admit.” (Justice with Judge
Jeanine, November 14, 2020 (Exhibit 3)).

e. Rudy Giuliani: “[Smartmatic] was banned by the United
States several - about a decade ago. It’s come back now as a
sub-contractor to other companies who sorta hides in the weeds.
But Dominion sends everything to Smartmatic. Can you
believe it? [] And this company had, and this company has tried
and true methods for fixing elections by calling the halt to the
voting when you’re running too far behind. They’ve done that
in prior elections.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

f. Maria Bartiromo: “Will you be able to prove this, Rudy?
Look, I want to show this graphic of the swing states [] that
were using Dominion and this software, this Smartmatic
software. I mean, you just said [] all this is Smartmatic, a
Delaware entity registered in Boca Raton, Florida, activities in
Caracas, Venezuela, the voting machines were used, Dominion
voting machines were used in Arizona, Georgia, Michigan,
Nevada, Pennsylvania and Wisconsin. And I have a graphic
showing the states where they stopped counting, which I
thought was also strange to stop counting in the middle of
Election Night.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

g. Rudy Giuliani: “I can prove that they did it in Michigan. I
can prove it with witnesses. We’re investigating the rest. In
every one of those states though, we have more than enough
illegal ballots already documented to overturn the results in that
state. Because not only did they use a Venezuelan company to
count our ballots, which almost should be illegal per se. []
Now, they didn’t do it everywhere. They did it in big cities
where they have corrupt machines that will protect them.
Meaning in Pennsylvania, Philadelphia, and Pittsburgh, [and]
in Detroit. They didn’t have to do it in Chicago, in New York
or Boston. They could have, they have corrupt machines there.
They did it absolutely in Phoenix, Arizona. They did it
absolutely in Milwaukee, Wisconsin. Republicans were shut
out from enough of the count, so they could accomplish what
Smartmatic wanted to do … .. We have evidence that that’s the

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same pattern Smartmatic used in other elections in which they
were disqualified.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

h. Maria Bartiromo: “Sidney, thanks very much for being here.
We appreciate your time this morning. I want to get right into it.
We just heard about the software made by Smartmatic from
Rudy, and I want to get your take on what you – what you and I
spoke about just a few minutes ago and that is a gentleman
named Peter Neffenger. Tell me how he fits into all of this.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

i. Rudy Giuliani: “Lou, I don’t know if people can appreciate
this but I think when they do, they’re going to be outraged. Our
votes in 27 [or] 28 states that [are] counted by Dominion, and
calculated and analyzed. They’re sent outside the United States.
And they’re not sent to Canada. They’re sent to Germany and
Spain. And the company counting, it is not Dominion, it’s
Smartmatic, which is a company that was founded in 2005 in
Venezuela for the specific purpose of fixing elections.” (Lou
Dobbs Tonight, November 18, 2020 (Exhibit 23)).
133. The statements that were made during the Fox News               Immaterial or
programs were originally published during the programs and           impertinent - does not
then republished when posted by Fox to a Fox News website or         recite statements or
social media. The statements made on social media were               actions alleged to have
originally published on the social media website (e.g., Twitter      been made or
or Facebook) and then republished by individuals who saw the         undertaken by Ms.
social media posts (e.g., retweeting on Twitter). Ms. Powell,        Powell
Mr. Giuliani, and Fox anticipated the republication of their
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the       Immaterial or
republication to further disseminate their statements to a larger    impertinent -
audience.                                                            intertwined with
                                                                     relevant non-parties;
                                                                     cannot be de-tangled to
                                                                     determine what is
                                                                     alleged against Ms.
                                                                     Powell.
134. Individuals who heard and read Ms. Powell’s, Mr.                Immaterial or
Giuliani’s, and Fox’s statements were led to believe that            impertinent -
Smartmatic’s election technology and software were widely            intertwined with
used during the 2020 U.S. election, including in states with         relevant non-parties;
close outcomes. Ms. Powell, Mr. Giuliani, and Fox intended for       cannot be de-tangled to
individuals who heard or read their statements to draw that          determine what is
conclusion. That conclusion was an important component of the        alleged against Ms.
disinformation campaign.                                             Powell.

                                                                     Immaterial or
                                                                     impertinent -
                                                                     intertwined with

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                                                                   relevant non-parties;
                                                                   cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
135. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and        Immaterial or
implication that Smartmatic’s election technology and software     impertinent -
were widely used during the 2020 U.S. election are                 intertwined with
demonstrably false and factually inaccurate. First, Smartmatic’s   relevant non-parties;
election technology and software were only used in Los             cannot be de-tangled to
Angeles County during the 2020 U.S. election. They were not        determine what is
used in any other county or state during the 2020 U.S. election.   alleged against Ms.
                                                                   Powell.
139. Ms. Powell, Mr. Giuliani, and Fox knew that Smartmatic        Immaterial or
was not used in any state or county outside of Los Angeles         impertinent -
County. That fact is easily ascertainable from public records.     intertwined with
Perhaps recognizing this flaw with their story, Ms. Powell, Mr.    relevant non-parties;
Giuliani, and Fox tried to hedge their bets by linking             cannot be de-tangled to
Smartmatic to Dominion. Dominion was used in multiple states       determine what is
during the 2020 U.S. election. Accordingly, Ms. Powell, Mr.        alleged against Ms.
Giuliani, and Fox decided to connect Smartmatic to Dominion        Powell.
by claiming that one owned the other, Dominion used
Smartmatic’s software, and Dominion sent votes to Smartmatic
for counting.
140. Below are some of the statements that were made by Ms.        Immaterial or
Powell, Mr. Giuliani, and Fox to state and imply that Dominion     impertinent - does not
used Smartmatic’s election technology and software during the      recite statements or
2020 U.S. election:                                                actions alleged to have
                                                                   been made or
a. Rudy Giuliani: “Dominion is a company that’s owned by           undertaken by Ms.
another company called Smartmatic, through its intermediary        Powell
company named Indra.” (Lou Dobbs Tonight, November 12,
2020 (Exhibit 1)).                                                 140d: redundant –
                                                                   repeats paragraphs 84-
b. Rudy Giuliani: “I’ll give you another connection.               85, 132d, 191d
Smartmatic, the company that owns Dominion. Well, the guy
who was running it was one of the [] people who is number two      140k: redundant –
or three in Soros’s Change the World organization – Open           repeats paragraphs 90,
Society, right?” (Lou Dobbs Tonight, November 12, 2020             132b, 149b, 191L
(Exhibit 1)).

c. Rudy Giuliani: “Smartmatic is a company that was formed
way back in about 2004, 2003, 2004. You’re going to be
astonished when I tell you how it was formed. It was formed
really by three Venezuelans who were very close to [] the
dictator Chávez of Venezuela. And it was formed in order to fix
elections. That’s the [] company that owns Dominion.
Dominion is a Canadian company, but all of its software is
Smartmatic software. So the votes actually go to Barcelona,
Spain. So we’re using a foreign company that is owned by

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Venezuelans who are close to [] Chávez, are now close to
Maduro, [they] have a history, they were founded as a company
to fix elections.” (Lou Dobbs Tonight, November 12, 2020
(Exhibit 1)).

d. Sidney Powell: “We’re talking about the alteration and
changes in millions of votes. Some being dumped that were for
President Trump, some being flipped that were for President
Trump. Computers being overwritten to ignore signatures, all
kinds of different means of manipulating the Dominion and
Smartmatic software, that of course we would not expect
Dominion or Smartmatic to admit.” (Justice with Judge
Jeanine, November 14, 2020 (Exhibit 3)).

e. Rudy Giuliani: “This Dominion company is a radical left
company, one of the people there is a big supporter of Antifa
and has written horrible things about the President for the last
three or four years. And the software that they use is done by a
company called Smartmatic. It’s a company that was founded
by []Chávez [] and by Chávez’s two allies, who still [] own it.
It’s been used to cheat in elections in South America …
“ (Sunday Morning Futures with Maria Bartiromo, November
15, 2020 (Exhibit 5)).

f. Rudy Giuliani: “[Smartmatic] was banned by the United
States several… about a decade ago. It’s come back now as a
sub-contractor to other companies who sorta hides in the
weeds … but Dominion sends everything [to] Smartmatic. Can
you believe it? [] And this company … has tried and true
methods for fixing elections by calling the halt to the voting
when you’re running too far behind. They’ve done that in prior
elections.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

g. Maria Bartiromo: “[W]ill you be able to prove this, Rudy?
Look, I want to show this graphic of the swing states that were
using Dominion and this software, the Smartmatic
software…[Y]ou just said it all. This is Smartmatic, a Delaware
entity registered in Boca Raton, Florida, activities in Caracas,
Venezuela. The voting machines were used, Dominion voting
machines were used in Arizona, Georgia, Michigan, Nevada,
Pennsylvania and Wisconsin and I have a graphic showing the
states where they stopped counting, which I thought was also
strange to stop counting in the middle of Election Night.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

h. Rudy Giuliani: “I can prove that they did it in Michigan. I
can prove it with witnesses. We’re investigating the rest. And
every one of those states though, we have more than enough

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illegal ballots already documented to overturn the results in that
state. Because not only did they use a Venezuelan company to
count our ballots, which almost should be illegal per se…”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

i. Maria Bartiromo: “Sidney, thanks very much for being here.
We appreciate your time this morning. I want to get right into it.
We just heard about the software made by Smartmatic from
Rudy. And I want to get your take on what you [] and I spoke
about just a few minutes ago and that is a gentleman named
Peter Neffenger. Tell me how he fits into all of this.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

j. Maria Bartiromo: “What is the CIA’s role? Why do you think
Gina Haspel should be fired immediately? You’re saying the
CIA is behind the Dominion or Smartmatic voting software as
well?” Sidney Powell: “Well, the CIA and the FBI and other
government organizations have received multiple reports of
wrongdoing and failures and vulnerabilities in this company’s
products. Their own manual, if you sat down and read it, would
explain how and why no honest person would use this system.
And it’s not just Dominion. There are other companies in the
voting machine business in this country too that may very well
and are likely using the same software. We’ve detected voting
irregularities that are inexplicable and aligned with these
problems in other states that think they have valid systems. But
the people who bought the Dominion system for sure knew
exactly what they were getting. It should never have been
installed anywhere, and we are going to show the public exactly
how rotten the entire state is.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

k. Sidney Powell: “[T]his is a massive election fraud. And I’m
very concerned it involved not only Dominion and its
Smartmatic software, but that the software essentially was
used by other election machines also. It’s the software that was
the problem. Even their own manual explains how votes can be
wiped away. They can put, it’s like drag-anddrop Trump votes
to a separate folder and then delete that folder. It’s absolutely
brazen how people bought this system and why they bought this
system.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

l. Lou Dobbs: “Dominion has connections to UK-based
Smartmatic, a voting technology company established in 2000
that had ties to Venezuela’s Hugo Chávez.” (Lou Dobbs
Tonight, November 16, 2020 (Exhibit 14)).


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m. Laura Ingraham: @IngrahamAngle “RT @SaraCarterDC
#NEW Trump’s attorneys battle for ‘legitimate votes’ as
concern mounts over Dominion Voting Systems & Smartmatic.
Based on the affidavits given to Powell and concern over the
election system’s integrity there needs to be investigations”
(linking article from saraacarter.com) (Twitter,
@IngrahamAngle, November 17, 2020 (Exhibit 21)).

n. Rudy Giuliani: “Lou, I don’t know if people can appreciate
this but I think when they do they’re going to be outraged. Our
votes in 27 [or] 28 states that [are] counted by Dominion, and
calculated and analyzed. They’re sent outside the United States.
And they’re not sent to Canada, they’re sent to Germany and
Spain. And, the company counting, it is not Dominion. It’s
Smartmatic, which is a company that was founded in 2005 in
Venezuela for the specific purpose of fixing elections. That’s
their expertise. How to fix elections … We shouldn’t be using
this company that was founded by Chávez to call votes in
America because their specialty in Venezuela is cheating. Well
apparently the governor signed them up and never bothered to
do any due diligence of any kind.” (Lou Dobbs Tonight,
November 18, 2020 (Exhibit 23)).

o. Lou Dobbs: “Let’s turn to Smartmatic and Dominion. Are
they or are they not linked?” Sidney Powell: “Oh they’re
definitely linked. I would call them inextricably intertwined.
They have the same history from their inception. I’m sure
they’re trying to distance themselves from each other, but the
fact is that the Dominion machines run the Smartmatic software
and or parts of the key code of it.” (Lou Dobbs Tonight,
November 19, 2020 (Exhibit 25)).

p. Sidney Powell: “So [Scytl] is related to the entire
Smartmatic Dominion software operation. We do not know
whether the good guys got the servers or whether the bad guys
got them …” (Lou Dobbs Tonight, November 19, 2020 (Exhibit
25)).

q. Lou Dobbs: “#InextricablyIntertwined: @SidneyPowell1 has
no doubt that Dominion voting machines run Smartmatic
software which allows them to manipulate the votes.” (Twitter,
@LouDobbs, November 19, 2020 (Exhibit 27)).

r. Jeanine Pirro: “The President’s lawyers alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software,
a backdoor is capable of flipping votes.” (Justice with Judge
Jeanine, November 21, 2020 (Exhibit 28)).
141. The statements that were made during the Fox News             Immaterial or
programs were originally published during the programs and         impertinent -

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then republished when posted by Fox to a Fox News website or           intertwined with
social media. The statements made on social media were                 relevant non-parties;
originally published on the social media website (e.g., Twitter        cannot be de-tangled to
or Facebook) and then republished by individuals who saw the           determine what is
social media posts (e.g., retweeting on Twitter). Ms. Powell,          alleged against Ms.
Mr. Giuliani, and Fox anticipated the republication of their           Powell.
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the
republication to further disseminate their statements to a larger
audience.
142. Individuals who heard and read Ms. Powell’s, Mr.                  Immaterial or
Giuliani’s, and Fox’s statements were led to believe that (1)          impertinent -
Smartmatic owned Dominion, (2) Dominion owned                          intertwined with
Smartmatic, and/or (3) Dominion used Smartmatic’s election             relevant non-parties;
technology and software during the 2020 U.S. election. Ms.             cannot be de-tangled to
Powell, Mr. Giuliani, and Fox intended for individuals who             determine what is
heard or read their statements to draw that conclusion. That           alleged against Ms.
conclusion was an important component of the disinformation            Powell.
campaign.
143. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and            Immaterial or
implication that (1) Smartmatic owned Dominion, (2)                    impertinent -
Dominion owned Smartmatic, and/or (3) Dominion used                    intertwined with
Smartmatic’s election technology and software during the 2020          relevant non-parties;
U.S. election are demonstrably false and factually inaccurate.         cannot be de-tangled to
First, Smartmatic and Dominion have no corporate relationship.         determine what is
Smartmatic does not own Dominion. Dominion does not own                alleged against Ms.
Smartmatic. Smartmatic is not a subsidiary of Dominion.                Powell.
Dominion is not a subsidiary of Smartmatic.
148. Ms. Powell and Mr. Giuliani initiated a conspiracy to             Immaterial or
spread a story that the 2020 U.S. election had been fixed,             impertinent -
rigged, and stolen from their preferred candidate. Fox joined the      intertwined with
conspiracy to spread that story. Given that objective, and need        relevant non-parties;
to identify a villain, Ms. Powell, Mr. Giuliani, and Fox focused       cannot be de-tangled to
their efforts during the disinformation campaign on persuading         determine what is
people that Smartmatic had fixed, rigged, and stolen the               alleged against Ms.
election for Joe Biden and Kamala Harris.                              Powell.
149. Below are some of the statements that were made by Ms.            149c-f, i, k-u, ww. -
Powell, Mr. Giuliani, and Fox to create the impression that            Immaterial or
Smartmatic had fixed, rigged, and stolen the 2020 U.S. election        impertinent: does not
for Joe Biden and Kamala Harris:                                       recite statements or
                                                                       actions alleged to have
a. Sidney Powell: “[W]e’re fixing to overturn the results of the       been made or
election in multiple States. And President Trump won by not            undertaken by Ms.
just hundreds of thousands of votes, but by millions of votes          Powell
that were shifted by this software that was designed expressly
for that purpose…We have so much evidence I feel like it’s             149a, b, g, h, j –
coming in through a firehose.” (Sunday Morning Futures with            Redundant: repeats
Maria Bartiromo, November 15, 2020 (Exhibit 5)).                       paragraph 90; 149b –
                                                                       repeats paragraph 132b,
b. Sidney Powell: “Well, let me put it this way. First of all, I       140k, 191L; 149a
never say anything I can’t prove. Secondly, the evidence is            repeats paragraph 191b.

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coming in so fast I can’t even process it all. Millions of
Americans have written, I would say by now, definitely               149v – Redundant:
hundreds of thousands have stepped forward with their different      repeats content in
experiences of voter fraud. But this is a massive election fraud.    paragraphs 101-02
And I’m very concerned it involved, not only Dominion and its
Smartmatic software, but that the software essentially was used      149g – Redundant:
by other election machines also.” (Sunday Morning Futures            repeats paragraph 191j
with Maria Bartiromo, November 15, 2020 (Exhibit 5)).

c. Rudy Giuliani: “They did it in big cities where they have
corrupt machines that will protect them. Meaning in
Pennsylvania, Philadelphia, in Pittsburgh, [and] in Detroit.
They didn’t have to do it in Chicago, in New York or Boston.
They could have, they have corrupt machines there. They did it
absolutely in Phoenix, Arizona. They did it absolutely in
Milwaukee, Wisconsin.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

d. Rudy Giuliani: “Republicans were shut out from enough of
the count so they could accomplish what Smartmatic wanted to
do. . . We have evidence that that’s the same pattern
Smartmatic used in other elections in which they were
disqualified. In other words, this is their pattern of activity,
and, yes, there is a backdoor [] and we actually have proof of
some of the connections to it.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

e. Rudy Giuliani: “If you get that Smartmatic machine out, and
you [] allow us, I mean, this is unprecedented. They are
counting mail-in ballots. And they don’t allow any Republican
to inspect: that is illegal, unlawful, against the law.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

f. Rudy Giuliani: “We have people that I can’t really disclose,
that can describe the hardware in great detail. We have some of
the people, former government employees: our government
employees and others that were there at the creation of
Smartmatic. They can describe it. [] [T]hey can show it. And
then we have proof that I can’t disclose yet, but I’m [] confident
that…[] And this has to be examined, Maria, beyond this
election, which I believe will get overturned. But beyond this
election, this whole thing has to be investigated as a national
security matter. And the Governors who gave contracts to this
company never bothered to do any due diligence. I mean, I
can’t imagine you’d give a contract to a company if you went
one step further and found out it’s really being run by people
that are close to Maduro and Chávez. I can’t imagine you would
do that unless you’re out of your mind.” (Sunday Morning


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Futures with Maria Bartiromo, November 15, 2020 (Exhibit
5)).

g. Sidney Powell: “Yes, well he’s listed as retired…Admiral
Peter Neffenger. He is President of the Board of Directors of
Smartmatic, and it just so happens he’s on Mr. Biden’s
presidential transition team that’s going to be non-existent
because we’re fixing to overturn the results of the election in
multiple States. [] President Trump won by not just hundreds of
thousands of votes, but by millions of votes that were shifted by
this software that was designed expressly for that purpose.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

h. Sidney Powell: “First of all, I never say anything I can’t
prove. Secondly, the evidence is coming in so fast, I can’t even
process it all. Millions of Americans have written, I would say
by now, definitely hundreds of thousands have stepped forward
with their different experiences of voter fraud. But this is a
massive election fraud. And I’m very concerned it involved not
only Dominion and its Smartmatic software but that the
software essentially was used by other election machines also.
It’s the software that was the problem. Even their own manual
explains how votes can be wiped away. They can put, it’s like
drag-and-drop Trump votes to a separate folder and then
delete that folder. It’s absolutely brazen how people bought
this system and why they bought this system. In fact, every
state that bought Dominion, for sure, should have a criminal
investigation or at least a serious investigation of the … officers
in the States who bought the software. We’ve even got evidence
from kickbacks, essentially.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

i. Maria Bartiromo: “What is the CIA’s role? Why do you think
Gina Haspel should be fired immediately? You’re saying the
CIA is behind the Dominion or Smartmatic voting software as
well?” Sidney Powell: “Well, the CIA and the FBI and other
government organizations have received multiple reports of
wrongdoing and failures and vulnerabilities in this company’s
products. Their own manual, if you sat down and read it, would
explain how and why no honest person would use this system.
And it’s not just Dominion. There are other companies in the
voting machine business in this country too, that may very well
and are likely using the same software. We’ve detected voting
irregularities that are inexplicable and aligned with these
problems in other states that think they have valid systems but
the people who bought the Dominion system for sure knew
exactly what they were getting. It should never have been
installed anywhere and we are going to show the public exactly


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how rotten the entire state is.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

j. Sidney Powell: “Okay. That’s part of it. They can stick a
thumb drive in the machine or upload software to it, even from
the Internet. They can do it from Germany or Venezuela, even.
They can remote access anything. They can watch votes in real
time. They can shift votes in real time. We’ve identified
mathematically the exact algorithm they used and plan to use
from the beginning to modify the votes in this case to make
sure Biden won. That’s why he said he didn’t need your votes
now, he would need you later. He was right. I mean, in his
demented state he had no filter and he was speaking the truth
more than once, including when he said he had the largest voter
fraud organization ever. Well, its massive election fraud. It’s
going to undo the entire election. And they can do anything
they want with the votes. They can have the machines not read
the signature. They can have the machines not read the down
ballot. They can make the machines read and catalog only the
Biden votes. It’s like drag-and-drop whatever you want
wherever you want, upload votes. [] In fact, we’ve gotten math
in Michigan and Pennsylvania I think it is, that all of a
sudden, hundreds of thousands of votes at a 67% ratio for
Biden, 23% for Trump, [] were uploaded multiple times into
the system.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

k. Maria Bartiromo: “Yeah, I mean, you heard what Rudy
Giuliani said earlier in the program, he and Sidney Powell are
investigating the Smartmatic software and the Dominion voting
machines because they do believe, and they say they have
evidence, that there were back doors and the votes were
manipulated to turn Trump votes into Biden votes.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Second Video) (Exhibit 6)).

l. Lou Dobbs: “Your reaction to what the Trump legal team and
others are discovering about Dominion, Smartmatic and many
of the other voting companies, which almost seems like
probable cause for a complete and thorough investigation.”
(Lou Dobbs Tonight, November 16, 2020 (Exhibit 14)).

m. Maria Bartiromo: “What do you think went on here?
Because when we spoke on Sunday we talked about the
software made by Smartmatic that was changing [] votes from
Trump to Biden.” (Mornings with Maria, November 17, 2020
(Exhibit 20)).

n. Lou Dobbs: “I am alarmed because of what is occurring in
plain sight during this 2020 election for President of the United

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States. The circumstances and events are eerily reminiscent of
what happened with Smartmatic software electronically
changing votes in the 2013 presidential election in Venezuela.”
(Lou Dobbs Tonight, November 18, 2020 (Exhibit 23)).

o. Rudy Giuliani: “After all the Chairman of Smartmatic is very
close to none other than Mr. Soros. So how do you think they’re
gonna cheat? They’re gonna cheat Democratic. They’re going
to cheat left wing, they’re going to cheat radical. That’s what
they are: left-wing radicals.” (Lou Dobbs Tonight, November
18, 2020 (Exhibit 23)).

p. Rudy Giuliani: “It’s Smartmatic, which is a company that
was founded in 2005 in Venezuela for the specific purpose of
fixing elections. That’s their expertise. How to fix elections…
Well that’s the company that was counting and calculating on
election night and they did all their old tricks.” (Lou Dobbs
Tonight, November 18, 2020 (Exhibit 23)).

q. Lou Dobbs: “Another issue at the center of today’s news
conference, the use of Dominion voting machines and
Smartmatic software. Defense attorney Sidney Powell … says
Smartmatic’s technology was used to rig elections in
Venezuela. It is now in the quote, ‘DNA of every vote
tabulating company software and system.’” (Lou Dobbs
Tonight, November 19, 2020 (Exhibit 25)).

r. Rudy Giuliani: “All they had time for is Biden, Biden, Biden,
Biden, Biden, Biden, because they were being notified by
Smartmatic in Frankfurt, that Biden was way behind and they
better come up with a lot more ballots .. .” (Hannity, November
19, 2020 (Exhibit 26)).

s. Jeanine Pirro: “The President’s lawyers alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software,
a backdoor is capable of flipping votes.” (Justice with Judge
Jeanine, November 21, 2020 (Exhibit 28)).

t. Lou Dobbs: “The President says this time they got caught in
this election and indeed they have. All across the country,
various jurisdictions, stealing, trying to steal an election. And
this President is demonstrating, once again, he is the wrong guy
to cross. The wrong guy to think you can overthrow, upend
and somehow stop with a vicious campaign, whether it’s verbal,
whether its physical, whether it is what we have seen here, a
cyber-attack on our election, those voting machines and
software. This President means to see this to the end. And that
means to see it to the end of justice for these people, who have
decided that they would overthrow our government and

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overthrow our way of life in this country. And it just damn well
isn’t going to succeed. (Watters World, November 21, 2020
(Exhibit 30)).

u. Lou Dobbs: “And it’s the presumption then that they had the
records on those servers of all the votes that were processed by
Dominion or Smartmatic?” Sidney Powell: “Yes, the way it
works, the votes can be changed either on the ground as they
come in. People can watch the votes streaming live…It
could’ve run an automatic algorithm against all the votes, which
we believe is what happened originally. And then the machines
had to stop within the – or the counting had to stop in multiple
places because President Trump’s lead was so great at that
point, they had to stop the vote counting and come in and
backfill the votes they needed to change the result.” (Lou Dobbs
Tonight, November 19, 2020 (Exhibit 25)).

v. Sidney Powell: “Well, Lou, they designed and developed the
Smartmatic and Dominion programs and machines that include
a controller module that allows people to log in and manipulate
the vote even as it’s happening. We’re finding more and more
evidence of this. We now have reams and reams of actual
documents from Smartmatic and Dominion, including
evidence that they planned and executed all of this. We know
that $400 million of money came into Smartmatic from China
only a few weeks before the election and that there are George
Soros connections to the entire endeavor. Lord Malloch Brown
was part of it, along with the other people from Dominion, Eric
Coomer… We know that one of the Smartmatic people has,
went to Tarrant County, Texas and turned that county blue after
having been an executive with Smartmatic and all of a sudden
this one election Tarrant County is purportedly blue. We have
evidence of how they flip the votes, how it was designed to flip
the votes. And but all of it has been happening just as we have
been saying it has been.” (Lou Dobbs Tonight, December 10,
2020 (Exhibit 38)).

w. Lou Dobbs: “Cyber Pearl Harbor: @SidneyPowell1 reveals
groundbreaking new evidence indicating our Presidential
election came under massive cyber-attack orchestrated with the
help of Dominion, Smartmatic, and foreign adversaries.”
(Twitter, @LouDobbs, December 10, 2020 (Exhibit 41)).
150. The statements that were made during the Fox News             Immaterial or
programs were originally published during the programs and         impertinent -
then republished when posted by Fox to a Fox News website or       intertwined with
social media. The statements made on social media were             relevant non-parties;
originally published on the social media website (e.g., Twitter    cannot be de-tangled to
or Facebook) and then republished by individuals who saw the       determine what is
social media posts (e.g., retweeting on Twitter). Ms. Powell,      alleged against Ms.
Mr. Giuliani, and Fox anticipated the republication of their       Powell.

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statements. Ms. Powell, Mr. Giuliani, and Fox intended for the
republication to further disseminate their statements to a larger
audience.
151. Individuals who heard and read Ms. Powell’s, Mr.                Immaterial or
Giuliani’s, and Fox’s statements were led to believe that            impertinent -
Smartmatic’s election technology and software were used to fix,      intertwined with
rig, and steal the 2020 U.S. election in favor of Joe Biden and      relevant non-parties;
Kamala Harris. Ms. Powell, Mr. Giuliani, and Fox intended for        cannot be de-tangled to
individuals who heard or read their statements to draw that          determine what is
conclusion. That conclusion was an important component of the        alleged against Ms.
disinformation campaign.                                             Powell.
152. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and          Immaterial or
implication that Smartmatic’s election technology and software       impertinent -
were used to fix, rig and steal the 2020 U.S. election are           intertwined with
demonstrably false and factually inaccurate. First, Smartmatic’s     relevant non-parties;
election technology and software were not used to fix, rig, or       cannot be de-tangled to
steal the 2020 U.S. election for Joe Biden and Kamala Harris.        determine what is
They were not used to fix the election. They were not used to        alleged against Ms.
rig the election. They were not used to steal the election. They     Powell.
were hardly used during the election.
157. Ms. Powell, Mr. Giuliani, and Fox developed an anti-            Immaterial or
foreigner theme as part of their disinformation campaign.            impertinent - does not
Portraying Smartmatic as a Venezuelan company with ties to           recite statements or
foreign dictators and funded by foreign money was one way            actions alleged to have
Ms. Powell, Mr. Giuliani, and Fox developed the theme. The           been made or
other way they did so was to scare people into thinking that         undertaken by Ms.
Smartmatic sent votes to foreign countries for counting during       Powell
the 2020 U.S. election. The impression that Ms. Powell, Mr.
Giuliani, and Fox attempted to leave was that U.S. votes leaving     Immaterial or
U.S. soil meant they were being manipulated by foreign, anti-        impertinent -
U.S. forces.                                                         intertwined with
                                                                     relevant non-parties;
                                                                     cannot be de-tangled to
                                                                     determine what is
                                                                     alleged against Ms.
                                                                     Powell.
158. Below are some of the statements that Mr. Giuliani and          Immaterial or
Fox made to create the misimpression that Smartmatic sent            impertinent - does not
votes to foreign countries for tabulation during the 2020 U.S.       recite statements or
election:                                                            actions alleged to have
                                                                     been made or
a. Lou Dobbs: “And now we have to find out whether they did.         undertaken by Ms.
And with those servers whether they’re in Canada, whether            Powell
they’re in Barcelona or Spain, or Germany. We know a
number of companies. All of them are private. Five of them,
five of the top voting companies in this country - at least - if
they’re not in this country, they’re processing our votes in this
country. They comprise 90% of all of the election voting market
in this country. It’s stunning and they’re private firms and very
little is known about their ownership. Beyond what you’re

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saying about Dominion, it’s very difficult to get a handle on just
who owns what and how they’re being operated. And by the
way, the states, as you well know now, they have no ability to
audit meaningfully the votes that are cast because the servers
are somewhere else and are considered proprietary and they
won’t touch them. It won’t permit them being touched. So it’s
really, so how do you proceed now?” (Lou Dobbs Tonight,
November 12, 2020 (Exhibit 1)).

b. Maria Bartiromo: “Will you be able to prove this, Rudy?
Look, I want to show this graphic of the swing states [] that
were using Dominion and this, this software, this Smartmatic
software … [Y]ou just said it, all. This is Smartmatic, a
Delaware entity registered in Boca Raton, Florida, activities in
Caracas, Venezuela. The voting machines were used,
Dominion voting machines were used in Arizona, Georgia,
Michigan, Nevada, Pennsylvania and Wisconsin and I have a
graphic showing the states where they stopped counting, which
I thought was also strange to stop counting in the middle of
Election Night.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

c. Rudy Giuliani: “[Smartmatic] was banned by the United
States several, about a decade ago. It’s come back now as a sub-
contractor to other companies who sorta hides in the weeds. But
Dominion sends everything to Smartmatic. Can you believe it?
Our votes are sent overseas. They are sent to someplace else,
some other country. Why do they leave our country? [] And this
company … has tried and true methods for fixing elections by
calling the halt to the voting when you’re running too far
behind. They’ve done that in prior elections.” (Sunday Morning
Futures with Maria Bartiromo, November 15, 2020 (Exhibit
5)).

d. Rudy Giuliani: “Lou, I don’t know if people can appreciate
this but I think when they do they’re going to be outraged.
[There are] votes in 27 [or] 28 states that [are] counted by
Dominion, and calculated and analyzed. They’re sent outside
the United States. And they’re not sent to Canada, they’re sent
to Germany and Spain. And the company counting, it is not
Dominion. It’s Smartmatic, which is a company that was
founded in 2005 in Venezuela for the specific purpose of fixing
elections.” (Lou Dobbs Tonight, November 18, 2020 (Exhibit
23)).

e. Lou Dobbs: “Foreign Election Involvement: @RudyGiuliani
says votes in 28 states were sent to Germany and Spain to be
counted by Smartmatic.” (Twitter, @LouDobbs, November 18,
2020 (Exhibit 24)).


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159. The statements that were made during the Fox News              Immaterial or
programs were originally published during the programs and          impertinent - does not
then republished when posted by Fox to a Fox News website or        recite statements or
social media. The statements made on social media were              actions alleged to have
originally published on the social media website (e.g., Twitter     been made or
or Facebook) and then republished by individuals who saw the        undertaken by Ms.
social media posts (e.g., retweeting on Twitter). Ms. Powell,       Powell
Mr. Giuliani, and Fox anticipated the republication of their
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the      Immaterial or
republication to further disseminate their statements to a larger   impertinent -
audience.                                                           intertwined with
                                                                    relevant non-parties;
                                                                    cannot be de-tangled to
                                                                    determine what is
                                                                    alleged against Ms.
                                                                    Powell.
160. Individuals who heard and read Mr. Giuliani’s and Fox’s        Immaterial or
statements were led to believe that Smartmatic sent votes for       impertinent - does not
foreign countries for tabulation during the 2020 U.S. election      recite statements or
and/or Smartmatic counted U.S. votes in foreign countries           actions alleged to have
during the 2020 U.S. election. Ms. Powell, Mr. Giuliani, and        been made or
Fox intended for individuals who heard or read their statements     undertaken by Ms.
to draw that conclusion. That conclusion was an important           Powell
component of the disinformation campaign.
161. Mr. Giuliani’s and Fox’s statements and implication that       Immaterial or
Smartmatic sent votes for foreign countries for tabulation          impertinent - does not
during the 2020 U.S. election and/or Smartmatic counted U.S.        recite statements or
votes in foreign countries during the 2020 U.S. election are        actions alleged to have
demonstrably false and factually inaccurate. First, Smartmatic’s    been made or
election technology and software did not send votes to foreign      undertaken by Ms.
countries for counting, tabulation or manipulation during the       Powell
2020 U.S. election. Smartmatic’s election technology and
software were used in Los Angeles County. Votes that were
cast in Los Angeles county were counted in Los Angeles
County.
162. Second, Smartmatic’s election technology and software          Immaterial or
were not used by any other voting technology company during         impertinent - does not
the 2020 U.S. election. Smartmatic’s election technology and        recite statements or
software were not used by another company in Nevada,                actions alleged to have
Arizona, Georgia, Pennsylvania, Michigan, or Wisconsin (or          been made or
any counties within these States). Smartmatic’s election            undertaken by Ms.
technology and software could not have been used by another         Powell
company to count votes because no other company used
Smartmatic’s election technology and software.
163. Third, Smartmatic did not work with or assist any other        Immaterial or
voting-technology company during the 2020 U.S. election.            impertinent - does not
Smartmatic did not count the votes for any other voting             recite statements or
technology company, including Dominion. Smartmatic’s                actions alleged to have
election technology and software were not involved in               been made or
collecting, tabulating or counting any votes outside of Los

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Angeles County. Smartmatic could not have counted votes in a         undertaken by Ms.
foreign country for another company because Smartmatic did           Powell
not count votes for another company in the 2020 U.S. election.
164. Fourth, Smartmatic did not use servers located outside the      Immaterial or
United States for the 2020 U.S. election. Smartmatic could not       impertinent - does not
have used servers located outside the United States to               recite statements or
manipulate votes because it did not use servers outside the          actions alleged to have
United States. Smartmatic could not have stored votes in a           been made or
foreign-based server for another company during the 2020 U.S.        undertaken by Ms.
election because Smartmatic did not store votes for another          Powell
company during the election.
165. Ms. Powell, Mr. Giuliani, and Fox were not content to cast      Immaterial or
Smartmatic as a voluntary and willful participant in a fraud to      impertinent -
steal the 2020 U.S. election. Ms. Powell, Mr. Giuliani, and Fox      intertwined with
also told people that Smartmatic’s election technology and           relevant non-parties;
software were compromised or hacked during the 2020 U.S.             cannot be de-tangled to
election. Specifically, Ms. Powell, Mr. Giuliani, and Fox told       determine what is
people that Smartmatic’s election technology and software has        alleged against Ms.
a “backdoor” and other tools that allow for easy manipulation        Powell.
of votes.
166. Below are some of the statements that Ms. Powell, Mr.           Immaterial or
Giuliani, and Fox made to create the misimpression that              impertinent - does not
Smartmatic’s election technology and software were                   recite statements or
compromised or hacked during the 2020 U.S. election:                 actions alleged to have
                                                                     been made or
a. Rudy Giuliani: “[F]irst of all, the machines can be hacked.       undertaken by Ms.
There’s no question about that. Their machines can be hacked,        Powell
but it’s far worse than that.” (Lou Dobbs Tonight, November
12, 2020 (Exhibit 1)).                                               166j: Redundant –
                                                                     repeats paragraphs 101-
b. Rudy Giuliani: “They have a terrible record and they are          02
extremely hackable. So, Texas made the right decision. What
the heck was Georgia doing hiring this company?” (Lou Dobbs
Tonight, November 12, 2020 (Exhibit 1)).

c. Rudy Giuliani: “And yes, they can be hacked, and yes, they
can change votes.” (Lou Dobbs Tonight, November 12, 2020
(Exhibit 1)).

d. Lou Dobbs: “It is stunning, and they’re private firms and
very little is known about their ownership. Beyond what you’re
saying about Dominion, it’s very difficult to get a handle on just
who owns what and how they’re being operated. And by the
way, the states, as you well know now, they have no ability to
audit meaningfully the votes that are cast because the servers
are somewhere else and are considered proprietary and they
won’t touch them. It won’t permit them being touched so it’s
really, so how do you proceed now?” (Lou Dobbs Tonight,
November 12, 2020 (Exhibit 1)).


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e. Maria Bartiromo: “Now, I have spoken with a few
whistleblowers myself, this weekend. And one source who is an
IT specialist, told me that he knows the software and
specifically advised people in Texas, officials in Texas, not to
use it. And yet, he was overruled. He said that there was an
unusual patch that was put into the software while it was live,
and it’s highly unusual to put a patch in there.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

f. Maria Bartiromo: “One source says that the key point to
understand is that the Smartmatic system has a back door, that
allows it to be [], or that allows the votes to be mirrored and
monitored, allowing an intervening party a real-time
understanding of how many votes will be needed to gain an
electoral advantage.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

g. Rudy Giuliani: “Republicans were shut out from enough of
the count, so they could accomplish what Smartmatic wanted to
do…[W]e have evidence that that’s the same pattern
Smartmatic used in other elections in which they were
disqualified. In other words, this is their pattern of activity, and,
yes, there is a backdoor [] and we actually have proof of some
of the connections to it.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

h. Maria Bartiromo: “What is the CIA’s role? Why do you think
Gina Haspel should be fired immediately? You’re saying the
CIA is behind the Dominion or Smartmatic voting software as
well?” Sidney Powell: “Well, the CIA and the FBI and other
government organizations have received multiple reports of
wrongdoing and failures and vulnerabilities in this company’s
product.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

i. Lou Dobbs: “Smartmatic, once the subject of a Treasury
Department investigation into its connections with the
Venezuelan government. Three of their employees were also
charged in 2016 with illegally altering code on an election
server in the Philippines’ national election…And in a 2015
interview on Filipino television, Malloch-Brown said part of
their technology is licensed from Dominion Voting Systems.
Smartmatic now says that isn’t true … A Politico article from
March, in fact, documents that numerous security flaws were
discovered in Smartmatic’s software by California’s Secretary
of State and outside computer experts.” (Lou Dobbs Tonight,
November 16, 2020 (Exhibit 14)).



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j. Sidney Powell: “And every time there was a glitch, as they
called it, or connection to the Internet, they also violated state
laws that required the machines to be certified and nothing to be
changed before the votes. There are any number of legal
grounds on which the use of those machines has to be stopped
and the votes invalidated.” (Lou Dobbs Tonight, November 19,
2020 (Exhibit 25)).

k. Jeanine Pirro: “The President’s lawyers alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software, a
backdoor is capable of flipping votes.” (Justice with Judge
Jeanine, November 21, 2020 (Exhibit 28)).

l. Maria Bartiromo: “This is, has to do with Smartmatic election
software. They say number one, observers prevented them from
seeing the ballots. Number two, there’s an inconsistent laws of
curing balance [sic]. Number three, the in-person voters told
that they voted already, and officials told not to look for defects,
and to backdate ballots before … November third. Also, in
terms of the computers and the software, Smartmatic election
software was developed, Sidney Powell says, in Venezuela
with porous security and built-in functionality allowing the
administrators to override security features.” (Mornings with
Maria, November 22, 2020 (Exhibit 33)).

m. Lou Dobbs: “Among the many things that the agency failed
to disclose is that Dominion Voting Systems and another, well,
several, voting companies, are members of their election
infrastructure sector coordinating council. And that’s a
mouthful. It’s an advisory council to CISA and the DHS. One
of two entities that authored, that wrote the CISA November
12th statement. Also sitting on that council, in addition to
Dominion, is Smartmatic, another company that we have
reported on, and detailed, on this broadcast, with documented
issues with their voting machine software.” (Lou Dobbs
Tonight, November 26, 2020 (Exhibit 36)).
167. The statements that were made during the Fox News                 Immaterial or
programs were originally published during the programs and             impertinent -
then republished when posted by Fox to a Fox News website or           intertwined with
social media. The statements made on social media were                 relevant non-parties;
originally published on the social media website (e.g., Twitter        cannot be de-tangled to
or Facebook) and then republished by individuals who saw the           determine what is
social media posts (e.g., retweeting on Twitter). Ms. Powell,          alleged against Ms.
Mr. Giuliani, and Fox anticipated the republication of their           Powell.
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the
republication to further disseminate their statements to a larger
audience.
168. Individuals who heard and read Ms. Powell’s, Mr.                  Immaterial or
Giuliani’s, and Fox’s statements were led to believe that              impertinent -

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Smartmatic’s election technology and software were                      intertwined with
compromised or hacked during the 2020 U.S. election. Ms.                relevant non-parties;
Powell, Mr. Giuliani, and Fox intended for individuals who              cannot be de-tangled to
heard or read their statements to draw that conclusion. That            determine what is
conclusion was an important component of the disinformation             alleged against Ms.
campaign.                                                               Powell.
169. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and             Immaterial or
implication that Smartmatic’s election technology and software          impertinent -
were compromised or hacked during the 2020 U.S. election are            intertwined with
demonstrably false and factually inaccurate. First, Smartmatic’s        relevant non-parties;
election technology and software were not compromised or                cannot be de-tangled to
hacked during the 2020 U.S. election. There is no evidence of           determine what is
cyber-security problems in connection with the election in Los          alleged against Ms.
Angeles County, the only county where Smartmatic’s election             Powell.
technology and software were used during the 2020 U.S.
election.
173. To cast further suspicion on Smartmatic’s role in the 2020         Immaterial or
U.S. election, Mr. Giuliani and Fox told people that Smartmatic         impertinent - does not
had previously been banned from providing election technology           recite statements or
and software in the United States. This aspect of the                   actions alleged to have
disinformation campaign was intended to make Smartmatic’s               been made or
participation in the 2020 U.S. election appear more nefarious.          undertaken by Ms.
Ms. Powell, Mr. Giuliani, and Fox developed the theme that the          Powell
only reason that a previously banned company would be used
for an election was to fix, rig, and steal the election.                Immaterial or
                                                                        impertinent -
                                                                        intertwined with
                                                                        relevant non-parties;
                                                                        cannot be de-tangled to
                                                                        determine what is
                                                                        alleged against Ms.
                                                                        Powell.
174. Below are some of the statements that were made by the             Immaterial or
Mr. Giuliani and Fox to create the impression that Smartmatic           impertinent - does not
had previously been banned from providing election technology           recite statements or
and software in the United States:                                      actions alleged to have
                                                                        been made or
a. Rudy Giuliani: “Republicans were shut out from enough of             undertaken by Ms.
the count so they could accomplish [what] Smartmatic wanted             Powell
to do. . . [W]e have evidence that that’s the same pattern
Smartmatic used in other elections in which they were
disqualified. In other words, this is their pattern of activity, and,
yes, there is a backdoor [] and we actually have proof of some
of the connections to it.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

b. Rudy Giuliani: “[Smartmatic] was banned by the United
States several times … about a decade ago. It’s come back
now as a sub-contractor to other companies who sorta hides in
the weeds. But Dominion sends everything to Smartmatic. Can

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you believe it?” (Sunday Morning Futures with Maria
Bartiromo, Fox News, November 15, 2020 (Exhibit 5)).

c. Maria Bartiromo: “What is the CIA’s role? Why do you think
Gina Haspel should be fired immediately? You’re saying the
CIA is behind the Dominion or Smartmatic voting software as
well?” Sidney Powell: “Well, the CIA and the FBI and other
government organizations have received multiple reports of
wrongdoing and failures and vulnerabilities in this company’s
product.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

d. Rudy Giuliani: “[T]he company counting, it is not Dominion.
It’s Smartmatic, which is a company that was founded in 2005
in Venezuela for the specific purpose of fixing elections. That’s
their expertise, how to fix elections. They did it a number of
times in Venezuela. They did it in Argentina. They messed up
an election … in Chicago and there’s a whole congressional
record that you can go look at about what a terrible company
this is … [I]t’s all the more outrageous because Dominion and
Smartmatic were denied use in the state of Texas, which
called them out for what they are.” (Lou Dobbs Tonight,
November 18, 2020 (Exhibit 23)).

e. Lou Dobbs: “Among the many things that the agency failed
to disclose, is that Dominion Voting Systems and another, well,
several, voting companies are members of their election
infrastructure sector coordinating council. And that’s a
mouthful. It’s an advisory council to CISA and the DHS. One
of two entities that authored, that wrote, the CISA November
12th statement. Also sitting on that council, in addition to
Dominion, is Smartmatic, another company that we have
reported on, and detailed, on this broadcast with documented
issues with their voting machine software.” (Lou Dobbs
Tonight, November 26, 2020 (Exhibit 38)).
175. The statements that were made during the Fox News              Immaterial or
programs were originally published during the programs and          impertinent - does not
then republished when posted by Fox to a Fox News website or        recite statements or
social media. The statements made on social media were              actions alleged to have
originally published on the social media website (e.g., Twitter     been made or
or Facebook) and then republished by individuals who saw the        undertaken by Ms.
social media posts (e.g., retweeting on Twitter). Ms. Powell,       Powell
Mr. Giuliani, and Fox anticipated the republication of their
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the      Immaterial or
republication to further disseminate their statements to a larger   impertinent -
audience.                                                           intertwined with
                                                                    relevant non-parties;
                                                                    cannot be de-tangled to
                                                                    determine what is


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                                                                  alleged against Ms.
                                                                  Powell.
176. Individuals who heard and read Mr. Giuliani’s and Fox’s      Immaterial or
statements were led to believe that Smartmatic had previously     impertinent - does not
been banned from providing election technology and software       recite statements or
in the United States. Ms. Powell, Mr. Giuliani, and Fox           actions alleged to have
intended for individuals who heard or read their statements to    been made or
draw that conclusion. That conclusion was an important            undertaken by Ms.
component of the disinformation campaign.                         Powell
177. Mr. Giuliani’s and Fox’s statements and implication that     Immaterial or
Smartmatic had previously been banned from providing              impertinent - does not
election technology and software in the United States are         recite statements or
demonstrably false and factually inaccurate. First, Smartmatic    actions alleged to have
has never been banned from providing election technology and      been made or
software in the United States. Smartmatic has never been          undertaken by Ms.
banned by any country from providing election technology and      Powell
software. Other voting companies may have been banned or had
their technology banned from being used in the United States,
but not Smartmatic.
178. Second, Smartmatic has never been banned or disqualified      Immaterial or
in Texas or any other state. Smartmatic’s election technology      impertinent - does not
and software have never been disqualified for use by any           recite statements or
county, state or country. Other voting companies may have          actions alleged to have
been banned or disqualified in Texas or another state, but not     been made or
Smartmatic.                                                        undertaken by Ms.
                                                                   Powell
179. Third, the CIA, FBI, and other government authorities did Immaterial or
not receive multiple reports regarding failures and irregularities impertinent - does not
with Smartmatic’s election technology and software leading up recite statements or
to, during, or after the 2020 U.S. election. No inquiry into       actions alleged to have
Smartmatic’s election technology and software has resulted in a been made or
finding of any failures or irregularities with Smartmatic’s        undertaken by Ms.
election technology and software in the United States.             Powell
180. Fourth, there are no documented issues with Smartmatic’s Immaterial or
election technology and software. There is no evidence of any      impertinent - does not
issues with the Smartmatic election technology and software        recite statements or
used by Los Angeles County during the 2020 U.S. election.          actions alleged to have
Smartmatic’s election technology and software were not used in been made or
any other location during the 2020 U.S. election so, necessarily, undertaken by Ms.
there were no documented issues with any of the Smartmatic         Powell
election technology and software used in the 2020 U.S.
election.
181. Ms. Powell, Mr. Giuliani, and Fox introduced xenophobia Immaterial or
into their disinformation campaign. Ms. Powell’s, Mr.              impertinent -
Giuliani’s, and Fox’s story included describing Smartmatic as a intertwined with
Venezuelan company – a socialist and one-time communist-           relevant non-parties;
controlled country. It included stating that Smartmatic was        cannot be de-tangled to
founded by and for Hugo Chávez – the former socialist head of determine what is
Venezuela. And it included stating that Smartmatic received        alleged against Ms.
funding from socialist and communist countries like China and Powell.

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Cuba. Ms. Powell, Mr. Giuliani, and Fox intended to portray
Smartmatic as being linked to socialism and communism to
make its role in the 2020 U.S. election appear more nefarious.
182. Below are some of the statements that Ms. Powell, Mr.         Immaterial or
Giuliani, and Fox made to create the impression that               impertinent - does not
Smartmatic was a Venezuelan company that was founded and           recite statements or
funded by corrupt dictators from socialist and communist           actions alleged to have
countries:                                                         been made or
                                                                   undertaken by Ms.
a. Rudy Giuliani: “Smartmatic is a company that was formed         Powell
way back in about 2004, 2003, 2004. You’re gonna be
astonished when I tell you how it was formed. It was formed        182b: redundant –
really by three Venezuelans, who were very close to … the          repetitive of paragraphs
dictator, Chávez, of Venezuela. And it was formed in order to      84-85
fix elections. That’s the, that’s the company that owns
Dominion. Dominion is a Canadian company, but all of its           182o, q: redundant –
software is Smartmatic software. So the votes actually go to       repeats content in
Barcelona, Spain. So we’re using a foreign company that is         paragraphs 101-02
owned by Venezuelans who are close to … Chávez, are now
close to Maduro, have a history, they were founded as a
company to fix elections.” (Lou Dobbs Tonight, November 12,
2020 (Exhibit 1)).

b. Sidney Powell: “Lord Malloch-Brown’s name has been taken
off the website for the company that he runs through the U.K.
and Canada - that has a role in this. It’s either Symantec or
Smartmatic or the two, there - one is a subsidiary of the other.
It’s all inexplicably intertwined. The money creating it came
out of Venezuela and Cuba. It was created for the express
purpose of being able to alter votes and secure the reelection
of Hugo Chávez. And then Maduro.” (Justice with Judge
Jeanine, November 14, 2020 (Exhibit 3)).

c. Maria Bartiromo: “Coming up: President Trump’s legal team
with new evidence this morning of backdoors on voting
machines, ballot tampering and election interference. . . Plus,
Sidney Powell on the Venezuela connection. . . (Sunday
Mornings Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

d. Rudy Giuliani: “This Dominion company is a radical left
company. One of the people there is a big supporter of Antifa
and has written horrible things about the President for the last
three or four years. And the software that they use is done by a
company called Smartmatic. It’s a company that was founded
by Chávez. And by Chávez’s two - two allies who still own …
it. And it’s been used to cheat in elections in South America.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).


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e. Rudy Giuliani: “I can prove that they did it in Michigan. I can
prove it with witnesses. We’re investigating the rest. And every
one of those states though, we have more than enough illegal
ballots already documented to overturn the results in that state.
Because not only did they use a Venezuelan company to count
our ballots, which almost should be illegal per se …” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

f. Rudy Giuliani: “And this has to be examined, Maria, beyond
this election, which I believe will get overturned. But beyond
this election, this whole thing has to be investigated as a
national security matter. And the governors who gave contracts
to this company never bothered to do any due diligence. I mean,
I can’t imagine you’d give a contract to a company if you
went one step further and found out it’s really being run by
people that are close to Maduro and Chávez. I can’t imagine
you would do that unless you were out of your mind.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

g. Rudy Giuliani: “A company that’s not American, a company
that is foreign, a company that has close, close ties with
Venezuela and therefore China. And uses Venezuelan’s – a
company’s software that’s been used to steal elections in other
countries.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

h. Sidney Powell: “I mean that’s just logic. It’s been, this
affidavit also explains, had been used to change election results
all over the world. And it’s all Venezuelan and Cuban and
essentially communist money that’s been doing this. It’s a
foreign-owned company as you mentioned earlier.” (Lou
Dobbs Tonight, November 16, 2020 (Exhibit 15)).

i. Lou Dobbs: “Dominion has connections to UK-based
Smartmatic, a voting technology company established in 2000
that had ties to Venezuela’s Hugo Chávez.” (Lou Dobbs
Tonight, November 16, 2020 (Exhibit 14)).

j. Sidney Powell: “Smartmatic agreed to create such a [voting]
system and produce the software and hardware that
accomplished the result for President Chávez. After the
Smartmatic [] electoral management system was put in place,
he closely observed several elections where the results were
manipulated using the Smartmatic software. One such election
was December 2006, when Chávez was running against
Rosales. Chávez won in a landslide over Rosales ... . In 2013,
he witnessed another Venezuelan national election where the
Smartmatic management system was used to manipulate and

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change the results for Chávez.” (Lou Dobbs Tonight,
November 16, 2020 (Exhibit 15)).

k. Rudy Giuliani: “We shouldn’t be using this company that
was founded by Chávez to call votes in America because their
specialty in Venezuela is cheating. Well, apparently the
governor signed them up and never bothered to do any due
diligence of any kind.” (Lou Dobbs Tonight, November 18,
2020 (Exhibit 23)).

l. Rudy Giuliani: “They’ve since taken it down. But we have it.
So we’ve got a very radical far-left company with [] some of
their high-level people supportive of Antifa. Can you believe
that? And they’re using a Venezuelan company as the vote
counter, which is known for changing votes and also known to
have [] the most insecure computers in this business. I think
you’d only pick them [] because they [want to] cheat.” (Lou
Dobbs Tonight, November 18, 2020 (Exhibit 23)).

m. Jeanine Pirro: “The President’s lawyers alleging a company
called Dominion, which they say started in Venezuela with
Cuban money and with the assistance of Smartmatic software,
a backdoor is capable of flipping votes.” (Justice with Judge
Jeanine, November 21, 2020 (Exhibit 28)).

n. Maria Bartiromo: “Also in terms of the computers and the
software, Smartmatic election software was developed, Sidney
Powell says, in Venezuela, with porous security and built-in
functionality allowing the administrators to override security
features.” (Sunday Morning Futures with Maria Bartiromo,
November 22, 2020 (Exhibit 33)).

o. Sidney Powell: “Well we’ve known from early on in our
independent investigation that the entire system was created for
the benefit of Venezuela and Hugo Chávez to rig elections to
make sure he continued winning. And then it was passed onto
Mr. Maduro to do the same. And we know it was exported to
other countries by virtue of some of the Dominion executives
that proceeded to go about and essentially sell elections to the
highest bidder.” (Lou Dobbs Tonight, December 10, 2020
(Exhibit 38)).

p. Sidney Powell: “We are still reviewing the massive amount
of documents that we have .... It’s a massive amount of
additional information to go through .... And then also the
connections to the Chinese and other countries that were
attacking us in this massive cyber Pearl Harbor, as we called it.”
(Lou Dobbs Tonight, December 10, 2020 (Exhibit 38)).
183. The statements that were made during the Fox News             Immaterial or
programs were originally published during the programs and         impertinent -

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then republished when posted by Fox to a Fox News website or        intertwined with
social media. The statements made on social media were              relevant non-parties;
originally published on the social media website (e.g., Twitter     cannot be de-tangled to
or Facebook) and then republished by individuals who saw the        determine what is
social media posts (e.g., retweeting on Twitter). Ms. Powell,       alleged against Ms.
Mr. Giuliani, and Fox anticipated the republication of their        Powell.
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the
republication to further disseminate their statements to a larger
audience.
184. Individuals who heard and read Ms. Powell’s, Mr.               Immaterial or
Giuliani’s, and Fox’s statements were led to believe that           impertinent -
Smartmatic was a Venezuelan company that was founded and            intertwined with
funded by corrupt dictators from socialist and communist            relevant non-parties;
countries. Ms. Powell, Mr. Giuliani, and Fox intended for           cannot be de-tangled to
individuals who heard or read their statements to draw that         determine what is
conclusion. That conclusion was an important component of the       alleged against Ms.
disinformation campa                                                Powell.
185. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and         Immaterial or
implication that Smartmatic is a Venezuelan company that was        impertinent -
founded and funded by corrupt dictators from socialist and          intertwined with
communist countries are demonstrably false and factually            relevant non-parties;
inaccurate. First, Smartmatic USA Corp. is an American              cannot be de-tangled to
company. Smartmatic USA Corp. was founded in Florida and            determine what is
incorporated in Delaware in 2000.                                   alleged against Ms.
                                                                    Powell.
190. Ms. Powell, Mr. Giuliani, and Fox were not content             Immaterial or
portraying Smartmatic as having stolen the 2020 U.S. election.      impertinent -
Ms. Powell, Mr. Giuliani, and Fox decided to indict everything      intertwined with
the company had done for the last twenty years. Ms. Powell,         relevant non-parties;
Mr. Giuliani, and Fox portrayed Smartmatic and its products as      cannot be de-tangled to
serving only one function: fixing, rigging, and stealing            determine what is
elections. Ms. Powell, Mr. Giuliani, and Fox added credibility      alleged against Ms.
to their story about Smartmatic stealing the 2020 U.S. election     Powell.
for Joe Biden and Kamala Harris by telling people that the sole
purpose of Smartmatic and its products is to steal elections.
191. Below are some of the statements that Ms. Powell, Mr.          Immaterial or
Giuliani, and Fox made to create the impression that                impertinent - does not
Smartmatic’s election technology and software were designed         recite statements or
to fix, rig, and steal elections:                                   actions alleged to have
                                                                    been made or
a. Rudy Giuliani: “Smartmatic is a company that was formed          undertaken by Ms.
way back in about 2004, 2003, 2004. You’re gonna be                 Powell
astonished when I tell you how it was formed. It was formed
really by three Venezuelans who were very close to … the            191d, e: redundant –
dictator, Chávez, of Venezuela. And it was formed in order to       repetitive of paragraphs
fix elections. That’s the, that’s the company that owns             84-85; 191d: redundant
Dominion. Dominion is a Canadian company, but all of its            – repetitive of
software is Smartmatic software. So the votes actually go to        paragraphs 132d, 140d
Barcelona, Spain. So we’re using a foreign company that is
owned by Venezuelans who are close to [] Chávez, are now

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close to Maduro, [they] have a history, they were founded as a         191b, j, l, n, o, v:
company to fix elections.” (Lou Dobbs Tonight, November 12,            redundant - repetitive
2020 (Exhibits 1)).                                                    of paragraph 90; 191L –
                                                                       repetitive of paragraph
b. Sidney Powell: “[W]e’re fixing to overturn the results of the       132b, 140k, 149b; 191b
election in multiple states. And President Trump won by not            – repetitive of 149a
just hundreds of thousands of votes, but by millions of votes
that were shifted by this software that was designed expressly         191j – repetitive of
for that purpose … We have so much evidence I feel like it’s           paragraph 149g.
coming in through a firehose.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).                       191o – repetitive of
                                                                       paragraph 125f.
c. Rudy Giuliani: “Republicans were shut out from enough of
the count so they could accomplish [what] Smartmatic wanted
to do … we have evidence that that’s the same pattern
Smartmatic used in other elections in which they were
disqualified. In other words, this is their pattern of activity, and
yes, there is a backdoor [] and we actually have proof of some
of the connections to it.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

d. Sidney Powell: “We’re talking about the alteration and
changes in millions of votes, some being dumped that were for
President Trump, some being flipped that were for President
Trump. Computers being overwritten to ignore signatures. All
kinds of different means of manipulating the Dominion and
Smartmatic software, that of course, we would not expect
Dominion or Smartmatic to admit.” (Justice with Judge
Jeanine, November 14, 2020 (Exhibit 3)).

e. Sidney Powell: “The money creating it came out of
Venezuela and Cuba. It was created for the express purpose of
being able to alter votes and secure the re-election of Hugo
Chávez and then Maduro. They’ve used it in Argentina. There
was an American citizen who has exported it to other countries.
And it is one huge, huge criminal conspiracy that should be
investigated by military intelligence for its national security
implications.” (Justice with Judge Jeanine, November 14, 2020
(Exhibit 3)).

f. Maria Bartiromo: “Coming up: President Trump’s legal team
with new evidence this morning of backdoors on voting
machines, ballot tampering and election interference.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

g. Rudy Giuliani: “[Smartmatic] was banned by the United
States [] about a decade ago. It’s come back now as a
subcontractor to other companies who sorta hides in the weeds.
But Dominion sends everything to Smartmatic. Can you believe

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it? Our votes are sent overseas. They are sent to someplace else,
some other country. Why do they leave our country? [] And this
company … has tried and true methods for fixing elections by
calling the halt to the voting when you’re running too far
behind. They’ve done that in prior elections.” (Sunday
Morning Futures with Maria Bartiromo, November 15, 2020
(Exhibit 5)).

h. Maria Bartiromo: “One source says that the key point to
understand is that the Smartmatic system has a backdoor that
allows it to be [], or that allows the votes to be mirrored and
monitored, allowing an intervening party a real-time
understanding of how many votes will be needed to gain an
electoral advantage.” (Sunday Morning Futures with Maria
Bartiromo, November 15, 2020 (Exhibit 5)).

i. Rudy Giuliani: “Republicans were shut out from enough of
the count, so they could accomplish what Smartmatic wanted
to do … [W]e have evidence that that’s the same pattern
Smartmatic used in other elections in which they were
disqualified. In other words, this is their pattern of activity,
and, yes, there is a backdoor [] and we actually have proof of
some of the connections to it.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

j. Sidney Powell: “Yes. Well he’s listed as … retired Admiral
Peter Neffenger. He is President of the board of directors of
Smartmatic, and it just so happens, he’s on Mr. Biden’s
presidential transition team that’s gonna be non-existent
because we’re fixing to overturn the results of the election in
multiple states. [] President Trump won by not just hundreds of
thousands of votes but by millions of votes that were shifted by
this software that was designed expressly for that purpose.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

k. Sidney Powell: “We have sworn witness testimony of why
the software was designed. It was designed to rig elections. He
was fully briefed on it. He saw it happen in other countries. It
was exported internationally for profit by the people that are
behind Smartmatic and Dominion. They did this on purpose, it
was calculated, they’ve done it before. We have evidence from
2016 in California. We have so much evidence, I feel like it’s
coming in through a firehose.” (Sunday Morning Futures with
Maria Bartiromo, November 15, 2020 (Exhibit 5)).

l. Sidney Powell: “[T]his is a massive election fraud, and I’m
very concerned it involved not only Dominion and its
Smartmatic software, but that the software essentially was used
by other election machines also. It’s the software that was the

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problem. Even their own manual explains how votes can be
wiped away. They can put, it’s like drag-and-drop Trump votes
to a separate folder and then delete that folder. It’s absolutely
brazen how people bought this system and why they bought this
system.” (Sunday Morning Futures with Maria Bartiromo,
November 15, 2020 (Exhibit 5)).

m. Maria Bartiromo: “What is the CIA’s role? Why do you
think Gina Haspel should be fired immediately? You’re saying
the CIA is behind the Dominion or Smartmatic voting software
as well?” Sidney Powell: “Well, the CIA and the FBI and other
government organizations have received multiple reports of
wrongdoing and failures and vulnerabilities in this company’s
products. Their own manual, if you sat down and read it,
would explain how and why no honest person would use this
system. And it’s not just Dominion. There are other companies
in the voting machine business in this country too, that may
very well and are likely using the same software. We’ve
detected voting irregularities that are inexplicable and aligned
with these problems in other states that think they have valid
systems. But the people who bought the Dominion system for
sure knew exactly what they were getting. It should never have
been installed anywhere and we are going to show the public
exactly how rotten the entire state is.” (Sunday Morning
Futures with Maria Bartiromo, November 15, 2020 (Exhibit
5)).

n. Sidney Powell: “Okay. That’s part of it. They can stick a
thumb drive in the machine or upload software to it, even from
the Internet. They can do it from Germany or Venezuela, even.
They can remote access anything. They can watch votes in real
time. They can shift votes in real time. We’ve identified
mathematically the exact algorithm they used and planned to
use from the beginning to modify the votes in this case to
make sure Biden won … Well, its massive election fraud. It’s
going to undo the entire election. And they can do anything
they want with the votes. They can have the machines not read
the signature. They can have the machines not read the down
ballot. They can make the machines read and catalog only the
Biden votes. It’s like drag-and-drop whatever you want,
wherever you want, upload votes … In fact, we’ve got math in
Michigan and Pennsylvania, I think it is, that all of a sudden,
hundreds of thousands of votes at a 67% ratio for Biden, 23%
for Trump [], were uploaded multiple times into the system.”
(Sunday Morning Futures with Maria Bartiromo, November 15,
2020 (Exhibit 5)).

o. Sidney Powell: “I’ve just gotten some stunning evidence
from a firsthand witness, a high-ranking military officer who
was present when Smartmatic was designed in a way that - and

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I’m going to just read you some of these statements if you don’t
mind, so I get them exactly right from the affidavit. ‘Designed
in a way that the system could change the vote of each voter
without being detected. . . Smartmatic agreed to create such a
system and produced the software and hardware that
accomplished the result for President Chávez. After the
Smartmatic [] electoral management system was put in place,
he closely observed several elections where the results were
manipulated using the Smartmatic software … Persons
controlling the vote tabulation computer had the ability to
change the reporting of votes by moving votes from one
candidate to another by using the Smartmatic software.’” (Lou
Dobbs Tonight, November 16, 2020 (Exhibit 15)).

p. Sidney Powell: “Smartmatic agreed to create such a [voting]
system and produce the software and hardware that
accomplished the result for President Chávez. After the
Smartmatic [] electoral management system was put in place,
he closely observed several elections where the results were
manipulated using the Smartmatic software. One such election
was December 2006, when Chávez was running against
Rosales. Chávez won in a landslide over Rosales ... In 2013, he
witnessed another Venezuelan national election where the
Smartmatic management system was used to manipulate and
change the results for Chávez.” (Lou Dobbs Tonight,
November 16, 2020 (Exhibit 15)).

q. Sidney Powell: “So here’s the other kicker, ‘when the
Smartmatic machines .... when somebody’s losing, like for
example when Maduro and his supporters realized the size of
the other guy’s lead, they were worried that they were in crisis
mode and would lose the election. The Smartmatic’s [sic]
machines used for voting in each state were connected to the
Internet, reported their information over the Internet to the
Caracas control center real-time because, the decision was
made to reset the entire system. Maduro and his supporters
ordered the network controllers to take the Internet itself offline
in practically all parts in Venezuela to change the result. It took
the voting operators approximately two hours to make the
adjustments in the vote from Radonski to Maduro. Then when
they turned the Internet back on and the online reporting was up
and running again, they checked each screen, state-by-state, to
be certain they could see each vote was changed in favor of
Maduro.’” (Lou Dobbs Tonight, November 16, 2020 (Exhibit
15)).

r. Lou Dobbs: “Dominion has connections to UK based
Smartmatic, a voting technology company established in 2000
that had ties to Venezuela’s Hugo Chávez.” (Lou Dobbs
Tonight, November 16, 2020 (Exhibit 14)).

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s. Lou Dobbs: @LouDobbs “Electoral Fraud: @SidneyPowell1
says she has firsthand evidence that Smartmatic voting software
was designed in a way to change the vote of a voter without
being detected.” (Twitter, @LouDobbs, November 16, 2020
(Exhibit 18)).

t. Rudy Giuliani: “Lou, I don’t know if people can appreciate
this but I think when they do, they’re gonna be outraged. Our
votes in 27 [or] 28 states that [are] counted by Dominion, and
calculated and analyzed. They’re sent outside the United States.
And they’re not sent to Canada, they’re sent to Germany and
Spain. And, the company counting, it is not Dominion. It’s
Smartmatic, which is a company that was founded in 2005 in
Venezuela for the specific purpose of fixing elections. That’s
their expertise. How to fix elections…We shouldn’t be using
this company that was founded by Chávez to call votes in
America because their specialty in Venezuela is cheating. Well
apparently the governor signed them up and never bothered to
do any due diligence of any kind.” (Lou Dobbs Tonight,
November 18, 2020 (Exhibit 23)).

u. Sidney Powell: “The software itself was created with so
many variables and so many backdoors that can be hooked up
to the Internet or a thumb drive stuck in it or whatever. But one
of its most characteristic features is its ability to flip votes. It
can set and run an algorithm that probably ran all over the
country to take a certain percentage of votes from President
Trump and flip them to President Biden, which we might have
never uncovered…” (Lou Dobbs Tonight, November 19, 2020
(Exhibit 25)).

v. Sidney Powell: “Well, Lou, they designed and developed the
Smartmatic and Dominion programs and machines that include
a controller module that allows people to log in and manipulate
the vote even as it’s happening.” (Lou Dobbs Tonight,
December 10, 2020 (Exhibit 38)).
192. The statements that were made during the Fox News                 Immaterial or
programs were originally published during the programs and             impertinent -
then republished when posted by Fox to a Fox News website or           intertwined with
social media. The statements made on social media were                 relevant non-parties;
originally published on the social media website (e.g., Twitter        cannot be de-tangled to
or Facebook) and then republished by individuals who saw the           determine what is
social media posts (e.g., retweeting on Twitter). Ms. Powell,          alleged against Ms.
Mr. Giuliani, and Fox anticipated the republication of their           Powell.
statements. Ms. Powell, Mr. Giuliani, and Fox intended for the
republication to further disseminate their statements to a larger
audience.
193. Individuals who heard and read Ms. Powell’s, Mr.                  Immaterial or
Giuliani’s, and Fox’s statements were led to believe that              impertinent -

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Smartmatic’s election technology and software were designed          intertwined with
to fix, rig, and steal elections. Ms. Powell, Mr. Giuliani, and      relevant non-parties;
Fox intended for individuals who heard or read their statements      cannot be de-tangled to
to draw that conclusion. That conclusion was an important            determine what is
component of the disinformation campaign.                            alleged against Ms.
                                                                     Powell.
194. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements and          Immaterial or
implication that Smartmatic’s election technology and software       impertinent -
were designed to fix, rig, and steal elections are demonstrably      intertwined with
false and factually inaccurate. First, Smartmatic’s election         relevant non-parties;
technology and software were not designed to fix, rig, or steal      cannot be de-tangled to
elections. Smartmatic’s election technology and software were        determine what is
designed to ensure secure, reliable, and auditable elections.        alleged against Ms.
                                                                     Powell.
200. Ms. Powell, Mr. Giuliani, and Fox knew that the                 Immaterial or
statements and implications that they made about Smartmatic          impertinent -
were false and/or they acted with reckless disregard for whether     intertwined with
their statements and implications were true. Ms. Powell, Mr.         relevant non-parties;
Giuliani, and Fox did not care about making truthful statements      cannot be de-tangled to
about Smartmatic. Ms. Powell, Mr. Giuliani, and Fox were             determine what is
motivated to tell a story about how Smartmatic fixed, rigged,        alleged against Ms.
and stole the 2020 U.S. election for Joe Biden and Kamala            Powell.
Harris.
203. Ms. Powell, Mr. Giuliani, and Fox invented a story about      Immaterial or
Smartmatic and its election technology and software. They          impertinent -
invented the story to fit a preconceived narrative – that the 2020 intertwined with
U.S. election had been fixed, rigged, and stolen. They did not     relevant non-parties;
have a basis for naming Smartmatic the villain in this story.      cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
204. There is one irrefutable fact that undermines nearly          Immaterial or
everything that Ms. Powell, Mr. Giuliani, and Fox said about       impertinent -
Smartmatic during their disinformation campaign: Smartmatic’s intertwined with
only role in the 2020 U.S. election was as a provider of election relevant non-parties;
technology and software to Los Angeles County. This fact was cannot be de-tangled to
known to Ms. Powell, Mr. Giuliani, and Fox or readily              determine what is
ascertainable, and it puts the lie to nearly everything they said. alleged against Ms.
                                                                   Powell.
205. Ms. Powell, Mr. Giuliani, and Fox stated and implied that     Immaterial or
Smartmatic’s election technology and software were widely          impertinent -
used in the 2020 U.S. election, including in states with close     intertwined with
outcomes. Ms. Powell, Mr. Giuliani, and Fox did not have any       relevant non-parties;
source for this statement and implication because Smartmatic’s cannot be de-tangled to
election technology and software were only used in Los             determine what is
Angeles County.                                                    alleged against Ms.
                                                                   Powell.
206. Ms. Powell, Mr. Giuliani, and Fox stated and implied that     Immaterial or
Dominion used Smartmatic’s election technology and software impertinent -
during the 2020 U.S. election. Ms. Powell, Mr. Giuliani, and       intertwined with

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Fox did not have any source for this statement and implication     relevant non-parties;
because Dominion did not use Smartmatic’s election                 cannot be de-tangled to
technology and software during the 2020 U.S. election.             determine what is
                                                                   alleged against Ms.
                                                                   Powell.
207. Ms. Powell, Mr. Giuliani, and Fox stated and implied that     Immaterial or
Smartmatic fixed, rigged, and stole the 2020 U.S. election for     impertinent -
Joe Biden and Kamala Harris. Ms. Powell, Mr. Giuliani, and         intertwined with
Fox did not have any source for this statement and implication     relevant non-parties;
because Smartmatic’s election technology and software were         cannot be de-tangled to
not used in any of the states with close outcomes.                 determine what is
                                                                   alleged against Ms.
                                                                   Powell.
208. Mr. Giuliani and Fox stated and implied that Smartmatic       Immaterial or
sent and/or processed votes for the 2020 U.S. election in foreign impertinent -
countries. Mr. Giuliani and Fox did not have any source for this intertwined with
statement and implication because the votes in Los Angeles         relevant non-parties;
County were counted and tabulated in Los Angeles County.           cannot be de-tangled to
                                                                   determine what is
                                                                   alleged against Ms.
                                                                   Powell.
209. Ms. Powell, Mr. Giuliani, and Fox stated and implied that     Immaterial or
Smartmatic’s election technology and software were                 impertinent -
compromised or hacked during the 2020 U.S. election. Ms.           intertwined with
Powell, Mr. Giuliani, and Fox did not have any source for this     relevant non-parties;
statement and implication because no one has raised cyber-         cannot be de-tangled to
security concerns with the election in Los Angeles County.         determine what is
                                                                   alleged against Ms.
                                                                   Powell.
210. Ms. Powell’s, Mr. Giuliani’s, and Fox’s disinformation        Immaterial or
campaign was not limited to distorting Smartmatic’s role in the impertinent -
2020 U.S. election. Ms. Powell, Mr. Giuliani, and Fox also         intertwined with
defamed and disparaged Smartmatic by lying about the               relevant non-parties;
company’s past. Ms. Powell, Mr. Giuliani, and Fox had no           cannot be de-tangled to
basis, or no credible basis, for these statements and implications determine what is
either.                                                            alleged against Ms.
                                                                   Powell.
211. Mr. Giuliani and Fox stated and implied that Smartmatic’s Immaterial or
election technology and software had been banned from use in       impertinent -
the United States. Mr. Giuliani and Fox did not have any source intertwined with
for this statement and implication because Smartmatic’s            relevant non-parties;
election technology and software have never been banned in the cannot be de-tangled to
United States.                                                     determine what is
                                                                   alleged against Ms.
                                                                   Powell.
212. Ms. Powell, Mr. Giuliani, and Fox stated and implied that     Immaterial or
Smartmatic is a Venezuelan company founded and funded by           impertinent -
corrupt dictators from socialist and communist countries. Ms.      intertwined with
Powell, Mr. Giuliani, and Fox did not have any source              relevant non-parties;
identifying Smartmatic as a Venezuelan company because it is       cannot be de-tangled to

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not. Ms. Powell, Mr. Giuliani, and Fox did not have any source    determine what is
with firsthand knowledge supporting claims about the company      alleged against Ms.
being founded and funded by corrupt dictators because that did    Powell.
not happen.
213. Ms. Powell, Mr. Giuliani, and Fox stated and implied that    Immaterial or
Smartmatic’s election technology and software were designed       impertinent -
to fix, rig, and steal elections. Ms. Powell, Mr. Giuliani, and   intertwined with
Fox did not have any source with firsthand knowledge              relevant non-parties;
supporting this statement and implication because it never        cannot be de-tangled to
happened.                                                         determine what is
                                                                  alleged against Ms.
                                                                  Powell.
214. Ms. Powell, Mr. Giuliani, and Fox knew that they had no      Immaterial or
factual basis for their statements and implications about         impertinent -
Smartmatic. Several of Ms. Powell’s, Mr. Giuliani’s, and Fox’s intertwined with
statements required the speaker to have conducted analysis to     relevant non-parties;
support and substantiate the statement – such as how election     cannot be de-tangled to
technology and software could theoretically switch votes. On      determine what is
information and belief, Ms. Powell, Mr. Giuliani, and Fox knew alleged against Ms.
that they had not conducted, and did not possess, the research or Powell.
analysis necessary to support their statements. Ms. Powell, Mr.
Giuliani, and Fox made the statements knowing they lacked a
factual basis for the statements.
215. Ms. Powell, Mr. Giuliani, and Fox also intentionally         Immaterial or
avoided obtaining information from Smartmatic. Neither Ms.        impertinent -
Powell nor Mr. Giuliani ever contacted Smartmatic to verify       intertwined with
any statements they made. Fox only reached out to Smartmatic relevant non-parties;
on November 16, 2020, well into the disinformation campaign       cannot be de-tangled to
and after 24 false statements had been made. Fox made no          determine what is
attempt to contact Smartmatic to obtain information prior to      alleged against Ms.
November 16, 2020. By that time, Fox News had aired three         Powell.
TV broadcasts, published four news reports online, and posted
five times on social media about Smartmatic.
216. Despite making numerous statements about Smartmatic          Immaterial or
relating to fraudulent and criminal activity, when Fox News       impertinent - does not
finally reached out to Smartmatic on November 16, it just asked recite statements or
what states and/or counties Smartmatic’s election technology      actions alleged to have
and software were used in during the 2020 U.S. election. A very been made or
basic question. Then, on November 17, Fox News asked only         undertaken by Ms.
whether Smartmatic had any input into the CISA’s November         Powell
12 statement disputing allegations of election fraud (which was
answered in the negative). Fox News did not take the
opportunity to ask any other questions that could provide Fox
with any other facts related to the wide-ranging claims being
made against Smartmatic during the disinformation campaign.
217. Fox also intentionally avoided interviewing and              Immaterial or
broadcasting statements from election technology experts who      impertinent - does not
could have provided facts about Smartmatic and its election       recite statements or
technology and software. It was not until December 18 that Fox actions alleged to have
News published statements from an election expert (Eddie          been made or

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Perez) to address and refute the statements made about             undertaken by Ms.
Smartmatic and its technology and software. On information         Powell
and belief, Fox avoided these experts because the facts they
would have offered would be inconsistent with the story Ms.
Powell, Mr. Giuliani, and Fox wanted to convey about
Smartmatic.
218. Fox News had previously interviewed various                   Immaterial or
cybersecurity and election technology experts on air, including    impertinent - does not
on issues related to the election process and voting machines in   recite statements or
2018, 2019, and 2020. Fox failure to broadcast interviews with     actions alleged to have
any such experts during the disinformation campaign is             been made or
consistent with not wanting to learn the truth about Smartmatic    undertaken by Ms.
and not wanting to publish the truth.                              Powell
219. Ms. Powell, Mr. Giuliani, and Fox knew their statements       Immaterial or
and implications regarding Smartmatic and its technology and       impertinent -
software were false, or they acted with reckless disregard for     intertwined with
the truth when making their statements. Ms. Powell, Mr.            relevant non-parties;
Giuliani, and Fox possessed and/or had access to information       cannot be de-tangled to
that showed their statements were false. Ms. Powell, Mr.           determine what is
Giuliani, and Fox also made statements for which they had no       alleged against Ms.
factual basis.                                                     Powell.
220. A myriad of information was available to Ms. Powell, Mr.      Immaterial or
Giuliani, and Fox that showed their statements and implications    impertinent - does not
about Smartmatic and the use of its technology and software for    recite statements or
the 2020 U.S. election (and in contested states) were false. Ms.   actions alleged to have
Powell, Mr. Giuliani, and Fox either ignored this information,     been made or
and thereby acted with reckless disregard, or published their      undertaken by Ms.
false statements knowing they were false based on this             Powell
information.
                                                                Immaterial or
                                                                impertinent –
                                                                intertwined with
                                                                relevant non-parties;
                                                                cannot be de-tangled to
                                                                determine what is
                                                                alleged against Ms.
                                                                Powell
221. First, before the disinformation campaign, there was       Immaterial or
publicly available and easily accessible information showing    impertinent - does not
what company’s election technology and software were selected recite statements or
for and used in each state in the country (and by county),      actions alleged to have
including in contested states such as Georgia, Michigan,        been made or
Pennsylvania, Arizona, Wisconsin, and Nevada.                   undertaken by Ms.
                                                                Powell
222. Each state publicly disclosed the election technology used Immaterial or
in the 2020 U.S. election. This information showed that         impertinent - does not
Smartmatic did not provide or manufacture any technology or     recite statements or
software in any contested states discussed by Ms. Powell, Mr.   actions alleged to have
Giuliani, and Fox .                                             been made or


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                                                                    undertaken by Ms.
                                                                    Powell

                                                                    Immaterial or
                                                                    impertinent -
                                                                    intertwined with
                                                                    relevant non-parties;
                                                                    cannot be de-tangled to
                                                                    determine what is
                                                                    alleged against Ms.
                                                                    Powell.
223. For example, on November 12, Mr. Dobbs gave an update          Immaterial or
on Dominion and Smartmatic on Lou Dobbs Tonight, asking             impertinent - does not
Mr. Giuliani how important the concerns were being expressed        recite statements or
by a number of states about the ability of their machines to be     actions alleged to have
hacked. Mr. Giuliani told Mr. Dobbs that the machines can be        been made or
hacked and specifically named Smartmatic and its software. In       undertaken by Ms.
discussing this hacking, Mr. Giuliani stated: “What the heck        Powell
was Georgia doing in hiring this company?” However, there
was publicly available information from the state of Georgia at
the time that showed that Dominion and Smartmatic were two
separate companies and that Smartmatic’s election technology
was not used by Georgia in the 2020 U.S. election. This was
similarly true for other states.
224. The states of Michigan and Pennsylvania were also            Immaterial or
mentioned on Lou Dobbs Tonight on November 12 with Mr.            impertinent - does not
Giuliani. Again, there was publicly available information from    recite statements or
these states at the time that showed that Smartmatic was not      actions alleged to have
being used in the 2020 U.S. election in the states of Michigan or been made or
Pennsylvania.                                                     undertaken by Ms.
                                                                  Powell
225. Take another example: on November 15, Ms. Bartiromo          Immaterial or
and Mr. Giuliani had an exchange where Ms. Bartiromo stated       impertinent - does not
that the Dominion and Smartmatic voting machines were used        recite statements or
in Arizona, Georgia, Michigan, Nevada, Pennsylvania, and          actions alleged to have
Wisconsin. Ms. Bartiromo put up a graphic (shown below) to        been made or
show the states that she claimed stopped counting in the middle undertaken by Ms.
of election night, and then said that the Smartmatic system has a Powell
backdoor that allows votes to be mirrored and monitored to
allow improper intervention.(three screenshots of Bartiromo’s
statements are attached).
226. Again, there was publicly available information from each Immaterial or
of these states at the time that showed Smartmatic was not used impertinent - does not
in their 2020 elections. The role of Smartmatic in the contested recite statements or
states was easy to determine and contradicted the entire          actions alleged to have
narrative about Smartmatic being a player in any way in the       been made or
U.S. election controversy. For example:                           undertaken by Ms.
                                                                  Powell
227. Georgia: In 2019, Georgia’s RFP process demonstrated         Immaterial or
that Smartmatic was not chosen for the 2020 U.S. election. In     impertinent - does not

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response to the RFP, three separate companies submitted a bid.      recite statements or
Those companies were: (1) ES&S, (2) Smartmatic, and (3)             actions alleged to have
Dominion. Georgia chose two companies to advance in the             been made or
process and to undergo further consideration: ES&S and              undertaken by Ms.
Dominion. Smartmatic was not chosen. After further process          Powell
with ES&S and Dominion, Dominion got the contract with
Georgia. (11/30/20 Georgia Press Conference on 2020 Election
Recount Update Transcript (Exhibit 57)). The State of Georgia
also publicly disclosed that it was using Dominion’s election
technology for the 2020 U.S. election – not Smartmatic.
(Georgia Secretary of State Press Release, Security-Focused
Tech Company, Dominion Voting to Implement New Verified
Paper Ballot System (Exhibit 58); 8/9/19 Office of Georgia
Secretary of State Certification for Dominion Voting System
(Exhibit 54)).
228. Michigan: On January 24, 2017, Michigan’s State
Administrative Board approved only three vendors of voting
systems: Dominion, ES&S, and Hart InterCivic. (Michigan
Secretary of State Jocelyn Benson, Voting System Purchase
(Exhibit 619)). In early November, the State of Michigan
publicly identified the use of the Dominion election
management system and voting machines. There was no
mention of Smartmatic. (11/6/20 Michigan Department of State
Press Release (Exhibit 62)). The Secretary of State for
Michigan also had a voting systems map on its website that
identified the vendor/manufacture for different locations. The
map identified three companies: (1) Dominion, (2) Hart
InterCivic, and (3) ES&S. Smartmatic was not identified.
Michigan Voter Information Center, Voting Systems Map
(Exhibit 60)).
229. Pennsylvania: The state of Pennsylvania publicly               Immaterial or
identified the election technology and software certified for use   impertinent - does not
on its website. ES&S and Dominion were identified for use by        recite statements or
Pennsylvania. Smartmatic was not identified. (Pennsylvania          actions alleged to have
Department of State, Electronic Voting Systems Certified After      been made or
January 1, 2018 (Exhibit 64)). Pennsylvania was explicit in the     undertaken by Ms.
voting systems available for use in the 2020 general election.      Powell
On April 4, 2018, Acting Secretary of State Robert Torres
required each of Pennsylvania’s 67 counties to select new
voting systems by no later than December 31, 2019, and to
implement them no later than the June 2, 2020 primary election.
(Pennsylvania Pressroom, Department of States Tells Counties
To Have New Voting Systems In Place By End Of 2019 (Exhibit
6510)). The Pennsylvania Department of State subsequently
certified the following providers of electronic voting systems:
(1) Unisyn, (2) ES&S, (3) Dominion, (4) ClearBallot, and (5)
Hart Verity Voting. (Pennsylvania Department of State,
Electronic Voting Systems Certified After January 1, 2018
(Exhibit 6411)). Counties then had the option to choose only
from seven electronic voting systems offered by those five

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providers. Smartmatic was not one of them. (Votes PA: New
Voting Systems (Exhibit 6612)).
230. Arizona: The state of Arizona publicly identified the           Immaterial or
election technology and software used for the 2020 U.S.              impertinent - does not
election by manufacture on its website. Smartmatic was not one       recite statements or
of them. (Arizona Secretary of State, 2020 Election                  actions alleged to have
Cycle/Voting Equipment (Exhibit 59)).                                been made or
                                                                     undertaken by Ms.
                                                                     Powell
231. Wisconsin: In February 2020, the state of Wisconsin             Immaterial or
published a list of the voting equipment used by each                impertinent - does not
municipality within the State. Smartmatic appears nowhere on         recite statements or
that list. Wisconsin Election Commission, Voting Equipment           actions alleged to have
List by Municipality February 2020 (Exhibit 71)). In addition,       been made or
the Wisconsin election commission publicly identified the            undertaken by Ms.
approved voting equipment manufacturers on its website.              Powell
Smartmatic was not identified. (Wisconsin Election
Commission, Voting Equipment (Exhibit 72)).
232. Nevada: As of November 2020, all jurisdictions in Nevada        Immaterial or
used voting systems from either Dominion or ES&S.                    impertinent - does not
Smartmatic was not used. (Nevada Secretary of State: Voting          recite statements or
System (Exhibit 7413)).                                              actions alleged to have
                                                                     been made or
                                                                     undertaken by Ms.
                                                                     Powell
233. Second, before the disinformation campaign, it was widely       Immaterial or
known that another company, ES&S, was the nation’s largest           impertinent - does not
manufacturer of voting technology. It was also widely known          recite statements or
that three main election technology companies dominated the          actions alleged to have
U.S. market for elections: (1) ES&S, (2) Dominion, and (3)           been made or
Hart InterCivic. This list did not include Smartmatic. For           undertaken by Ms.
example: a. On October 29, 2018, it was reported that a trio of      Powell
companies—ES&S, Dominion, and Hart InterCivic—sell and
service more than 90 percent of the machinery on which votes
in the country are cast and results tabulated. (10/29/18 AP
Article, US election integrity depends on securitychallenged
firms (Exhibit 11014); 10/29/18 AP Article, Securitychallenged
firms are gatekeepers of US elections (Exhibit 11115)). b. On
March 27, 2019, Senator Amy Klobuchar and others sent a
letter to the country’s three largest election system vendors with
questions on their security in anticipation of the 2020 U.S.
election. Those vendors were (1) ES&S, (2) Dominion, and (3)
Hart InterCivic—not Smartmatic. (3/27/19 Klobuchar Press
Release, Ranking Members Klobuchar, Warner, Reed, and
Peters Press Election Equipment Manufacturers on Security
(Exhibit 112)). c. On December 6, 2019, Senators Elizabeth
Warren, Amy Klobuchar, and others sent letters to the private
equity firms that owned or had investments in the vendors
responsible for the “vast majority of voting machines and
software in the United States” with questions in anticipation of

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the 2020 U.S. election, noting that these vendors collectively
distribute voting machines and software for “over 90% of all
eligible voters in the United States.” Those vendors were (1)
ES&S, (2) Dominion, and (3) Hart InterCivic—not Smartmatic.
(12/10/19 Warren Press Release, Warren, Klobuchar, Wyden,
and Pocan Investigate Vulnerabilities and Shortcomings of
Election Technology Industry with Ties to Private Equity
(Exhibit 116)). Defendant Powell, in fact, attached these letters
to a complaint she filed in Georgia on November 26, 2020, an
amended complaint she filed in Michigan on November 29
2020, a complaint she filed in Wisconsin on December 1, 2020,
a complaint she filed in Arizona on December 2, 2020, and an
amended complaint she filed in Wisconsin on December 3,
2020. See Pearson v. Kemp, No. 20-cv-4809 (N.D. Ga.) ECF
Nos. 1-26; King v. Whitmer, No. 20-cv-13134 (E.D. Mich.)
ECF Nos. 6-16; Feehan v. Wisconsin Elections Commission,
No. 20-cv-1771 (E.D. Wis.) ECF Nos. 9-16; and Bowyer v.
Ducey, No. 02-cv-02321 (D. Ariz.) ECF Nos. 1-7. d. On
October 28, 2019, it was reported that half the country votes on
machines made by ES&S. (10/28/19 ProPublic Article, The
Market for Voting Machines is Broken. This Company Has
Thrived in It (Exhibit 114)). e. On May 2, 2019, it was reported
that three companies dominate the market for voting machines
in the country, with ES&S being the largest, followed by
Dominion and Hart InterCivic. (5/2/19 NPR Article, Trips to
Vegas and Chocolate-Covered Pretzels: Election Vendors
Come Under Scrutiny (Exhibit 113)). f. On March 3, 2020, it
was reported that ES&S, Dominion, and Hart InterCivic
“together control about 90 percent of the U.S. market for voting
systems.” (11/3/20 Politico Article, Playbook PM: Halftime
(Exhibit 123)). g. On October 28, 2020, it was reported that
ES&S and Dominion together produce the technology used by
over three-quarters of U.S. voters, and the third-largest player
was Hart InterCivic. (10/28/20 WSJ Article, Early Voting
Shines Spotlight on Consolidated Voting-Equipment Market
(Exhibit 121)).
234. This type of publicly available information showed that          Immaterial or
Smartmatic’s election technology was not widely used in the           impertinent - does not
2020 U.S. election and was not used in contested states.              recite statements or
                                                                      actions alleged to have
                                                                      been made or
                                                                      undertaken by Ms.
                                                                      Powell
235. Third, each major company or manufacturer of election            Immaterial or
technology and software identified on their own websites the          impertinent - does not
use of their technology or software in the 2020 U.S. election         recite statements or
before and during the disinformation campaign. This also              actions alleged to have
showed the very limited use of Smartmatic’s technology and            been made or
software in the 2020 U.S. election (i.e., only in one county in       undertaken by Ms.
California). For example:                                             Powell

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236. ES&S: Before and during the disinformation campaign,             Immaterial or
ES&S’s website provided information that contradicted                 impertinent -
statements by Ms. Powell, Mr. Giuliani, and Fox about the use         intertwined with
of Smartmatic’s election technology in the 2020 U.S. election.        relevant non-parties;
For example, ES&S’s website identified the wide use of its            cannot be de-tangled to
voting machines in the country, including its success in the          determine what is
2020 election in Wisconsin and Pennsylvania jurisdictions (both       alleged against Ms.
within contested states) and touted the success of its high-speed     Powell.
ballot counting technology. (11/1/20 ES&S Website, Getting
the facts straight about elections (Exhibit 96); 11/11/20 ES&S
Website, ES&S Equipment Efficiently, Accurately, Securely
Records Election History (Exhibit 97); 11/26/20 ES&S
Website, Getting the facts straight about elections updated
(Exhibit 98)).
237. Hart InterCivic: Before and during the disinformation            Immaterial or
campaign, Hart InterCivic’s website provided information that         impertinent -
contradicted statements by Ms. Powell, Mr. Giuliani, and Fox          intertwined with
about the use of Smartmatic’s election technology in the 2020         relevant non-parties;
U.S. election. For example, Hart InterCivic’s website identified      cannot be de-tangled to
the wide use of its technology systems in the country. (9/25/20       determine what is
Hart Website, Voting System Security Technology (Exhibit 99);         alleged against Ms.
9/28/20 Hart Website, More Texas Counties Choose Hart                 Powell.
InterCivic’s Verity Voting (Exhibit 100)).
238. Dominion: Before and during the disinformation                   Immaterial or
campaign, Dominion’s website provided information that                impertinent -
contradicted statements by Ms. Powell, Mr. Giuliani, and Fox          intertwined with
about the use of Smartmatic’s election technology in the 2020         relevant non-parties;
U.S. election. For example, Dominion’s website identified that        cannot be de-tangled to
it was serving customers in 28 states and Puerto Rico. Its            determine what is
website indicates the states in which its machines were used for      alleged against Ms.
the 2020 election. (11/1/20 Dominion Website, About Dominion          Powell.
(Exhibit 87)).
239. Fourth, Smartmatic’s website provided information about          Immaterial or
the company, its technology and software, and its limited role in     impertinent - does not
the 2020 U.S. election. Smartmatic’s website stated as of             recite statements or
November 14 that Smartmatic’s ballot marking devices were             actions alleged to have
“used exclusively in Lose [sic?] Angeles County” and “were            been made or
not used in any other state or any other jurisdiction in California   undertaken by Ms.
or anywhere else in the U.S.” (11/14/20 Smartmatic Website,           Powell
Smartmatic Factchecked (Exhibit 83)). Smartmatic’s website
stated as of November 16 that Smartmatic voting machines
were specifically not used in Pennsylvania, Georgia, Arizona,
Nevada, Michigan, or North Carolina. (11/16/20 Smartmatic
Website, Smartmatic Fact-checked (Exhibit 84)).
240. On information and belief, Ms. Powell, Mr. Giuliani, and         Immaterial or
Fox were aware of the factual information from the Smartmatic         impertinent -
website, particularly as it relates to the states where               intertwined with
Smartmatic’s election technology and software were and were           relevant non-parties;
not used in the 2020 U.S. election. Before and during the             cannot be de-tangled to
disinformation campaign, there was information available that         determine what is

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identified Smartmatic’s limited role in the 2020 U.S. election.   alleged against Ms.
In fact, when Fox News finally contacted Smartmatic, it           Powell.
referenced fact check pages from Smartmatic’s website,
including Fact-checked and Response to Misinformation.
(11/16/20 Fox News and Smartmatic Email Chain re: Press
Contact from Smartmatic.com (Exhibit 81); see also
Smartmatic Website, 11/14/20 Smartmatic Fact-checked
(Exhibit 83)).
241. On information and belief, the Ms. Powell, Mr. Giuliani,     Immaterial or
and Fox were also aware that Smartmatic’s VSAP technology         impertinent - does not
used in Los Angeles County was owned by the county, had           recite statements or
been created by employees in Smartmatic’s U.S.-based office,      actions alleged to have
and that all code used in the system was developed in the         been made or
United States and had never been offshore. (See, e.g., 3/3/20     undertaken by Ms.
Politico Article, Los Angeles County’s risky voting experiment    Powell
(Exhibit 117)).
                                                                 Immaterial or
                                                                 impertinent -
                                                                 intertwined with
                                                                 relevant non-parties;
                                                                 cannot be de-tangled to
                                                                 determine what is
                                                                 alleged against Ms.
                                                                 Powell.
242. Fifth, during the disinformation campaign, Smartmatic       Immaterial or
specifically told Fox News about its limited role in the 2020    impertinent - does not
U.S. election and that it did not have input to any statement by recite statements or
CISA rejecting allegations of election fraud.                    actions alleged to have
                                                                 been made or
                                                                 undertaken by Ms.
                                                                 Powell
                                                                 Immaterial or
                                                                 impertinent -
                                                                 intertwined with
                                                                 relevant non-parties;
                                                                 cannot be de-tangled to
                                                                 determine what is
                                                                 alleged against Ms.
                                                                 Powell.
243. On November 16, within an hour of being contacted,          Immaterial or
Smartmatic responded to an email from Fox News to                impertinent - does not
Smartmatic’s communications contact. (11/16/20 Fox News and recite statements or
Smartmatic Email Chain re: Press Contact from                    actions alleged to have
Smartmatic.com (Exhibit 81)). Smartmatic’s communications        been made or
director told Fox News:                                          undertaken by Ms.
                                                                 Powell
a. “During the 2020 U.S. Presidential Election, we provided
technology and software only to Los Angeles County ballot        Immaterial or
marketing devices. We had no involvement, direct or indirect,    impertinent -
in any other county or state in the United States.”              intertwined with

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                                                                      relevant non-parties;
b. “We do not provide any software to tabulate, tally or count        cannot be de-tangled to
votes in any county or state.”                                        determine what is
                                                                      alleged against Ms.
                                                                      Powell.
244. On November 17, within two hours of being contacted,             Immaterial or
Smartmatic responded to another email from Fox News to                impertinent - does not
Smartmatic’s communications contact. (11/17/20 Smartmatic to          recite statements or
Fox News Email (Exhibit 82)). Smartmatic’s communications             actions alleged to have
director told Fox News:                                               been made or
                                                                      undertaken by Ms.
a. “Smartmatic did not have input to the CISA statement to            Powell
which you are referring [CISA’s November 12 statement
disputing allegations of election fraud]. Only members of the
CISA Executive Committee (EC) would have been eligible to
give input to its drafting. Those EC members are the signatories
on the document.”
245. Fox News did not attempt to email Smartmatic to obtain           Immaterial or
basic information, such as its role in the 2020 U.S. election,        impertinent - does not
before its first broadcast accusing Smartmatic of fraud in            recite statements or
connection with the election. This could have been easily done,       actions alleged to have
and it is telling that Fox avoided getting this type of information   been made or
from the company.                                                     undertaken by Ms.
                                                                      Powell
246. Sixth, organizations involved in certifying voting               Immaterial or
technology like the Election Assistance Commission (EAC)              impertinent - does not
published information about the use of election technology in         recite statements or
the 2020 U.S. election.                                               actions alleged to have
                                                                      been made or
                                                                      undertaken by Ms.
                                                                      Powell
247. For example, all the states where Ms. Powell and Mr.             Immaterial or
Giuliani claimed fraud occurred use some aspect of the federal        impertinent - does not
testing and certification program for election technology and         recite statements or
software. (NCSL Voting System Standards, Testing and                  actions alleged to have
Certification (Exhibit 144)). The U.S. Election Assistance            been made or
Commission (EAC) publicly identifies the voting systems that          undertaken by Ms.
have been certified by the EAC by county and state. It provides       Powell
a table on its website where a user can determine the
manufacturer, product, and version of any technology and
software used. It shows that Smartmatic was not used in any of
the contested states. (U.S. EAC System Certification Process
and Table of Voting Systems (Exhibit 145)).16
248. Seventh, before and during the disinformation campaign,          Immaterial or
organizations who identify and track election and voting              impertinent - does not
equipment made information publicly available that showed the         recite statements or
limited role of Smartmatic and its election technology and            actions alleged to have
software in the 2020 U.S. election. For example, Verified             been made or
Voting (http://www.verifiedvoting.org) keeps a running map of         undertaken by Ms.
all voting equipment in the United States, broken down by             Powell

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county. Anyone can get on the website and look up any county
in the United States and determine whether a company’s voting
technology or software was used, and obtain detailed
descriptions of it. (Verified Voting Website, The Verifier –
Search – November 2020 (Exhibit 146)).
249. A myriad of information was available to Ms. Powell, Mr.        Immaterial or
Giuliani, and Fox that showed their statements about                 impertinent -
Smartmatic and the use of its technology and software to fix,        intertwined with
rig, and steal the 2020 U.S. election were false. Ms. Powell, Mr.    relevant non-parties;
Giuliani, and Fox either ignored this information, and thereby       cannot be de-tangled to
acted with reckless disregard, or published their false statements   determine what is
knowing they were false based on this information.                   alleged against Ms.
                                                                     Powell.
251. Second, before the disinformation campaign, there was           Immaterial or
publicly available and easily accessible information showing         impertinent - does not
the efforts around securing the 2020 U.S. election, which make       recite statements or
claims of a fixed, rigged, and stolen election not credible.         actions alleged to have
                                                                     been made or
                                                                     undertaken by Ms.
                                                                     Powell
252. For example, a joint statement was issued by national           Immaterial or
security agencies confirming the security of the election            impertinent - does not
infrastructure and process in place for the 2020 U.S. election       recite statements or
and that any threats to the election would be vigilantly             actions alleged to have
monitored. On November 5, 2019, the Department of Justice            been made or
(Attorney General William Barr), the Department of Defense           undertaken by Ms.
(Secretary Mark Esper), the Department of Homeland Security          Powell
(Acting Secretary Kevin McAleenan), the Office of the Director
of National Intelligence (Acting Director Joseph Maguire), the
FBI (Director Christopher Wray), the National Security Agency
(U.S. Cyber Command Commander and Director Gen. Paul
Nakasone), and the Cybersecurity Infrastructure Security
Agency (Director Christopher Krebs) issued a joint statement.
253. In the statement, they stated that “[e]lection security is a    Immaterial or
top priority for the U.S. government” and that “[i]n an              impertinent - does not
unprecedented level of coordination, the U.S. government is          recite statements or
working with all 50 states and territories, local officials, and     actions alleged to have
private sector partners to identify threats, broadly share           been made or
information, and protect the democratic process.” “While at this     undertaken by Ms.
time we have no evidence of a compromise or disruption to            Powell
election infrastructure that would enable adversaries to prevent
voting, change vote counts, or disrupt the ability to tally votes,
we continue to vigilantly monitor any threats to U.S. elections.”
(11/5/19 FBI National Press Office, Joint Statement from DOJ,
DOD, DHS, DNI, FBI, NSA, and CISA on Ensuring Security of
2020 Elections (Exhibit 115)). No such threats were identified
or reported by any of these agencies.
254. Third, before and during the disinformation campaign,           Immaterial or
election experts and officials published statements rejecting any    impertinent - does not
claims of vote rigging for the 2020 U.S. election. No state or       recite statements or

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federal government officials identified Smartmatic and its             actions alleged to have
election technology and software as being used or even                 been made or
potentially implicated in a computer fraud to fix, rig, or steal the   undertaken by Ms.
2020 U.S. election.                                                    Powell
255. Indeed, election officials and election security experts have     Immaterial or
long been clear that voter fraud is extraordinarily rare, and our      impertinent - does not
system has strong checks in place to protect the integrity of the      recite statements or
voting process in the country. For example:                            actions alleged to have
                                                                       been made or
                                                                       undertaken by Ms.
                                                                       Powell
256. On September 24, 2020, Christopher Wray, Director of the          Immaterial or
FBI, stated during a hearing before the U.S. Senate Committee          impertinent - does not
on Homeland Security and Government Affairs that “we have              recite statements or
not seen, historically, any kind of coordinated national voter         actions alleged to have
fraud effort in a major election, whether it’s by mail or              been made or
otherwise.” (9/24/20 CNN Transcript (Exhibit 120); see also            undertaken by Ms.
9/24/20 C-SPAN Website, FBI Director Says He Has Not Seen              Powell
National Voter Fraud Effort by Mail17).
257. On November 4, 2020, the National Association of                  Immaterial or
Secretaries of State (NASS) and the National Association of            impertinent - does not
State Election Directors (NASED) issued a statement: “[o]ver           recite statements or
the course of the election, more than 100 million ballots were         actions alleged to have
safely and securely cast, both inperson and by mail.” (11/4/20         been made or
Post-Election Joint Statement from NASS and NASED (Exhibit             undertaken by Ms.
124))                                                                  Powell
258. The NASS and NASED also issued a joint statement on               Immaterial or
October 30, 2020 to “express their confidence in [the] nation’s        impertinent - does not
elections systems, processes, safety and security.” It further         recite statements or
stated that “[s]tate election officials have been working              actions alleged to have
diligently to bolster cybersecurity, strengthen existing               been made or
infrastructure, address election misinformation and                    undertaken by Ms.
disinformation, as well as provide administrative and technical        Powell
support for local election officials.” And it made clear that
“[v]oters and members of the media should be diligent in the
face of election misinformation. Think critically about the
source of information before repeating or retweeting it …
contact your election official with any questions or concerns
and follow verified election official social media accounts.”
(10/30/20 NASS and NASED 2020 Election Preparations and
Reminders (Exhibit 122)).
259. On November 12, 2020, the U.S. Elections Infrastructure           Immaterial or
Government Coordinating Council and the Election                       impertinent - does not
Infrastructure Sector Coordinating Executive Committees                recite statements or
issued a definitive statement that “[t]he November 3rd election        actions alleged to have
was the most secure in American history.” It further stated,           been made or
“[t]here is no evidence that any voting system deleted or lost         undertaken by Ms.
votes, changed votes, or was in any way compromised.” And              Powell
“[o]ther security measures like preelection testing, state
certification of voting equipment, and the U.S. Election

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Assistance Commission’s (EAC) certification of voting
equipment help to build additional confidence in the voting
systems used in 2020.” (11/12/20 Cybersecurity &
Infrastructure Security Agency, Joint Statement from Elections
Infrastructure Government Coordinating Council & the
Election Infrastrucutre Sector Coordinating Executive
Committee (Exhibit 130)).
260. On November 16, 2020, a group of election security             Immaterial or
specialists issued a statement saying that there was no credible    impertinent - does not
evidence of computer fraud in the 2020 election outcome.            recite statements or
These specialists indicated they had studied the security of        actions alleged to have
voting machines, voting systems, and technology used for            been made or
government elections for decades. They stated “[a]nyone             undertaken by Ms.
asserting that a US election was ‘rigged’ is making an              Powell
extraordinary claim, one that must be supported by persuasive
and verifiable evidence. Merely citing the existence of technical
flaws does not establish that an attack occurred, much less that
it altered an election outcome. It is simply speculation.”
Further, “[w]e are aware of alarming assertions being made that
the 2020 election was ‘rigged’ by exploiting technical
vulnerabilities. However, in every case of which we are aware,
these claims either have been unsubstantiated or are technically
incoherent. To our collective knowledge, no credible evidence
has been put forth that supports a conclusion that the 2020
election outcome in any state has been altered through technical
compromise.” (11/16/20 Letter from Election Security
Specialists (Exhibit 134))
261. On November 19, 2020, it was reported that a                   Immaterial or
spokeswoman for the National Association of Secretaries of          impertinent - does not
State (NASS) said, “[e]lections in the United States of America     recite statements or
are administered, run, counted and certified by state and local     actions alleged to have
election officials. We have never heard of votes being tabulated    been made or
in a foreign country.” (11/19/20 Verify, No evidence that           undertaken by Ms.
presidential election votes were tallied overseas (Exhibit 137)).   Powell
262. On November 29, 2020, a piece was published in which           Immaterial or
Chris Krebs, Former Director of the CISA, stated that election      impertinent - does not
day “was quiet. And there was no indication or evidence that        recite statements or
there was any evidence of hacking or compromise of election         actions alleged to have
systems on, before, or after November 3 … We did a good job.        been made or
We did it right. I’d do it a thousand times over.” (11/30/20 CBS    undertaken by Ms.
News, Fired Director of U.S. Cyber Agency Chris Krebs               Powell
Explains Why President Trump’s Claims of Election
Interference Are False (Exhibit 141)).
263. On December 1, 2020, Attorney General William Barr             Immaterial or
stated that “To date, [DOJ investigators] have not seen fraud on    impertinent - does not
a scale that could have effected a different outcome in the         recite statements or
election.” (12/1/20 AP Article, Disputing Trump, Barr says no       actions alleged to have
widespread election fraud (Exhibit 142)).                           been made or
                                                                    undertaken by Ms.
                                                                    Powell

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264. Fourth, individual states that were contested in the 2020        Immaterial or
U.S. election performed audits and/or issued statements               impertinent - does not
verifying their election process and rejecting claims of fraud or     recite statements or
rigging. For example:                                                 actions alleged to have
                                                                      been made or
                                                                      undertaken by Ms.
                                                                      Powell
265. Georgia: A November 19, 2020 Audit Report for the                Immaterial or
Georgia Presidential Contest stated “[f]rom November 11 to            impertinent - does not
November 19, 2020, county election officials in Georgia,              recite statements or
conducted a statewide risk-limiting audit of the Presidential         actions alleged to have
Contest from the November 2020 General Election, as ordered           been made or
by the Georgia Secretary of State.” In reporting the outcome, it      undertaken by Ms.
noted “the audit confirmed the original result of the election,       Powell
namely that Joe Biden won the Presidential Contest in the State
of Georgia.” (emphasis in original) (11/19/20 Georgia Risk-
Limiting Audit Report (Exhibit 55); see also 11/19/20 Georgia
Secretary of State, Historic First Statewide Audit of Paper
Ballots Upholds Result of Presidential Race (Exhibit 56) (“Due
to the tight margin of the race and the principles of risk-limiting
audits, this audit was a full manual tally of all votes cast. The
audit confirmed that the original machine account accurately
portrayed the winner of the election.”).
266. On November 30, 2020, Georgia’s Secretary of State, Brad         Immaterial or
Raffensperger, held a press conference and made clear that            impertinent - does not
none of the allegations of potential election violations cast         recite statements or
doubt on the integrity of the state’s election results. At the        actions alleged to have
conference, he stated: “There are those who are exploiting the        been made or
emotions of many Trump supports with fantastic claims, half-          undertaken by Ms.
truths, misinformation, and, frankly, they are misleading the         Powell
President as well apparently.” (11/30/20 Georgia Press
Conference on 2020 Election Recount Update Transcript
(Exhibit 57)).
267. On January 6, 2021, Georgia’s Secretary of State, Brad           Immaterial or
Raffensperger, sent a letter to Congress with a “Point by Point       impertinent - does not
Refutation of False Claims about Georgia Elections.” It               recite statements or
described the multiple steps taken to confirm that the                actions alleged to have
Presidential selection result was accurate and the software on        been made or
the voting machines was accurate. It includes a section that          undertaken by Ms.
addresses the allegations regarding Dominion Voting Machines          Powell
and clearly states the claims were false. (1/6/21 Georgia
Secretary of State Letter to Congress (Exhibit 59)).
268. Michigan: Michigan’s Bureau of Election made                     Immaterial or
information about its election security available on its website,     impertinent - does not
www.Michigan.gov/ElectionSecurity, including that “[t]here is         recite statements or
no evidence voting machines in Michigan have ever been                actions alleged to have
compromised or that votes have been changed.” (1/5/21                 been made or
Michigan Secretary of State, Michigan’s election was secure           undertaken by Ms.
and fair, and the results are accurate (Exhibit 63)).                 Powell


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269. Pennsylvania: On November 12, 2020, Governor Tom               Immaterial or
Wolf tweeted, from his official government account,                 impertinent - does not
“Allegations of fraud and illegal activity have been repeatedly     recite statements or
debunked. Pennsylvania had a free, fair, and secure election.”      actions alleged to have
(11/12/20 Tweet from Governor Tom Wolf (Exhibit 6718)).             been made or
                                                                    undertaken by Ms.
                                                                    Powell
270. On November 13, 2020 Governor Wolf issued the                  Immaterial or
following statement: “All Pennsylvanians can have confidence        impertinent - does not
in our election system and the accuracy of the vote.” “The U.S.     recite statements or
Department of Homeland Security’s conclusion that our nation        actions alleged to have
had the most secure election in history reaffirms the               been made or
commitment to protecting our votes by local, state and national     undertaken by Ms.
officials. Allegations of fraud and unfounded rumors of illegal     Powell
activity have been repeatedly debunked. Those deliberate and
false attacks are un-American and harm our democracy, and we
should reject them. I thank the election and cyber-security
experts for verifying that our nation’s election was protected
and secure.” (11/13/20 Governor Tom Wolf: U.S. Election was
‘most secure in American history’ Federal Agency says (Exhibit
6819)).
271. Arizona: On December 1, 2020, in response to allegations       Immaterial or
from former President Trump that Arizona’s election had been        impertinent - does not
tainted by “corruption,” Governor Doug Ducey issued a nine-         recite statements or
tweet thread explaining that Arizona’s election had been fair       actions alleged to have
and free from fraud. Specifically, he stated: “In Arizona, we       been made or
have some of the strongest election laws in the country, laws       undertaken by Ms.
that prioritize accountability and clearly lay out procedures for   Powell
conducting, canvassing, and even contesting the results of an
election.” (12/1/20 Tweet from Gov. Doug Ducey (Exhibit
7020)).
272. Wisconsin: On or about December 16, 2020, Wisconsin’s          Immaterial or
Elections Commission, on its website, answered the question of      impertinent - does not
whether Dominion voting equipment flipped votes from Trump          recite statements or
to Biden: “[a]bsolutely not. Twenty-eight reporting units using     actions alleged to have
Dominion systems were randomly selected after the election          been made or
and audited for the Presidential contest, and all the audits        undertaken by Ms.
confirmed that the hand-counted paper ballots exactly matched       Powell
the electronic results from the machines.” It also answered the
question of whether there was widespread fraud in the 2020
election - saying there was no evidence of such fraud. And it
stated that the claims made about Dominion have not been
substantiated. (11/16/20 Wisconsin Elections Commission, Did
Dominion Voting Equipment Slip Votes from Trump to Biden
(Exhibit 73)).
273. Nevada: On November 5, 2020, Nevada Governor Steve             Immaterial or
Sisolak held a press conference, in which he stated: “Nevada is     impertinent - does not
widely recognized as being a leader in election administration,     recite statements or
and I continue to have the utmost confidence in the abilities of    actions alleged to have
Nevada’s local election officials and Secretary of State Barbara    been made or

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Cegavske to accurately count every eligible vote cast in the          undertaken by Ms.
Silver State. Our election administration officials are required to   Powell
keep counting under state law and that is exactly what they’ll do
until every vote is counted. Despite national pressure, our
election officials and public servants continue to prioritize
accuracy and fairness in this process. That should make all
Nevadans proud. I ask all Nevadans to support our election
workers, trust this process and respect the results when they are
certified as final.” (11/5/20 Nevada Governor, Gov. Sisolak
issues statement on President Trump’s comments on the
election (Exhibit 7521)).
274. And Nevada state officials have expressly stated after           Immaterial or
certification of the election results that there was no evidence of   impertinent - does not
voter fraud. In Secretary of State Barbara Cegavske’s “Facts v.       recite statements or
Myths: Nevada 2020 Post-General Election” document, posted            actions alleged to have
on the Nevada Secretary of State website, the Secretary stated,       been made or
“we have yet to see any evidence of widespread fraud.” (Facts         undertaken by Ms.
v. Myths: Nevada 2020 Post-General Election (Exhibit 7622)).          Powell
275. In addition, on November 10, 2020, the New York Times            Immaterial or
reported contacting officials in every state on November 9 and        impertinent - does not
10, and that officials in all states but Texas reported no major      recite statements or
voting issues. (11/10/20 NYT Article, The Times Called                actions alleged to have
Officials in Every State: No Evidence of Voter Fraud (Exhibit         been made or
126).                                                                 undertaken by Ms.
                                                                      Powell
276. Fifth, election technology companies issued public               Immaterial or
statements rejecting claims of fraud or rigging the 2020 U.S.         impertinent - does not
election. For example, on November 7, 2020, Dominion issued           recite statements or
a statement that “[t]here are no credible reports or evidence of      actions alleged to have
any system software errors in Georgia or Michigan.” (11/7/20          been made or
Dominion Website, Statement on Viral Claims/Rumors About              undertaken by Ms.
Dominion Voting Systems (Exhibit 88)).                                Powell
277. On November 12, 2020, Dominion’s website included a              Immaterial or
page to set the record straight, including that the U.S.              impertinent - does not
Department of Homeland Security’s Cybersecurity and                   recite statements or
Infrastructure Security Agency (CISA) has debunked claims of          actions alleged to have
voter fraud. It further stated “[n]o credible reports or evidence     been made or
of any software issues exist. While no election is without            undertaken by Ms.
isolated issues, Dominion Voting Systems are reliably and             Powell
accurately counting ballots. State and local officials have
publicly confirmed the integrity of the process.” (11/1/20
Dominion Website, Election 2020: Setting the Record Straight
(Exhibit 87); 11/13/20 Dominion Website, Election 2020:
Setting the Record Straight: Facts & Rumors (Exhibit 90);
11/17/20 Dominion Website, Setting the Record Straight, Facts
& Rumors (Exhibit 91); 12/3/20 Dominion Website, Election
2020: Setting the Record Straight: Facts& Rumors (Exhibit
95)).
278. Information was available to Ms. Powell, Mr. Giuliani, and Immaterial or
Fox that showed their statements about Smartmatic’s election      impertinent -

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technology and software sending votes cast in the United States     intertwined with
to foreign countries were false. Ms. Powell, Mr. Giuliani, and      relevant non-parties;
Fox either ignored this information, and thereby acted with         cannot be de-tangled to
reckless disregard, or published their false statements knowing     determine what is
they were false based on this information.                          alleged against Ms.
                                                                    Powell.
281. Third, as discussed above, on November 19, 2020, it was        Immaterial or
reported that a spokeswoman for the National Association of         impertinent - does not
Secretaries of State (NASS) said: “Elections in the United          recite statements or
States of America are administered, run, counted and certified      actions alleged to have
by state and local election officials. We have never heard of       been made or
votes being tabulated in a foreign country.” (11/19/20 Verify,      undertaken by Ms.
No evidence that presidential election votes were tallied           Powell
overseas (Exhibit 137)).
282. Fourth, before and during the disinformation campaign,         Immaterial or
various companies providing election technology issued              impertinent - does not
statements contradicting claims related to votes being sent to      recite statements or
foreign countries. (11/13/20 Scytl Website, Scytl strongly          actions alleged to have
denies the false information related to the U.S. elections          been made or
(Exhibit 13123); 11/13/20 Dominion Website, Election 2020:          undertaken by Ms.
Setting the Record Straight: Facts & Rumors (Exhibit 90);           Powell
11/21/20 Dominion Website, Election 2020: Setting the Record
Straight, Fact Versus Rumors (Exhibit 92); 11/26/20 Dominion
Website, Statement from Dominion on Sidney Powell’s Charges
(Exhibit 94); 12/3/20 Dominion Website, Election 2020: Setting
the Record Straight: Facts & Rumors (Exhibit 95)).
283. Fifth, it was widely reported and known in November that       Immaterial or
claims related to votes being sent to foreign countries were        impertinent - does not
false. (11/16/20 Reuters Article, Fact check: the U.S. military     recite statements or
has not seized election servers in Germany (Exhibit 135);           actions alleged to have
11/19/20 AP Article, AP Fact Check: Trump legal team’s batch        been made or
of false vote claims (Exhibit 138); 11/15/20 AP Article, False      undertaken by Ms.
reports claim election servers were seized in Germany (Exhibit      Powell
133)).
284. Information was available to Ms. Powell, Mr. Giuliani, and     Immaterial or
Fox that showed their statements about Smartmatic’s election        impertinent -
technology and software being compromised or hacked during          intertwined with
the 2020 U.S. election were false. Ms. Powell, Mr. Giuliani, and    relevant non-parties;
Fox either ignored this information, and thereby acted with         cannot be de-tangled to
reckless disregard, or published their false statements knowing     determine what is
they were false based on this information.                          alleged against Ms.
                                                                    Powell.
285. First, as discussed above, before the disinformation           Immaterial or
campaign, there was publicly available and easily accessible        impertinent -
information that Smartmatic’s technology and software were          intertwined with
used in only one county in the 2020 U.S. election, Los Angeles      relevant non-parties;
County. Ms. Powell’s, Mr. Giuliani’s, and Fox’s statements          cannot be de-tangled to
about compromises and/or hacking for the 2020 U.S. election         determine what is
primarily related to contested states and did not include the one   alleged against Ms.
                                                                    Powell.

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state where Smartmatic’s election technology and software
were used (California was not contested).
289. Third, as discussed above, before and during the               Immaterial or
disinformation campaign, there was publicly available               impertinent - does not
information that the 2020 U.S. election was secure, and federal     recite statements or
and state officials confirmed there was no basis to any claims of   actions alleged to have
hacking. For example:                                               been made or
                                                                    undertaken by Ms.
a. On November 4, 2020, the Director of the Cybersecurity and       Powell
Infrastructure Security Agency issued a statement that “after
millions of Americans voted, we have no evidence any foreign
adversary was capable of preventing Americans from voting or
changing vote tallies.” (11/4/20 Statement from CISA Director
Krebs Following Final Day of Voting (Exhibit 125)).

b. On November 12, 2020, the U.S. Elections Infrastructure
Government Coordinating Council and the Election
Infrastructure Sector Coordinating Executive Committees
issued a joint statement that “[t]he November 3rd election was
the most secure in American history. Right now, across the
country, election officials are reviewing and double checking
the entire election process prior to finalizing the result.” It
further stated, “[t]here is no evidence that any voting system
deleted or lost votes, changed votes, or was in any way
compromised.” And “[o]ther security measures like preelection
testing, state certification of voting equipment, and the U.S.
Election Assistance Commission’s (EAC) certification of
voting equipment help to build additional confidence in the
voting systems used in 2020.” “While we know there are many
unfounded claims and opportunities for misinformation about
the process of our selections, we can assure you we have the
utmost confidence in the security and integrity of our elections,
and you should too.” (11/12/20 Cybersecurity & Infrastructure
Security Agency, Joint Statement from Elections Infrastructure
Government Coordinating Counsel & the Election
Infrastructure Sector Coordinating Executive Committee
(Exhibit 130)).

c. On November 12, 2020, a competitor company’s Vice Chair,
Sam Derheimer, signed the Joint Statement from the Elections
Infrastructure Government Coordinating Council & the Election
Infrastructure Sector Coordinating Executive Committees
providing that “There is no evidence that any voting system
deleted or lost votes, changed votes, or was in any
compromised.” (11/12/20 Cybersecurity & Infrastructure
Security Agency, Joint Statement from Elections Infrastructure
Government Coordinating Council & the Election
Infrastructure Sector Coordinating Executive Committee
(Exhibit 130)).


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d. On December 1, 2020, Attorney General Barr specifically
addressed Ms. Powell’s, Mr. Giuliani’s, and Fox’s claims about
Smartmatic and Dominion in an interview with the Associated
Press: “There’s been one assertion that would be systemic fraud
and that would be the claim that machines were programmed
essentially to skew the election results. And the DHS and DOJ
have looked into that, and so far, we haven’t seen anything to
substantiate that.” (12/1/20 AP Article, Disputing Trump, Barr
says no widespread election fraud (Exhibit 142)).
290. Fourth, there was publicly available information by            Immaterial or
government officials that have authority over the election          impertinent - does not
process about procedures and processes to test and certify any      recite statements or
election technology used, including for the 2020 U.S. election.     actions alleged to have
The information clearly shows various and rigorous testing and      been made or
certification processes to prevent hacking or any compromise to     undertaken by Ms.
the voting systems during the election. (CISA, #Protect2020         Powell
Rumor vs. Reality (Exhibit 14726)).
291. Fifth, before and during the disinformation campaign,          Immaterial or
Smartmatic’s website indicated that its technology had been         impertinent - does not
validated by institutions such as the Carter Center, the United     recite statements or
Nations, the Organization of American States, and the European      actions alleged to have
Union. Smartmatic also provided information that its election       been made or
software had processed more than 5 billion votes over 20 years      undertaken by Ms.
without a breach. (11/27/20 Smartmatic Website, Fact-checked        Powell
(Exhibit 85)).
292. Information was available to Ms. Powell, Mr. Giuliani, and     Immaterial or
Fox that showed their statements about Smartmatic’s election        impertinent -
technology and software being used by Dominion in the 2020          intertwined with
U.S. election were false. Ms. Powell, Mr. Giuliani, and Fox         relevant non-parties;
either ignored this information, and thereby acted with reckless    cannot be de-tangled to
disregard, or published their false statements knowing they         determine what is
were false based on this information.                               alleged against Ms.
                                                                    Powell.
295. There was also litigation between the companies and the        Immaterial or
public filings clearly establish the companies are separate, they   impertinent - does not
are competitors, and that their technology is separate. (9/18/12    recite statements or
Smartmatic Press Release, Smartmatic International Sues             actions alleged to have
Dominion Voting Systems for Licensing Breach and Improper           been made or
Business Practices (Exhibit 104); 5/1/13 Mem. Opinion In            undertaken by Ms.
Smartmatic Int’l Corp. v. Dominion Voting Systems Int’l Corp.,      Powell
no. 7844-VCP (Del. Chan.) (Exhibit 10629)).
296. Second, as discussed above, before and during the              Immaterial or
disinformation campaign, there was publicly available and           impertinent - does not
easily accessible information that Smartmatic’s election            recite statements or
technology and software were used in only one county in the         actions alleged to have
2020 U.S. election, Los Angeles County. (Verified Voting            been made or
Website, The Verifier – Search – November 2020, Filtered for        undertaken by Ms.
Make: Smartmatic/Los Angeles County, Exhibit 151)).                 Powell
297. Smartmatic’s own website also had information that made        Immaterial or
clear that Smartmatic had no ties to Dominion Voting Systems -      impertinent - does not

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no ownership ties, no software leasing, and no business at all      recite statements or
between the two companies. It further noted that in 2009,           actions alleged to have
Smartmatic licensed scanning machines from Dominion for use         been made or
in the Philippines for a Smartmatic election project, which was     undertaken by Ms.
the only contract with Dominion, that it was short-lived, and       Powell
ended in a lawsuit. It further noted that that was the first and
last time that Smartmatic and Dominion tried to do business
together. (11/27/20 Smartmatic Website, Smartmatic Fact-
checked (Exhibit 85)).
298. Third, Dominion’s website similarly provided information       Immaterial or
that made clear it was a distinctly separate company from, and      impertinent - does not
fierce competitor to Smartmatic, and not using Smartmatic’s         recite statements or
election technology and software. (11/13/20 Dominion Website,       actions alleged to have
Election 2020: Setting the Record Straight: Facts & Rumors          been made or
(Exhibit 90); 11/17/20 Dominion Website, Election 2020:             undertaken by Ms.
Setting the Record Straight, Fact Versus Rumors (Exhibit 91);       Powell
11/25/20 Dominion Website, Election 2020: Setting the Record
Straight, Fact Versus Rumors (Exhibit 93); 11/26/20 Dominion
Website, Election 2020: Setting the Record Straight, Fact
Versus Rumors (Exhibit 94); 12/3/20 Dominion Website,
Election 2020: Setting the Record Straight, Fact Versus Rumors
(Exhibit 95)).
299. Fourth, before and during the disinformation campaign,         Immaterial or
there was publicly available and easily accessible information      impertinent - does not
related to the election technology used in each county and state    recite statements or
that showed the specific systems and technology and software        actions alleged to have
used in such county and state, along with the manufacturers         been made or
identity. This information showed that Smartmatic’s technology      undertaken by Ms.
and software were not used by Dominion in the 2020 U.S.             Powell
election.
300. For example, Verified Voting                                   Immaterial or
(http://www.verifiedvoting.org) keeps a running map of all          impertinent - does not
voting equipment in the United States, broken down by county.       recite statements or
It separates voting equipment into three categories—hand            actions alleged to have
marked paper ballots, ballot marking devices (BMDs) and             been made or
systems, and direct recording electronic (DRE) systems. It          undertaken by Ms.
identifies for each county in every state the polling place         Powell
equipment, including the type of equipment used, the make, and
the model. Any company that makes the equipment used is
identified. The specific technology and software used by
Dominion in the 2020 U.S. election can be found and is
described in detail for each county. (Verified Voting Website,
The Verifier – Search – November 2020, Filtered for Make:
Dominion Voting Systems (Exhibit 152)).
301. Information was available to Ms. Powell, Mr. Giuliani, and     Immaterial or
Fox that showed their statements about Smartmatic being             impertinent -
banned in the United States (or any individual state) were false.   intertwined with
Ms. Powell, Mr. Giuliani, and Fox either ignored this               relevant non-parties;
information, and thereby acted with reckless disregard, or          cannot be de-tangled to
                                                                    determine what is

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published their false statements knowing they were false based   alleged against Ms.
on this information.                                             Powell.
307. Information was available to Ms. Powell, Mr. Giuliani, and  Immaterial or
Fox that showed their statements about Smartmatic being a        impertinent -
Venezuelan company and being controlled by corrupt dictators     intertwined with
were false. Ms. Powell, Mr. Giuliani, and Fox either ignored     relevant non-parties;
this information, and thereby acted with reckless disregard, or  cannot be de-tangled to
published their false statements knowing they were false based   determine what is
on this information.                                             alleged against Ms.
                                                                 Powell.
310. Third, before and during the disinformation campaign,       Immaterial or
information about Smartmatic’s history with Venezuela was        impertinent -
publicly available from its website and other sources. The       intertwined with
company was founded by three engineers from Venezuela. And relevant non-parties;
the company has made public statements that they do not have     cannot be de-tangled to
any ties to Venezuela or Hugo. (10/30/06 Fox News Article,       determine what is
Voting Machines Cos: No Ties to Chávez (Exhibit 101)).           alleged against Ms.
                                                                 Powell.
313. Information was available to Ms. Powell, Mr. Giuliani, and Immaterial or
Fox that showed their statements about Smartmatic’s election     impertinent -
technology and software being designed and used to fix, rig, or intertwined with
steal elections were false. Ms. Powell, Mr. Giuliani, and Fox    relevant non-parties;
either ignored this information, and thereby acted with reckless cannot be de-tangled to
disregard, or published their false statements knowing they      determine what is
were false based on this information.                            alleged against Ms.
                                                                 Powell.
319. Ms. Powell is a lawyer. She understood the legal exposure Immaterial and
that accompanied making defamatory and disparaging               gratuitous - Statements
statements about Smartmatic. With that understanding, Ms.        made in court filings
Powell sought to hedge her bets by mentioning Smartmatic in      that do not later serve as
four lawsuits filed after the Trump Campaign and President       a basis of Smartmatic's
Trump publicly distanced her from their legal strategy. On       causes of action
information and belief, the allegations she made about
Smartmatic in those lawsuits were cover for her disinformation Immaterial or
campaign against Smartmatic. The allegations made about          impertinent -
Smartmatic were not in good faith.                               intertwined with
                                                                 relevant non-parties;
                                                                 cannot be de-tangled to
                                                                 determine what is
                                                                 alleged against Ms.
                                                                 Powell.
320. Ms. Powell filed four lawsuits containing accusations       Immaterial and
about Smartmatic: Pearson v. Kemp, No. 20-cv-4809 (N.D. Ga., gratuitous - Statements
filed on November 25, 2020); King v. Whitmer, No. 20-cv-         made in court filings
13134 (E.D. Mich., filed on November 25, 2020); Feehan v.        that do not later serve as
Wisconsin Elections Commission, No. 20-cv-1771 (E.D. Wis.,       a basis of Smartmatic's
filed on December 1, 2020); and Bowyer v. Ducey, No. 02-cv-      causes of action
2321 (D. Ariz., filed on December 2, 2020).
321. Ms. Powell filed each of these four lawsuits in bad faith,  Immaterial and
knowing that the plaintiffs she represented lacked standing,     gratuitous - Statements

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were barred from bringing claims against state officials under      made in court filings
the Eleventh Amendment, were precluded by the equitable             that do not later serve as
doctrine of laches from filing the complaints, brought claims       a basis of Smartmatic's
that already had been rendered moot, and failed to state a claim.   causes of action
322. Of the four lawsuits brought by Powell, all resulted in        Immaterial and
immediate dismissals for the very reasons Powell knew these         gratuitous - Statements
suits were shams: lack of standing, Eleventh Amendment              made in court filings
immunity, laches, mootness, and failure to state a claim, among     that do not later serve as
other reasons. Pearson, 2020 WL 7040582 (N.D. Ga. Dec. 7,           a basis of Smartmatic's
2020); King, 505 F. Supp. 3d 720 (E.D. Mich. Dec. 7, 2020);         causes of action
Feehan, 506 F. Supp. 3d 596 (E.D. Wis. Dec. 9, 2020); Bowyer,
506 F. Supp. 3d 699 (D. Ariz. Dec. 9, 2020).
323. Of those dismissals, three courts issued written opinions      Immaterial and
emphasizing the bad faith in which the lawsuits had been filed:     gratuitous - Statements
King, Feehan, and Bowyer. First, all three courts expressly         made in court filings
criticized the complaints themselves for their specious             that do not later serve as
allegations and ulterior motives:                                   a basis of Smartmatic's
                                                                    causes of action
a. The Bowyer court stated: “Allegations that find favor in the
public sphere of gossip and innuendo cannot be a substitute for
earnest pleadings and procedure in federal court. They most
certainly cannot be the basis for upending Arizona’s 2020
General Election.” 506 F. Supp. 3d at 724.

b. The King court noted: “[T]his lawsuit seems to be less about
achieving the relief Plaintiffs seek—as much of that relief is
beyond the power of this Court—and more about the impact of
their allegations on People’s faith in the democratic process and
their trust in our government.” 505 F. Supp. 3d at 739.

c. The Feehan court made two such proclamations. First,
“Federal judges do not appoint the president in this country.
One wonders why the plaintiffs came to federal court and asked
a federal judge to do so.” 506 F. Supp. 3d at 600. Second, “The
plaintiff wants Donald J. Trump to be certified as the winner of
the Wisconsin election as a result of the plaintiff’s vote. But
what he asks is for Donald J. Trump to be certified the winner
as a result of judicial fiat.” Id. at 610.
324. Second, the courts emphasized the lack of factual support      Immaterial and
for the claims at issue. The Bowyer court found:                    gratuitous - Statements
                                                                    made in court filings
a. “[T]he Complaint’s allegations are sorely wanting of relevant    that do not later serve as
or reliable evidence….” 506 F. Supp. 3d at 706.                     a basis of Smartmatic's
                                                                    causes of action
b. “Plaintiffs append over three hundred pages of attachments,
which are only impressive for their volume. The various
affidavits and expert reports are largely based on anonymous
witnesses, hearsay, and irrelevant analysis of unrelated
elections.” Id. at 721.


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c. “The Complaint is equally void of plausible allegations that
Dominion voting machines were actually hacked or
compromised in Arizona during the 2020 General Election …
These concerns and stated vulnerabilities, however, do not
sufficiently allege that any voting machine used in Arizona was
in fact hacked or compromised in the 2020 General Election.
Rather, what is present is a lengthy collection of phrases
beginning with the words ‘could have, possibly, might,’ and
‘may have.’” Id. at 723.

d. “Plaintiffs face serious jurisdictional impediments in bringing
their claims to federal court at the eleventh hour. These
insurmountable legal hurdles are exacerbated by insufficiently
plead [sic] allegations of fraud, rendered implausible by the
multiple inadmissible affidavits, declarations, and expert reports
upon which their Complaint relies.” Id. at 724.
325. The King court likewise rejected plaintiffs’ equal              Immaterial and
protection claim for lack of evidence: “The closest Plaintiffs get   gratuitous - Statements
to alleging that election machines and software changed votes        made in court filings
for President Trump to Vice President Biden in Wayne County          that do not later serve as
is an amalgamation of theories, conjecture, and speculation that     a basis of Smartmatic's
such alterations were possible….With nothing but speculation         causes of action
and conjecture that votes for President Trump were destroyed,
discarded or switched to votes for Vice President Biden,
Plaintiffs’ equal protection claim fails.” 505 F. Supp. 3d at 738.
326. Third, two of the courts gave significant weight to the         Immaterial and
plaintiffs’ delay in filing the lawsuits. The delay in filing the    gratuitous - Statements
lawsuits is inconsistent with pressing a valid legal claim. Ms.      made in court filings
Powell’s delay, however, is consistent with seeking to use           that do not later serve as
litigation as a cover for her disinformation campaign against        a basis of Smartmatic's
Smartmatic.                                                          causes of action
327. On the issue of delay, the King court stated: If Plaintiffs     Immaterial and
had legitimate claims regarding whether the treatment of             gratuitous - Statements
election challengers complied with state law, they could have        made in court filings
brought their claims well in advance of or on Election Day - but     that do not later serve as
they did not … If Plaintiffs had legitimate claims regarding the     a basis of Smartmatic's
manner by which ballots were processed and tabulated on or           causes of action
after Election Day, they could have brought the instant action
on Election Day or during the weeks of canvassing that
followed - yet they did not … If Plaintiffs had legitimate
concerns about the election machines and software, they could
have filed this lawsuit well before the 2020 General Election -
yet they sat back and did nothing … Plaintiffs proffer no
persuasive explanation as to why they waited so long to file this
suit … Indeed, where there is no reasonable explanation, there
can be no true justification.” 505 F. Supp. 3d at 731–32.
328. The Bowyer court similarly noted: “Plaintiffs’ Complaint        Immaterial and
includes a hodge-podge of alleged misconduct by Arizona              gratuitous - Statements
elections officials, occurring on various dates over the past        made in court filings
weeks, months, and even years … Plaintiffs offer no reasonable       that do not later serve as

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explanation why their claims were brought in federal court at         a basis of Smartmatic's
this late date.” 506 F. Supp. 3d at 717–18.                           causes of action
329. Fourth, the courts focused on the mootness of the                Immaterial and
plaintiffs’ claims, emphasizing repeatedly that the relief sought     gratuitous - Statements
could not be granted because it required enjoining actions that       made in court filings
already had occurred.                                                 that do not later serve as
                                                                      a basis of Smartmatic's
a. The King court: “This case represents well the phrase: ‘this       causes of action
ship has sailed.’ The time has passed to provide most of the
relief Plaintiffs request in their Amended Complaint; the
remaining relief is beyond the power of any court. For those
reasons, this matter is moot.” 505 F. Supp. 3d at 729.

b. The Feehan court: “The plaintiff asks the court to prohibit
from occurring an event that has already occurred—an event
that occurred the day before he filed this lawsuit and nine days
before the court issues this order. He asks the court to enjoin
defendant Evers from transmitting the certified election
results—an event that already has occurred. He asks the court to
order that certain votes not be counted, when the vote counting
has been over since November 29.” 506 F. Supp. 3d at 613.

c. The Bowyer court: “Because this Court cannot de-certify the
results [of the Arizona election], it would be meaningless to
grant Plaintiffs any of the remaining relief they seek.” 506 F.
Supp. 3d at 720.
330. The flaws of Ms. Powell’s lawsuits were readily apparent         Immaterial and
and known to Ms. Powell when she filed the lawsuits. Ms.              gratuitous - Statements
Powell must have known when the lawsuits were filed that they         made in court filings
would not and could not succeed in their requested relief. The        that do not later serve as
filing of the lawsuits was, however, consistent with her              a basis of Smartmatic's
fundraising efforts and disinformation campaign. Ms. Powell           causes of action
could not continue to solicit funds from supporters of President
Trump for a legal defense without filing litigation.
331. In the four lawsuits filed by Ms. Powell, none of them           Immaterial and
reference Smartmatic for anything other than gratuitous and           gratuitous - Statements
false background allegations. Not one of the four complaints          made in court filings
references Smartmatic in any of the claims, and not one               that do not later serve as
references Smartmatic in connection with the 2020 U.S.                a basis of Smartmatic's
election or anything connected or related to the 2020 U.S.            causes of action
election. Pearson, No. 20-cv-4809, ECF No. 1 (N.D. Ga. Nov.
26, 2020); King, No. 20-cv-13134, ECF No. 1 (E.D. Mich. Nov.
19, 2020); Feehan, No. 20-cv-1771, ECF No. 1 (E.D. Wis. Dec.
1, 2020); Bowyer, No. 020-cv-2321, ECF No. 1 (D. Ariz. Dec.
2, 2020). Ms. Powell did not include allegations about
Smartmatic in these lawsuits because Smartmatic was actually
pertinent to the claims. On information and belief, Ms. Powell
included allegations about Smartmatic in the lawsuits to try to
create cover for the disinformation campaign.


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332. The allegations that Ms. Powell included in the complaints     Immaterial and
were not related to the primary theme of the disinformation         gratuitous - Statements
campaign: that Smartmatic’s election technology and software        made in court filings
were widely used in the 2020 U.S. election and fixed, rigged        that do not later serve as
and stole the election for Joe Biden and Kamala Harris. Instead,    a basis of Smartmatic's
Ms. Powell’s lawsuits include allegations that: (a) purport to      causes of action
describe Smartmatic’s ties to Venezuela and other foreign
countries, (b) reference a 2004 election in Venezuela in which
Smartmatic’s election technology and software were allegedly
used to rig the election, and (c) reference a letter written by a
Congresswoman in 2006 requesting an investigation of
Smartmatic based solely on its “foreign ownership” and
acquisition of Sequoia – a company Smartmatic sold in 2007.
333. None of the allegations that Ms. Powell made about             Immaterial and
Smartmatic in the lawsuits relate to the primary messages that      gratuitous - Statements
the Ms. Powell, Mr. Giuliani, and Fox spread as part of the         made in court filings
disinformation campaign; namely, that (a) Smartmatic’s              that do not later serve as
election technology and software were widely used in the 2020       a basis of Smartmatic's
U.S. election; (b) Dominion used Smartmatic’s election              causes of action
technology and software in the 2020 U.S. election; (c)
Smartmatic’s election technology and software fixed, rigged
and stole the 2020 U.S. election; (d) Smartmatic’s election
technology and software were compromised or hacked during
the 2020 U.S. election; (e) Smartmatic’s election technology
and software sent votes overseas during the 2020 U.S. election;
and (f) Smartmatic had been previously banned from providing
election technology and software in the United States.
334. Moreover, none of the allegations that Ms. Powell              Immaterial and
included in her lawsuits were relevant or pertinent to the claims   gratuitous - Statements
brought in the lawsuits. The allegations about Smartmatic were      made in court filings
gratuitous. For example, in Pearson the plaintiffs brought the      that do not later serve as
following claims:                                                   a basis of Smartmatic's
                                                                    causes of action
a. Plaintiffs claimed violations of the Elections Clause of the
U.S. Constitution and 42 U.S.C. § 1983. The alleged violations
were unrelated to any election technology and software.

b. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of equal protection
regarding “invalid enactment of regulations affecting
observation and monitoring of the election.” The alleged
violations were based on allegations of misconduct by
Dominion as opposed to Smartmatic and had nothing to do with
Smartmatic’s election technology and software.

c. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process related to
“disparate treatment of absentee/mail-in voters among different
counties.” The alleged violations were unrelated to election
technology and software.

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d. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process as to the
right to vote. The alleged violations were unrelated to election
technology and software. e. Plaintiffs claimed “wide-spread
ballot fraud.” The alleged fraud was based on allegations of
misconduct by Dominion as opposed to Smartmatic and had
nothing to do with Smartmatic’s election technology and
software.
335. The same is true for the claims brought in King. The            Immaterial and
allegations about Smartmatic that were included in the               gratuitous - Statements
complaint were unrelated to the relief being sought or the           made in court filings
violations allegedly giving rise to the relief being sought. The     that do not later serve as
King plaintiffs brought the following claims:                        a basis of Smartmatic's
                                                                     causes of action
a. Plaintiffs claimed violations of the Elections and Electors
Clauses of the U.S. Constitution and 42 U.S.C. § 1983. The
alleged violations were unrelated to election technology and
software.

b. Plaintiffs claimed violations of the Fourteenth Amendment
and § 42 U.S.C. 1983 based on denial of equal protection
regarding “invalid enactment of regulations affecting
observation and monitoring of the election.” The alleged
violations were based on allegations of misconduct by
Dominion as opposed to Smartmatic and had nothing to do with
Smartmatic’s election technology and software.

c. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process as to the
right to vote. The alleged violations were unrelated to election
technology and software.

d. Plaintiffs claimed “wide-spread ballot fraud.” The alleged
fraud was unrelated to election technology and software.

e. Plaintiffs claimed violations of Michigan statutory election
laws. The alleged violations were unrelated to election
technology and software.
336. The Feehan lawsuit followed the same pattern. None of           Immaterial and
the violations alleged were tied to the allegations about            gratuitous - Statements
Smartmatic. None of the relief requested was related to the          made in court filings
allegations about Smartmatic. The plaintiffs in Feehan made the      that do not later serve as
following claims:                                                    a basis of Smartmatic's
                                                                     causes of action
a. Plaintiffs claimed violations of the Elections and Electors
Clauses of the U.S. Constitution and 42 U.S.C. § 1983. The
alleged violations were unrelated to election technology and
software.


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b. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process related to
“invalid enactment of regulations and disparate treatment of
absentee vs. mail-in ballots.” The alleged violations were
unrelated to election technology and software.

c. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process as to the
right to vote. The alleged violations were based on allegations
of misconduct by Dominion as opposed to Smartmatic and had
nothing to do with Smartmatic’s election technology and
software.

d. Plaintiffs claimed “wide-spread ballot fraud.” The alleged
fraud was unrelated to election technology and software.
337. Finally, none of the claims in Bowyer related to the            Immaterial and
allegations that Ms. Powell included in the complaints about         gratuitous - Statements
Smartmatic. The allegations about Smartmatic in Bowyer were          made in court filings
irrelevant to the requested relief and claims. The plaintiffs in     that do not later serve as
Bowyer raised the following claims:                                  a basis of Smartmatic's
                                                                     causes of action
a. Plaintiffs claimed violations of the Elections and Electors
Clauses of the U.S. Constitution and 42 U.S.C. § 1983. The
alleged violations were unrelated to election technology and
software.

b. Plaintiffs claimed violations of the Equal Protection Clause
of the Fourteenth Amendment and 42 U.S.C. 1983. The alleged
violations were unrelated to election technology and software.

c. Plaintiffs claimed violations of the Fourteenth Amendment
and 42 U.S.C. § 1983 based on denial of due process as to the
right to vote. The alleged violations were based on allegations
of misconduct by Dominion as opposed to Smartmatic and had
nothing to do with Smartmatic’s election technology and
software. d. Plaintiffs claimed “wide-spread ballot fraud.” The
alleged fraud was unrelated to election technology and
software.
338. The gratuitousness of Ms. Powell’s allegations about            Immaterial and
Smartmatic was confirmed in the court rulings dismissing each        gratuitous - Statements
of these claims. Pearson, No. 20-cv-4809, ECF No. 1 (N.D. Ga.        made in court filings
Nov. 26, 2020); King, No. 20-cv-13134, ECF No. 1 (E.D. Mich.         that do not later serve as
Nov. 19, 2020); Feehan, No. 20-cv-1771, ECF No. 1 (E.D. Wis.         a basis of Smartmatic's
Dec. 1, 2020); Bowyer, No. 020-cv-2321, ECF No. 1 (D. Ariz.          causes of action
Dec. 2, 2020). Not one of the rulings mentions Smartmatic by
name or specifically addresses the allegations that Ms. Powell
included in the complaints about Smartmatic.
339. Ms. Powell knew when she filed these complaints that the        Immaterial and
allegations regarding Smartmatic had nothing to do with the          gratuitous - Statements
claims brought against the named defendants in each case. Ms.        made in court filings

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Powell spent a month telling people that Smartmatic had             that do not later serve as
perpetrated a massive election fraud by using its election          a basis of Smartmatic's
technology and software to steal the 2020 U.S. election.            causes of action
However, in her lawsuits, including the ones discussing “wide-
spread ballot fraud,” Ms. Powell never alleged that Smartmatic
participated in that fraud. Nor were any of her allegations about
Smartmatic relevant to the claims.
340. Ms. Powell attached a declaration, a statement, and an         Immaterial and
affidavit mentioning Smartmatic in some of the complaints she       gratuitous - Statements
filed. Ms. Powell attached an anonymous declaration to four of      made in court filings
the lawsuits (the “Anonymous Declaration”). Ms. Powell              that do not later serve as
attached a statement by Ana Mercedes Díaz Cardozo to four of        a basis of Smartmatic's
the lawsuits (the “Cardozo Statement”). Ms. Powell attached an      causes of action
affidavit by Juan Carlos Cobucci to one of the lawsuits (the
“Cobucci Affidavit”). Ms. Powell knew or had obvious reasons
to doubt the veracity of the declaration/statements.
341. Anonymous Declaration: Ms. Powell knew the                     Immaterial and
Anonymous Declaration was not reliable and/or had obvious           gratuitous - Statements
reasons to doubt the veracity of the Anonymous Declaration.         made in court filings
First, the declaration makes an impossible claim. The declarant     that do not later serve as
claims to have been present at discussions in or after February     a basis of Smartmatic's
2009 in which Hugo Chávez offered to pay Smartmatic to              causes of action
create or modify its voting system to rig elections, and then the
declarant claims that he “closely observed” this system rig an
election three years earlier, in 2006. This is clearly impossible
absent the invention of time travel.
342. Second, the declaration contradicts Ms. Powell’s own           Immaterial and
statements about Smartmatic. Ms. Powell stated during the Fox       gratuitous - Statements
programs that Smartmatic was formed in 2004 to fix and rig          made in court filings
elections for Hugo Chávez. The declarant, however, states that      that do not later serve as
Mr. Chávez met with Smartmatic in or after February 2009 to         a basis of Smartmatic's
discuss fixing elections. Smartmatic could not have been            causes of action
formed in 2004 to fix elections for Mr. Chávez – as Ms. Powell
stated – if Smartmatic did not meet with Mr. Chávez until 2009
(again, subject to the invention of time travel).
343. Third, the declaration makes claims that go well beyond        Immaterial and
his/her/its professed personal knowledge and expertise. The         gratuitous - Statements
declarant claims to have been a military officer in Venezuela.      made in court filings
He then declares: [T]he software and fundamental design of the      that do not later serve as
electronic electoral system and software of Dominion and other      a basis of Smartmatic's
election tabulating companies relies upon software that is a        causes of action
descendant of the Smartmatic Electoral Management System. In
short, the Smartmatic software is in the DNA of every vote
tabulating company’s software and system.
344. This is beyond a leap of faith. The declarant claims no        Immaterial and
technical expertise. The declarant claims no relationship or        gratuitous - Statements
firsthand knowledge of every “election tabulating compan[y]”        made in court filings
in the world. He/she/it does not even claim a relationship or       that do not later serve as
firsthand knowledge of Dominion. He/she/it does not claim any       a basis of Smartmatic's
firsthand knowledge of the “software and system” used by            causes of action

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“every vote tabulating company.” The declarant’s wild
overreach is another reason that Ms. Powell knew or had
obvious reasons to doubt the declarant’s veracity.
345. Fourth, the declarant’s description of Smartmatic’s role in     Immaterial and
Venezuela is inconsistent with readily verifiable facts about        gratuitous - Statements
elections in Venezuela. For example, the declarant says              made in court filings
Smartmatic joined a conspiracy to create a voting system that        that do not later serve as
could “change votes in elections from votes against persons          a basis of Smartmatic's
running the Venezuelan government to votes in their favor in         causes of action
order to maintain control of the government.” That claim,
however, is inconsistent with Smartmatic’s public
announcement in 2017 that the Venezuelan government
reported election results different than the actual vote.
Smartmatic would have no reason to publicly announce that the
Venezuelan government had misreported the election results if
Smartmatic was conspiring with the Venezuelan government.
346. Similarly, the declarant states that the system Mr. Chávez      Immaterial and
wanted designed would “not leave any evidence of the changed         gratuitous - Statements
votes.” But Smartmatic’s election technology and software            made in court filings
create paper trails for purposes of auditing the election results.   that do not later serve as
This was true with the election technology and software used in      a basis of Smartmatic's
Venezuelan elections. This is known to anyone who                    causes of action
participated in the Venezuelan elections and readily verifiable
by third-party watchers of the Venezuelan elections. A paper
trail for audit purposes is inconsistent with “not leav[ing] any
evidence of changed votes.”
347. Fifth, the declarant’s description of the 2013 election is      Immaterial and
inconsistent with his/her/its description of how Smartmatic’s        gratuitous - Statements
election technology and software work. The declarant states that     made in court filings
during that election, Nicolas Maduro “ordered network                that do not later serve as
controllers to take the internet itself offline in practically all   a basis of Smartmatic's
parts in Venezuela and to change the results” and then they          causes of action
“turned the internet back on” after two hours. That description
cannot be reconciled with the declarant’s claim that
Smartmatic’s election technology and software could change
votes from one candidate to another. Mr. Maduro would not
have needed to “take the internet itself offline” if Smartmatic’s
technology and software can simply switch votes in an
undetectable way.
348. Sixth, if the declarant was Leamsy Villafaña José Salazar,      Immaterial and
as some reports have indicated, then the declaration is              gratuitous - Statements
inconsistent with prior statements that have been attributed to      made in court filings
Mr. Salazar and that were available to Ms. Powell. Mr. Salazar       that do not later serve as
was a source for Boomerang Chávez: The Fraud, and                    a basis of Smartmatic's
reportedly discussed potential voting fraud with the book’s          causes of action
author. The book makes no mention of the meetings that the
declarant claims occurred in or after February 2009. Mr. Salazar
is described in Boomerang Chávez as claiming to have no
awareness of voting fraud until 2013, long after the meetings
that the declarant now claims to have attended.

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349. Cardozo Statement: Ms. Powell knew the Cardozo                  Immaterial and
Statement was not reliable and/or had obvious reasons to doubt       gratuitous - Statements
the veracity of the Cardozo Statement. One month before              made in court filings
signing the Statement, on October 16, 2020, Ms. Cardozo              that do not later serve as
signed an “Anniversary Message” to “Asgardians” as the               a basis of Smartmatic's
“Former Prime Minister” of the “space nation” of “Asgardia.”         causes of action
Smartmatic takes no position on Asgardia and does not criticize
Ms. Cardozo’s involvement with Asgardia. It appears to be a
well-intentioned group. However, Ms. Cardozo’s prominent
role with Asgardia in 2020 alerted or should have alerted Ms.
Powell that Ms. Cardozo’s focus in 2020 was not on
Smartmatic’s involvement with the U.S. election.
350. First, Ms. Cardozo does not claim to have any knowledge         Immaterial and
of Smartmatic’s role in the 2020 U.S. election. Nor does she         gratuitous - Statements
claim to have any knowledge of the election technology and           made in court filings
software used by any voting company in the 2020 U.S. election.       that do not later serve as
She does not claim any knowledge of election technology and          a basis of Smartmatic's
software other than what may have been used in the 2004              causes of action
election in Venezuela.
351. Second, Ms. Cardozo’s claim that she is familiar with the       Immaterial and
Smartmatic election technology and software used in 2004 is          gratuitous - Statements
not consistent with her claim of being fired from her position.      made in court filings
Ms. Cardozo states that she received “a letter in March 2004         that do not later serve as
stating that [her] position was trusted and trust had been lost in   a basis of Smartmatic's
[her] and [she] was fired from service.” Venezuela had a             causes of action
referendum election in August 2004 and a regional election in
October 2004. Based on Ms. Cardozo’s termination, Ms. Powell
knew or should have known that Ms. Cardozo could not have
firsthand knowledge of the election technology and software
that was actually used in the 2004 elections months after she
had been fired.
352. Third, Ms. Cardozo’s statement contains phrasing that           Immaterial and
indicates that the same person drafted her statement as drafted      gratuitous - Statements
the Anonymous Declaration. (screenshot below is attached).           made in court filings
                                                                     that do not later serve as
                                                                     a basis of Smartmatic's
                                                                     causes of action




353. These sentences are the same other than a few word              Immaterial and
choices – almost as if someone who was drafting them wanted          gratuitous - Statements
to make them appear slightly different. Regardless, the              made in court filings
similarities suggest that the Cardozo Statement and Anonymous        that do not later serve as
Declaration were not drafted by the signatories but instead by       a basis of Smartmatic's
someone else who, unlike the signatories, was located in             causes of action
“Dallas County, Texas.” Ms. Powell and her law office are
located in Dallas County, Texas.

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354. Fourth, Ms. Cardozo’s statement includes obvious               Immaterial and
speculation regarding events that she did not witness firsthand.    gratuitous - Statements
For example, Ms. Cardozo states that there is “convincing           made in court filings
evidence that there was no genuine competition for the electoral    that do not later serve as
system contract or serious consideration for alternative            a basis of Smartmatic's
contracts. There was no due diligence and the bidding was           causes of action
rigged.” But Ms. Cardozo was not involved in that process. Ms.
Powell knew or should have known that Ms. Cardozo was
speculating regarding events.
355. Fifth, Ms. Cardozo’s statements include assertions that are    Immaterial or
demonstrably false. For example, Ms. Cardozo states: “It was        impertinent - not cited
not surprising that Hugo Chavez and his successors then             statements made in
constantly won the election through the use and manipulation of     court filings that do not
the Smartmatic voting system.” But Mr. Chavez did not               later serve as a basis of
“constantly” win elections after 2004. Just three years later, in   Smartmatic's causes of
2007, Mr. Chavez lost a critical election that would have           action.
expanded his power considerably. Mr. Chavez’s loss is well
known and easily discovered. Based on that fact, Ms. Powell
either knew or should have known that Ms. Cardozo either (a)
had a tendency towards exaggeration or (b) has her facts wrong.
356. Cobucci Affidavit. Ms. Powell knew the Cobucci Affidavit       Immaterial and
was not reliable and/or had obvious reasons to doubt the            gratuitous - Statements
veracity of the Cobucci Affidavit. First, Ms. Powell’s actions      made in court filings
demonstrate that she knew the Cobucci Affidavit was not             that do not later serve as
reliable or credible. Ms. Powell filed the Cobucci Affidavit in     a basis of Smartmatic's
one lawsuit on November 25. She did not file the Cobucci            causes of action
Affidavit in any of the other lawsuits, notwithstanding its
salacious accusations about Smartmatic. If Ms. Powell believed
the Cobucci Affidavit was reliable or credible, she would have
used it with the other lawsuits. That she did not indicates that
she knew the Cobucci Affidavit could not be relied upon.
357. Second, Mr. Cobucci does not claim to have any                 Immaterial and
knowledge of Smartmatic’s role in the 2020 U.S. election. Nor       gratuitous - Statements
does he claim to have any knowledge of the election technology      made in court filings
and software used by any voting company in the 2020 U.S.            that do not later serve as
election. And he does not claim to have any firsthand               a basis of Smartmatic's
knowledge regarding the election technology and software            causes of action
actually used in Venezuelan elections. Ms. Powell knew that
Mr. Cobucci was not a source that could support her claims
about Smartmatic’s role in the 2020 U.S. election.
358. Third, the Cobucci Affidavit makes an impossible claim.        Immaterial and
Mr. Cobucci claims that Antonio Mugica’s father was sad in          gratuitous - Statements
January 2004 because Antonio Mugica had converted to                made in court filings
communism and had “manipulated the Smartmatic system                that do not later serve as
utilized during the election to ensure that President Chávez was    a basis of Smartmatic's
successful during the 2004 elections.” This is impossible. The      causes of action
first election of 2004 took place months later in August 2004.
Moreover, Smartmatic did not even win the bid to provide
technology for the 2004 elections until well after January 2004.
Ms. Powell knew or should have known the timing of the 2004

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elections and, therefore, knew or should have known that Mr.
Cobucci’s claim was not possible.
359. Fourth, the Cobucci Affidavit makes accusations that are       Immaterial and
inconsistent with readily verifiable facts. For example, Mr.        gratuitous - Statements
Cobucci states that Mr. Mugica told him in 2004 that                made in court filings
Smartmatic would “make sure that the communist party never          that do not later serve as
lost another election in Venezuela.” But it did. Just three years   a basis of Smartmatic's
later, in 2007, Mr. Chávez lost a critical election that would      causes of action
have expanded his power considerably. Mr. Chávez’s loss is
well known and easily discovered. Moreover, in 2017,
Smartmatic publicly announced that the government had
reported inaccurate election results. Those readily verifiable
facts are inconsistent with Mr. Cobuccio’s statement that Mr.
Mugica never wanted to see the communist party lose again in
Venezuela, and, was or should have been a red flag to Ms.
Powell regarding Mr. Cobuccio’s credibility.
360. Fifth, Mr. Cobucci makes statements that are inconsistent      Immaterial and
with the statements made in the Cardozo Statement. Mr.              gratuitous - Statements
Cobucci states that Smartmatic entered a contract with the          made in court filings
Venezuelan government in 2002 (in connection with the 2004          that do not later serve as
election) and was paid “millions of dollars” by the Venezuelan      a basis of Smartmatic's
government “from 2003 to 2015.” But, the Cardozo Statement          causes of action
says that Smartmatic was not picked as an election technology
supplier for the 2004 election until February 2004 and did not
sign a contract until March 2004. Mr. Cobucci’s claims that
Smartmatic signed a contract in 2002 and was paid by the
Venezuelan government in 2003 are not consistent with what
Ms. Powell was allegedly told by Ms. Cardozo.
361. Ms. Powell not only knowingly participated in publishing       Immaterial and
false information about Smartmatic during the disinformation        gratuitous - Statements
campaign, she also did so with ill-will and improper motives for    made in court filings
self-promotion and financial and other gains.                       that do not later serve as
                                                                    a basis of Smartmatic's
                                                                    causes of action
362. Ms. Powell understood that making statements about             Immaterial and
Smartmatic on the various Fox News programs could not               gratuitous - Statements
change the outcome of the 2020 U.S. election. However, on           made in court filings
information and belief, changing the outcome of the 2020 U.S.       that do not later serve as
election was not her motivating factor when engaging in the         a basis of Smartmatic's
disinformation campaign. Ms. Powell used the disinformation         causes of action
to curry favor with President Trump and his supporters and to
pursue her own personal and financial interests.
363. Ms. Powell is a self-published author of books that            Immaterial and
question government prosecutions, and that she actively             gratuitous - Statements
promotes. She gained public attention when she represented          made in court filings
Michael T. Flynn, President Trump’s first national security         that do not later serve as
advisor, who had pleaded guilty to lying to the FBI but later       a basis of Smartmatic's
sought to withdraw his plea.                                        causes of action
364. During the disinformation campaign, Ms. Powell’s profile       Immaterial and
increased dramatically when she started claiming that               gratuitous - Statements

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Smartmatic had stolen the 2020 U.S. election and began               made in court filings
appearing on Fox News. Ms. Powell went from a limited public         that do not later serve as
profile to being known by the millions of individuals across the     a basis of Smartmatic's
country who support President Trump, and they showed                 causes of action
tremendous appreciation and admiration for what she was
saying. On information and belief, this fame was a motivating
factor for Ms. Powell. Ms. Powell understood she could not
change the outcome of the election with her disinformation
campaign. She could, however, gain a bigger audience for her
books and future endeavors.
365. One of those endeavors is the formation of fund-raising         Immaterial and
organizations. On December 1, 2020, she formed Defending the         gratuitous - Statements
Republic, Inc., and on January 24, 2021, she formed Restore the      made in court filings
Republic PAC. Her fundraising efforts tie directly into the          that do not later serve as
disinformation campaign against Smartmatic. Ms. Powell’s             a basis of Smartmatic's
fundraising website, http://defendingtherepublic.org was             causes of action
created shortly after the 2020 U.S. election to solicit donations,
even though the corporate form was not done until after her
participation in the disinformation campaign. Ms. Powell made
appearances that promoted her fundraising website while
attacking Smartmatic.
366. Ms. Powell, Ms. Giuliani, and Fox saw the outcome of the        Immaterial or
2020 U.S. election as a final opportunity to curry favor with the    impertinent - does not
outgoing administration and endear themselves to President           recite statements or
Trump’s millions of supporters. The vehicle they used was a          actions alleged to have
disinformation campaign against Smartmatic as it allowed them        been made or
to cast themselves as heroes in a story about a villainous foreign   undertaken by Ms.
company that had stolen the election from President Trump.           Powell
The predictable and natural result of Ms. Powell’s, Mr.
Giuliani’s, and Fox’s disinformation campaign was to destroy         Immaterial or
Smartmatic’s reputation, undermine confidence in Smartmatic’s        impertinent -
election technology and software, and put people’s lives in          intertwined with
danger.                                                              relevant non-parties;
                                                                     cannot be de-tangled to
                                                                     determine what is
                                                                     alleged against Ms.
                                                                     Powell.
367. Fox published Ms. Powell’s, Mr. Giuliani’s, and its own         Immaterial or
defamatory statements about Smartmatic on multiple programs          impertinent - does not
in November and December 2020. Ms. Powell’s, Mr.                     recite statements or
Giuliani’s, and Fox’s defamatory statements were then                actions alleged to have
republished by individuals who read or watched them originally       been made or
on Fox or on a Fox distribution channel. Ms. Powell, Mr.             undertaken by Ms.
Giuliani, and Fox knew and understood this republication             Powell
would happen. As a result, Ms. Powell’s defamatory statements
about Smartmatic were widely and generally disseminated              Immaterial or
through publication and republication.                               impertinent -
                                                                     intertwined with
                                                                     relevant non-parties;
                                                                     cannot be de-tangled to

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                                                                  determine what is
                                                                  alleged against Ms.
                                                                  Powell.
368. Ms. Powell’s defamatory statements were a proximate and Immaterial or
substantial cause of Smartmatic’s name and brand becoming         impertinent - does not
synonymous with election fraud with members of the general        recite statements or
public and government officials, particularly those in the United actions alleged to have
States. Ms. Powell’s defamatory statements cast Smartmatic as been made or
one of the voting machine companies, along with Dominion,         undertaken by Ms.
that rigged the 2020 U.S. election; and, even worse, Ms.          Powell
Powell’s defamatory statements created the impression that
Smartmatic’s software was not to be trusted because it was
Smartmatic’s software that switched votes in voting machines
regardless of who supplied the machines.
369. Prior to the 2020 U.S. election, Smartmatic was a known      Immaterial or
and trusted name among individuals responsible for selecting      impertinent - does not
election technology and systems in voting jurisdictions in the    recite statements or
United States and across the world. Smartmatic was not,           actions alleged to have
however, a household name. Smartmatic’s long history of           been made or
helping to conduct secure, accurate, and auditable elections was undertaken by Ms.
not known among the general public.                               Powell
370. Ms. Powell’s defamatory statements irreparably tarnished     Immaterial or
Smartmatic’s name and brand with members of the general           impertinent - does not
public who read or watched her statements. Below are just a       recite statements or
few examples of the reactions people had to Ms. Powell’s, Mr.     actions alleged to have
Giuliani’s and Fox’s statements:                                  been made or
                                                                  undertaken by Ms.
 a. People who read or watched the publications came to believe Powell
that Smartmatic’s election technology and software was used to
rig and steal elections.                                          Immaterial or
                                                                  impertinent -
b. People who read or watched the publications came to believe intertwined with
that Smartmatic’s technology and software were used to change relevant non-parties;
votes.                                                            cannot be de-tangled to
                                                                  determine what is
c. People who read or watched the publications came to believe alleged against Ms.
that Smartmatic’s election technology and software were used      Powell.
to rig and steal the 2020 U.S. election.

d. People who read or watched the publications came to believe
that Smartmatic’s election technology and software should
never be used in an election and are not secure.
379. This “no win” situation has significantly diminished        Immaterial or
Smartmatic’s business value and prospects. Prior to the 2020     impertinent -
U.S. election, based on its historical business and pipeline,    intertwined with
Smartmatic’s business was valued in excess of $3.0 billion       relevant non-parties;
based on a modest multiplier.36 Now, following Ms. Powell’s      cannot be de-tangled to
defamatory statements, Smartmatic’s business is valued at less   determine what is
than $1 billion. The general and widespread publication and      alleged against Ms.
distribution of Ms. Powell’s and the Relevant Non-Parties’       Powell.

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defamatory statements about Smartmatic were a substantial
cause of a portion of this business valuation decline.




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